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                                                                                                         List of Related Actions

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Cook, Thomas                    1         Thomas Cook and Martha Cook v. Eddleman Homes, LLC; Eddleman Properties,                        18th JDC       cv-2011-900316.00            4/13/2011                   No
                                          Inc.; Interior/Exterior Building Supply, LP; Fictitious Defendants

Boutte, Donald                  1         Donald J. Boutte v. E. Jacob Construction, Inc., Interior Exterior building Supply, LP,      19th JDC / CDC       589635-26                 4/20/2010               Yes III & V
                                          Interior Exterior enterprises, LLC, Arch Insurance Company, The North River
                                          Insurance, Liberty Mutual Insurance Company, Landmark Insurance Company,
                                          Firemans Fund Insurance Company, and Allstate Indemnity Company

Francis, Carrol                 1         Carrol A. Francis v . PHL Construction LLC, d/b/a Summit Homes, LLC; Interior               19th JDC and CDC      595110-24                 9/27/2010                 Yes VIII
                                          Exterior Building Supply, LP; Interior Exterior Enterprises LLC; Arch Insurance
                                          Company, The North River Insurance Company; Liberty Mutual Fire Insurance
                                          Company; Landmark Insurance Company; and Firemans Fund Insurance Company.

Kee, Michael                Also in CDC   Michael A. Kee and Pamela H. Kee v. Holmes Building Materials, LLC; Interior                19th JDC and CDC      593592-24                 8/16/2010                   No
                                          Exterior Building Supply, LP; Interior Exterior Enterprises, LLC; Arch Insurance
                                          Company; The North River Insurance Company; Liberty Mutual Fire Insurance
                                          Company; Landmark American Insurance Company, and Firemans Fund Insurance
                                          Company.

Mills, Jeannette                1         Jeanette F. Mills, v. E. Jacob Construction, Inc., Interior Exterior Building Supply, LP,       19th JDC          581172-25        First Amended and Restated        Yes I & V
                                          Interior Exterior Enterprises, LLC, Arch Insurance Company, The North River                                                               Petition 05/08/10
                                          Insurance Company, Liberty Mutual Insurance Company, Landmark Insurance
                                          Company, Firemans Fund Insurance Company, and Farmers Insurance Group

Roberson, Sandra            Also in CDC   Sandra W. Roberson v. E. Jacob Construction, Inc., Interior Exterior Building Supply,           19th JDC          592189-24                 7/19/2010                   No
                                          LP, Interior Exterior Enterprises, LLC, Arch Insurance Company, The North River
                                          Insurance Company, Liberty Mutual Insurance Company, Landmark American
                                          Insurance Company, and Firemans Fund Insurance Company.

White, Taeneia              Also in CDC   Taeneia White, individually and on behalf of her minor child, Tony R. Ducre Jr. v.          19th JDC and CDC      592149-27        Petition for Damages 06/29/10        Yes
                                          E. Jacob Construction, Inc.; Interior Exterior Building Supply, LP; Interior Exterior                                               First Amended and Restated      Intervening
                                          Enterprises, LLC; Arch Insurance Company; The North River Insurance Company;                                                               Petition 07/06/10         plaintiff in
                                          Liberty Mutual Insurance Company; Landmark American Insurance Company; and                                                                                           Omnibus I
                                          Fireman's Fund Insurance Company.

Zeber, Michelle                 1         Michelle D. Zeber, ET AL v. SEC Enterprises, L.L.C., Interior/Exterior Building                 19th JDC         C582192 - 23               10/28/2009                 Yes I
                                          Supply, LP, Interior Exterior Enterprises, L.L.C., Inex Corporation

Crovetto, Barbara               1         Barbara Crovetto v. Interior Exterior Building Supply, LP                                         21st          2010-0004498 F              11/17/2010                Yes VIII

Fernandez, Vernon               1         Vernon and Joann Fernandez individually and as administrators for their minor                     21st           XX-XXXXXXX C               5/27/2010              Yes I & IV & V
                                          children Justin Fernandez, Paige Fernandez, and Collin Fernandez v. Knauf Gips, ET
                                          AL

Almasy, Lee W.                  1         Lee W. Almasy v. BMI Construction, LLC, Interior Exterior Building Supply, LP,                 22nd JDC          2011-11457 B               3/11/2011               Amended I
                                          Interior Exterior Enterprises, LLC, Arch Insurance Company, The North River
                                          Insurance Company, Liberty Mutual Fire Insurance Company, Landmark American
                                          Insurance Company, and Fireman's Fund Insurance Company.




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Back, Charles and Mary            1        Charles Back and Mary Back v. Interior Exterior Building Supply, L.P.; Interior        22nd JDC       2009-15030 I              8/24/2009             Yes III & V, VII
                                           Exterior Enterprises, L.L.C.; ABC Insurance Company; HC Seals Drywall Partners;
                                           DEF Insurance Company; Laprote Family Properties, L.L.C.; LMN Insurance
                                           Company; Leroy J. Laprote, Jr.; UVW Insurance Company; Sourthern Star
                                           Construction Company and XYZ Insurance Company

Barry, John                       1        John T. Barry and Sandra Barry v. Interior Exterior Building Supply, Limited           22nd JDC       2010-17564 H              12/9/2010                Yes VIII
                                           Partnership

Bonnecarrere, Wavilee             1        Wavilee Bonnecarrere v. Interior/Exterior Building Supply, LP                          22nd JDC        2011-11107               2/22/2011                  I&V

Borne, Barry                      1        Barry Borne and Mary Borne v. Interior Exterior Building Supply, L.P.; Interior        22nd JDC       2009-15104 I              8/26/2009             Yes III & V and
                                           Exterior Enterprises, L.L.C.; ABC Insurance Company; HC Seals Drywall Partners;                                                                        Intervening in
                                           DEF Insurance Company; Laprote Family Properties, L.L.C.; LMN Insurance                                                                                    IIC, VII
                                           Company; Leroy J. Laprote, Jr.; UVW Insurance Company; Sourthern Star
                                           Construction Company and XYZ Insurance Company

Boudreaux, Virginia Richard       1        Virginia Richard Boudreaux v. Big Bear Construction Co., Inc., Knauff Gips KG,         22nd JDC       2009-14915 H              8/19/2009               Yes I & V
                                           Knauff Plasterboard Tianjin Company, Ltd., Taishan Gypsum Company, Ltd., f/k/a
                                           Shandong Taihe Dongxin Company, Ltd., Inex Corporation

Braselman, Holly                  1        Holly Braselman and Ryan Braselman v. Interior Exterior Building Supply, L.P.;         22nd JDC       2009-15310A                9/3/2009             Yes III & V and
                                           Interior Exterior Enterprises, L.L.C.; ABC Insurance Company; HC Seals Drywall                       (Replaces 2009-                                   intervening in
                                           Partners; DEF Insurance Company; Laporte Family Properties, L.L.C.; LMN Insurance                      15102 G) H                                          IIC, VII
                                           Company; Leroy J. Laporte, Jr.; UVW Insurance Company; Sourthern Star
                                           Construction Company and XYZ Insurance Company - Voluntary Motion to Dismiss
                                           w/o Prejudice filed 12/15/09

Brown, Raymond and                1        Raymond J. Brown and Cindy Brown v. Chinchuba Creek Garden Homes, LLC,                 22nd JDC       2009-13447 C      Motion to Consolidate filed         No
Syndee                                     Clarendon American Insurance Company and James River Insurance Company -                                                         02/02/10
                                           Consolidated with Charles Back, Barry Borne, Holly Braselman and Molly
                                           Kehoe.

Building Supply House, LLC                 Interior/Exterior Building Supply, LP v. Building Supply House, LLC and Christian      22nd JDC      2010-16230 G      Answer, Affirmative Defenses
and Christian P. Lagarde                   P. Lagarde                                                                                                             and Petition in Reconvention
                                                                                                                                                                            01/31/11

Caminita, Jennifer                1        Jennifer L. Caminita wife of / and Frank L. Caminita v. Regina wife of/ and Barney     22nd JDC         100021 F       Third Party Demand 03/08/10         Yes I
                                           Core, Smith and Core, Inc., ABC Insurance Company, XYZ Insurance Company, MNO
                                           Insurance Company, John Doe Supply and John Doe Subcontractors, Third Party
                                           defendants: Interior Exterior Building Supply, LP, Bonded Builders Home Warranty
                                           Association of Texas, Inc., Knauf Plasterboard Co. LTD

Carey, Charles                    1        Charles E. Carey and Catherine A. Carey v. Interior Exterior Building Supply           22nd JDC        2010-17231              11/17/2010                Yes VIII
                                           Partnership

Carisella, James and Dianne       1        James and Dianne Carisella v. Crosby Development Company, LLC; Lakeside                22nd JDC        2011-11110               3/30/2011                   No
                                           Village Development, LLC; Calmar Construction Company, Inc.; Interior/Exterior
                                           Enterprises, LLC; Interior Exterior Building Supply, LP; ABC Insurance Company; DEF
                                           Insurance Company; DHI Insurance Company; and JKL Insurance Company.




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Carroll, Cynthia                3        Cynthia Carroll, Nicola Fineschi, Connie Fineschi, and Rosanne Wilfer v. Interior              22nd JDC        2010 - 11897 H   3/19/2010 citation not processed   Yes III Fineschi
                                         Exterior Building Supply, LP; Interior Exterior Enterprises, LLC; HC Seals Drywall                                                     yet as of 04/05/10             and Wilfer,
                                         Partners; Seals Drywall; Hubert Seals, Individually and /or D.B.A. HC Seals Drywall                                                                                 intervening in
                                         Partners and / or Seals Drywall; Sarah Seals, Individually and / or D.B.A HC Seals                                                                                        IIC
                                         Drywall Partners and / or Seals Drywall; Chinchuba Creek Gradenhomes, LLC;
                                         Southern Star Construction Company, Inc.; Clarendon America Insurance Company;
                                         James River Insurance Company; The North River Insurance Company; Arch
                                         Insurance Company; Liberty Mutual Insurance Company; Landmark American
                                         Insurance Company; Fireman's Fund Insurance Company; Acceptance Indemnity
                                         INsurance Company; and LM Insurance Company.

Cheramie, Bertoul               1        Bertoul. J. Cheramie, III and Joan B. Cheramie v. Oak Tree Homes Inc.; Thompson             22nd JDC and CDC   2010-14992 B                8/5/2010                In Omnibus III
                                         Wood Products Inc.; Interior Exterior Building Supply, LP; Interior Exterior Enterprises,                                                                                and
                                         LLC; Arch Insurance Company; The North River Insurance Company; Liberty Mutual                                                                                       Intervening
                                         Fire Insurance Company; Landmark American Insurance Company, and Firemans                                                                                             plaintiff in
                                         Fund Insurance Company.                                                                                                                                                 Gross
                                                                                                                                                                                                             Omnibus, VII

Crosby, Patrick                 4        Patrick and Jennifer Crosby, Crosby Development Company, LLC, Lakeside                         22nd JDC        2010-12795 A                4/27/2010                    Yes I
                                         Village Development, LLC, and Crosby Properties, LLC, v. Knauf Gips KG, Knauf
                                         Plasterboard (Tianjin) Co., LTD., Knauf Plasterboard (Wuhu) Co., LTD., Knauf
                                         Plasterboard (Dongguan) Co., LTD., USG Corporation, L&W Supply Corporation, and
                                         Interior Exterior Building Supply, LP.

Daigle, Theresa                 1        Theresa Daigle Wife of/and Rodney Daigle v. Tallow Creek, LLC, Southern Homes,                 22nd JDC         2009-17466      04/27/10 Exceptions and Answer           No
                                         LLE, et al.                                                                                                                     to Breach of Contract, Warranty
                                                                                                                                                                           and for Damages and Third-
                                                                                                                                                                                 Party Demands

Dauterive, Valliere,            1        Val J. Dauterive, Jr., Margaret B. Dauterive, and Ann D. Savoy v. Interior Exterior            22nd JDC         2010-17219                11/17/2010                  Yes I & V
Margaret and Savoy, Ann                  Building Supply, Limited Partnership.

D'Hemecourt, Thomas             1        Thomas D'Hemecourt and Marcelle D'Hemecourt v. Gremillion Homes, Inc.                          22nd JDC         2009-16743 I    Answer to Petition for Damages           No
                                                                                                                                                                            and Third Party Demand
                                                                                                                                                                                    05/03/10

Flattmann, Grady                1        Grady J. Flattmann and Laura L. Flattmann, D.D.S., individually, and on behalf of              22nd JDC         2009-14914                 8/19/2009                    Yes I
                                         their Minor Child, Grey J. Flattmann v. Tallow Creek, L.L.C., Southern Homes, L.L.C.,
                                         Et Al.

Foret, Kimber                   1        Kimber Foret and Ryan Foret v. Knauf Gips KG, Knauf Plasterboard Tianjin Co., Ltd.,            22nd JDC        2009-13673 H                7/9/2009                      Yes
                                         Taishan Gypsum Co. Ltd. f/k/a Shandong Taihe Dongxin Co. Ltd., USG Corporation,                                                                                      intervening
                                         L&W Supply Corporation d/b/a Seacoast Supply, Interior Exterior Buildiing Supply,                                                                                     Plaintiff in
                                         Independent Builders Supply Association, Inc. and Rothchilt International Limited, and                                                                                 Payton
                                         Lee Roy Jenkins

Gammage, Daniel                 1        Daniel D. Gammage v. Interior Exterior Buuilding Supply, L.P.; Interior Exterior               22nd JDC        2010-11674 D                2/3/2010                Yes I & V and
                                         Enterprises, L.L.C.; HC Seals Drywall Partners; Seals Drywall; Hubert Seals,                                                                                       intervening in
                                         Individually, and/or D.B.A HC Seals Drywall Partners and/or Seals Drywall; Sarah                                                                                       IIC, VII
                                         Seals, individually, and/or D.B.A. HC Seals Drywall Partners and/or Seals Drywall;
                                         Chinchuba Creek Garden Homes, L.L.C.; Southern Star Construction Company, Inc.;
                                         Clarendon America Insurance Company; James River Insurance Company; The North
                                         River Insurance Company; Arch Insurance Company; Liberty Mutual Insurance
                                         Company; RSUI indemnity Company; Fireman's Fund Insurance Company;
                                         Acceptance Indemnity Insurance Company; and LM Insurance Company.

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Genovese, Karen                  1        Karen F. Genovese v. Resource Rental & Renovation, LLC; Michael F. Byrd, David             22nd JDC and CDC   2010-14616 B           7/21/2010               Yes I
                                          M. Byrd; Interior Exterior Buidling Supply, LP; Interior Exterior Enterprises, LLC; Arch
                                          Insurance Company; The North River Insurance Company; Liberty Mutual Insurance
                                          Company; Landmark American Insurance Company; and Fireman's Fund Insurane
                                          Company.

Gremillion, Paul                 1        Paul J. Gremillion Sr., et. al. v. Interior Exterior Building Supply, Interior Exterior       22nd JDC         2009-13360            6/10/2009             Yes I & V
                                          Building Enterprises et. al.

Hakenjos, Candace                1        Candace hakenjos Wife of/and Todd Hakenjos v. Tallow Creek, L.L.C., Southern                  22nd JDC        2009-14632 J           8/6/2009                Yes V
                                          homes, L.L.C., ABC Insurance Company, XYZ Insurance Company, MNO Insurance
                                          Company, John Doe Supply and John Doe Subcontractors, Graf's Drywall, L.L.C.,
                                          Interior/Exterior Building Supply, L.P., Interior/Exterior Enterprises, L.L.C. South
                                          Cortez, L.L.C.

Harbison, Paula                  1        Paula Harbison v. Interior Exterior Building Supply, Limited Partnership                      22nd JDC         2010-17223           11/17/2010              Yes VIII

Harris, Norman                   1        Norman L. Harris, JR. and Corliss C. Harris v. J&H Drywall Supplies, LLC, Interior          22nd JDC / CDC    2010-13606 D           6/4/2010                 No
                                          Exterior Building Supply, LP, Interior Exterior Enterprises, LLC, Arch Insurance
                                          Company, The North River Insurance Company, Liberty Mutual Insurance Company,
                                          Landmark Insurance Company, and Firemans Fund Insurance Company

Henderson, Linda                 1        Linda Henderson v. J&J Builders Northshore Inc.; Abita Lumber Company; Interior            22nd JDC and CDC   2010-13605 C           6/4/2010                 No
                                          Exterior Building Supply, LP; Interior Exterior Enterprises, LLC; Arch Insurance
                                          Company; The North River Insurance Company, Liberty Mutual Insurance Company;
                                          Landmark Insurance Company; Firemans Fund Insurance Company

Hernandez, Tatum                 1        Tatum B. Hernandez and Charlene M. Hernandez, Individually and on behalf of                   22nd JDC        2009-15057-G   08/28/09 amended 03/26/10   Intervening in
                                          their minor children, Grant M. Hernandez and Amelia C. Hernandez v. Royal                                                                                      IC
                                          Homes, LLC and Anthony F. Marino, amended 03/26/10 with, Interior Exterior Building
                                          Supply, LP, Interior Exterior Enterprises, LLC, Louisiana Lumber, LLC, and Auto Club
                                          Family Insurance Company.

Hubbell, Wendy                   1        Wendy Hubbell and Christy Cimo v. Tallow Creek, L.L.C., Southern Homes, L.L.C.,               22nd JDC         2009-15115                                  Yes I & V
                                          ET AL.

Jackson, Senora                  1        Senora Jackson v. Summit Contractors, LLC, Summit Insurance Company and                       22nd JDC         2009-17305            2/22/2011               I&V
                                          Interior/Exterior Building Supply, LP

Kehoe, Molly                     1        Molly Kehoe v. Interior Exterior Building Supply, L.P.; Interior Exterior Enterprises,        22nd JDC         2009-15458                                Yes I & III & V
                                          L.L.C.; ABC Insurance Company; HC Seals Drywall Partners; DEF Insurance                                                                                  & intervening
                                          Company; Laporte Family Properties, L.L.C.; LMN Insurance Company; Leroy J.                                                                                in IIC, VII
                                          Laporte, JR.; UVW Insurance Company; Southern Star Construction Company and
                                          XYZ Insurance Company

LeBlanc, Calvin and Wyman,       1        Calvin LeBlanc and Sara S. Wyman v. Summit Contractors, LLC, Summit Insurance                 22nd JDC         2009-16897            2/22/2011              I, IB, V
Sara S.                                   Company and Interior/Exterior Building Supply, LP

Lee, Max                         1        Max Lee and wife Blakeley Lee, Individually and on behalf of their minor                      22nd JDC        2011-11791A            3/25/2011                No
                                          children, Ella Regan Lee and Anna Claire Lee v. Interior Exterior Building Supply,
                                          LP, Interior Exterior Enterprises, LLC, ABC Insurance Company, Villere Town
                                          Builders, LLC, XYZ Insurance Company, USG Corporation, L&W Supply Corporation
                                          d/b/a Seacoast Supply, and Knauf Insulation GmBH a/k/a Knauf USA

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Mason, Hiram, L.                1         Hiram L. Mason, Jr. v. Springhill, LLC; Southern Homes, LLC; Interior Exterior              22nd JDC and CDC   2010-14872 C             8/2/2010                 No
                                          Building Supply, LP; Interior Exterior Enterprises, LLC; Arch Insurance Company; The
                                          North River Insurance Company; Liberty Mutual Insurance Company; Landmark
                                          American Insurance Company; and Fireman's Fund Insurance Company.

Mizell, Fred                    1         Fred L. Mizell, Jr. and Taffenie C. Mizell v. Murphy Bateman building Supplies, LLC,           22nd JDC         100,000 H              11/18/2009                No
                                          Darwin Sharp Construction, LLC, Paetorian insurance Company and XYZ Insurance
                                          Company.

Nieto, Peter                    1         Peter Nieto v. Regina wife of / and Barney Core, Smith and Core, Inc., Republic Fire           22nd JDC         100020 D      Third Party Demand 03/08/10       Yes I
                                          and Casualty Insurance Company, ABC Insurance Company, XYZ Insurance
                                          Company, MNO Insurance Company, John Doe Supply and John Doe Subcontractors,
                                          Third Party Defendants: Interior Exterior Building Supply, LP, Bonded Builders
                                          Home Warranty Association of Texas, Inc., Knauf Plasterboard co. LTD

Niswonger, Mary M.          Also in CDC   Mary M. Niswonger v. Interior Exterior Enterprises, LLC, Interior Exterior Building            22nd JDC        2011-11330h              3/3/2011               IIB, III,
                                          Supply, LP;                                                                                                                                                  amended III
                                                                                                                                                                                                          and V

Nunez, Fredrick                 1         Fredrick D. Nunez Jr. and Lisa C. Nunez, individually and on behalf of their                22nd JDC and CDC   2010-14805 I             8/2/2010              Yes I & V
                                          minor child Zachary R. Nunez and Blake D. Nunez v. Arthur Homes, LLC, Interior
                                          Exterior Building Supply, LP, Interior Exterior Enterprises, LLC, Arch Insurance
                                          Company, The North River Insurance Company, Liberty Mutual Insurance Company,
                                          Landmark American Insurance Company, and Fireman's Fund Insurance Company

Oster, Donald                   1         Donald C. Oster and Betty M. Oster v. Southern Homes, LLC, Tallow Creek, LLC,                  22nd JDC        2010-13583 C             6/4/2010                 No
                                          Interior Exterior Building Supply, LP, Interior Exterior Enterprises, LLC, Arch Insurance
                                          Company, The North River Insurance Company, Liberty Mutual Insurance Company,
                                          Landmark Insurance Company, and Firemans Fund Insurance Company.

Parr, Shelly and Kelly          1         Shelly Parr Wife of / and Kelly Parr v. Tallow Creek LLC, Southern Homes, LLC,                 22nd JDC        2009-16962 E    Amended and Supplemental       Yes I & V
                                          ABC Insurance Company, LLC, XYZ Insurance Company, MNO Insurance Company,                                                          Petition 06/29/10
                                          John Doe Supply and John Doe Subcontractors

Piwetz, Randy and Jeanne        1         Randy L. Piwetz and Jeanne Piwetz, individually and on behalf of their minor                   22nd JDC        2010-17214              11/17/2010             Yes I & V
                                          children, Courtney Brown and Haley Piwetz v. Interior Exterior Building Supply,
                                          Limited Partnership

Poole, Sam                      1         Sam M. Poole, III and Valerie Lejune Poole v. John L. Crosby, LLC, Knauf Gips KG,              22nd JDC        2009-14897 D            8/17/2009                 No
                                          Knauf Plasterboard Tianjin Co., Ltd., Taishan Gypsum Co., Ltd., f/k/a Shandong Tiahe
                                          Dongxin Co., Ltd., USG Corp., L&W Supply Corp. d/b/a Seacoast Supply,
                                          InteriorExterior Building Supply, Independent Builders Supply Association, Inc. and
                                          Rothchilt International Limited and Fireman's Fund Insurance Company of Ohio

Quilio, Sandra                  1         Sandra Quilio v. Lee Roy Jenkins                                                               22nd JDC        2010-14073G    Petition for Damages, Answer    Yes I & V
                                                                                                                                                                          and Third Party Demand
                                                                                                                                                                                    11/04/10

Reese, Jean                     1         Jean Reese v. Affordable Homes & Land, LLC                                                     22nd JDC        2006-15816     02/25/11 Amended Answer and        No
                                                                                                                                                                             Third Party Demand

Rogers, Joyce                   1         Joyce W. Rogers v. Interior Exterior Building Supply, Limited Partnership                      22nd JDC        2010-17226              11/17/2010            Yes IV and V



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Rome, Erwin                      1        Erwin J. Rome, III and Karen G. Rome v. Summit Contractors Inc.; Summit Homes               22nd JDC also in CDC   2010-14410 i             7/7/2010                  No
                                          of Louisiana, Inc.; Capital One Holding Corporation, Interior Exterior Building Supply
                                          LP, Interior Exterior Enterprises LLC, Arch Insurance Company, The North River
                                          Insurance Company, Liberty Mutual Insurance Company, Landmark American
                                          Insurance Company, Firemans Fund Insurance Company, Nautilus Insurance
                                          Company.

Savoie & Savoie III, LLC         1        Savoie and Savoie III, LLC v. HC Seals Drywall Partners d/b/a Seals Drywall Co.,                 22nd JDC          2010-17607 C            12/10/2010                 No
                                          Interior Exterior Building Supply, LP, Interior Exterior Enterprises, LLC, Arch Insurance
                                          Company, The North River Insurance Company, Liberty Mutual Insurance Company,
                                          Landmark American Insurance Company, Firemans Fund Insurance Company, and
                                          Hermitage Insurance Company

Silva, Stephen                   1        Steven and Isis Silva, individually and on behalf of a class of others similarly situated        22nd JDC          2009-17087 F             12/1/2009                Yes I
                                          v. Arch Insurance Company, Fireman's Fund Insurance Companies, Liberty Mutual
                                          Insurance and Interior Exterior Building Supply, LP

Slidell Property                42        Slidell Property Management, LLC v. Springhill, LLC; Southern Homes, LLC f/k/a                   22nd JDC          2010-11172     First Amended and Superceding       No
Management, LLC                           Southern Homes, INC; Adrian Kornman; Interior Exterior Building Supply, LP; Interior                                                      Petition 01/10/11
                                          Exterior Enterprises, LLC; The North River Insurance Company; Arch Insurance
                                          Company; Liberty Mutual Fire Insurance Company; Landmark American Insurance
                                          Company; National Surety Corporation; ABC Insurance Company; DEF Insurance
                                          Company; and GHI Insurance Company.

Southern Star Construction       7        Southern Star Construction Co., Inc. v. Clarendon America Insurance Co., HC                      22nd JDC          2011-10422 G             1/21/2011                 No
Co., Inc.                                 Seals Drywall Partners a/k/a Seals Drywall, Hermitage Insurance Co. and Acceptance
                                          Indemnity Insurance Co.

Stanfield, Sidney                1        Sidney S. Stanfield, Jr. v. Interior Exterior Building Supply, Limited Partnership               22nd JDC          2010-17567 D             12/9/2010              Yes VIII

Sunrise Construction         Does not     Sunrise Construction and Development LLC and Sun Construction LLC vs.                            22nd JDC          2009-12196 G             4/17/2009                 No
                              allege      Interior/Exterior Building Supply LP and XYZ Insurance Company

Temperato, Cynthia and           1        Cynthia and John Temperato v. Interior Exterior Building Supply, Limited                         22nd JDC          2011-10268 J             1/13/2011              Yes VIII
John                                      Partnership.

Thompson, Melanie                1        Melanie Thompson v. David E. Diggs, Nancy S. Diggs, Chunky Folks, Interior                   22nd JDC and CDC      2010-16137 J             9/27/2010                 No
                                          Exterior Building Supply, LP, Interior Exterior Enterprises, LLC, Arch Insurance
                                          Company, The North River Insurance Company, Liberty Mutual Fire Insurance
                                          Company, Landmark Insurance Company, and Fireman's Fund Insurance Company.

Waguespack, Jacques              1        Jacques Waguespack, individually and as Administrator of the Estate of his minor                 22nd JDC          2009-14371 A             7/24/2009              Yes I & V
                                          children Emma Waguespack and Priscilla Waguespack; Nicole Waguespack,
                                          individually v. Knauf Gips KG, Knauf Plasterboard Tianjin Co., Ltd., Taishan Gypsum
                                          Co., Ltd. f/k/a Shandong Taihe Dongxin Co. Ltd.; USG Corporation, L&W Supply
                                          Corporation d/b/a Seacoast Supply, Independent Builder Supply; Independent Builders
                                          Supply Association, Inc.; Rotchilt International Limited; Bagley Construction, L.L.C.;
                                          John H. Bagley; Fireman's Fund Insurance Company; The American Insurance
                                          Company; ABC Insurance Company; B&B Drywall; Paul Bates and DEF Insurance
                                          Company, Interior Exterior Building Supply.




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Wayne, William                  1        William Wayne and Kelly Wayne, Individually and on behalf of their minor child                 22nd JDC        2009-13466 A              8/11/2009                 Yes I & V
                                         Richard Wayne and their unborn child, "Baby" Wayne v. Knauf Gips KG, Knauf
                                         Plasterboard Tianjin Co., Ltd., Taishan Gypsum Co. Ltd., InteriorExterior Building
                                         Supply, Limited Partnership

White, John K.                  1        John K. White and Harriet B. White v. Alvin R. Savoie * Associates, Inc. d/b/a                 22nd JDC        2010-14756 A              7/23/2010                    No
                                         Savoie Construction & Development, LLC; HC Seals Drywall Partners d/b/a Seals
                                         Drywall Company; Interior Exterior Building Supply LP; Interior Exterior Enterprises
                                         LLC; Arch Insurance Company; The North River Insurance Company; Liberty Mutual
                                         Insurance Company; Landmark American Insurance Company; Firemans Fund
                                         Insurance Company; and Quanta Indemnity Company.

Wood, Pamela Ann                1        Pamela Ann Wood v. Interior Exterior Building Supply, Limited Partnership                      22nd JDC        2010-17215               11/17/2010                    No

Naden, Craig                    1        Craig Naden and Roberta Naden v. Acadian Builders & Contractors, LLC, Pelican               23rd JDC and CDC     97417D                  8/20/2010                 Yes I & V
                                         Point Properties, LLC; Interior Exterior Building Supply, LP; Interior Exterior
                                         Enterprises, LLC, Arch Insurance Company; The North River Insurance Company;
                                         Liberty Mutual Fire insurance Company; Landmark American Insurance Company,
                                         and Firemans Fund Insurance Company.

Ward, Truman                    1        Truman L. Ward and Amy G. Ward v. Acadian Builders & Contractors, LLC; Pelican              23rd JDC and CDC     97352 E                 8/17/2010                 Yes I & V
                                         Point Properties, LLC; Interior Exterior Building Supply, LP; Interior Exterior
                                         Enterprises, LLC; Arch Insurance Company; The North River Insurance Company;
                                         Liberty Mutual Fire Insurance Company; Landmark American Insurance Company,
                                         and Firemans Fund Insurance Company

Barlow, John and Regine         1        John and Regine Barlow v. L.A. Homes, Inc. (Interior/Exterior Building Supply,                  24th JDC         676-194                  07/30/09                Yes III & V
                                         Limited Partnership thru its General Partner Interior/Exterior Enterprises, LLC thru its
                                         Registered Agent Clayton C. Geary summonded to comply with the demand contained
                                         in the Answer for Petition for Damages and Third Party Demand, Request for Notice,
                                         Petition for Damages)

Harding, Matthew                3        Matthew harding, Kristin Harding, Alexander Robair, Peter Maggiore, Frankie                     24th JDC        679-634 A     04/15/10 Petition for Declaratory       No
                                         Maggiore v. LA Homes Inc., ABC Insurance Co., Sunrise Construction and                                                           Judgment and Third Party
                                         Development LLC, Sun Construction LLC, XYZ Insurance Company, Honorable                                                                  Demand
                                         James D. Caldwell, Interior Exterior Building Supply Limited Partnership.

Lartigue, Clement               1        Clement W. Lartigue, IV and Margaret C. Lartigue v. Team Work Construction, LLC;            24th JDC and CDC     690973                  8/10/2010                 Yes I & V
                                         Interior Exterior Building Supply, LP; Interior Exterior Enterprises, LLC; Arch Insurance
                                         Company; The North River Insurance Company; Liberty Mutual Fire Insurance
                                         Company; Landmark American Insurance Company, and Firemans Fund Insurance
                                         Company.

Pizani, Lindsey                 1        Lindsey Pizani Wife of/and Calvin Pizani Individually and on behalf of their Minor              24th JDC        677080 E      Third party Demand against IE        Yes VIII
                                         Children Rylee, Calee and Landen v. Clara Homes, LLC, Dylan Bourg and Geo Vera
                                         Specialty Insurance Co. and XYZ Insurance Company.

Ross, Terrence                  1        Terrence M. Ross, Rhonda B. Ross v. C. Adams Construction and Design LLC,                       24th JDC         676-185                  10/07/09                    No
                                         State Farm mutual Insurance Company, louisiana Citizens Property Insurance
                                         Company, State Farm Fire and Casualty Company, Interior/Exterior Building Supply
                                         Ltd Partnership, Stock Building Supply LLC




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Abt, Benjamin R. and             1        Benjamin R. and Jennifer D. Abt v. HPH Properties, LLC et al., v. Interior Exterior        Alabama        CV-2010-900669.00   01/28/11 Third Party Complaint            Yes
Jennifer D.                               Building Supply, et al.                                                                Jefferson County                                                            intervening in
                                                                                                                                                                                                                   IC

Adams, John H. and Bonnie        1        John Adams and Bonnie Teel Adams v. HPH Properties, LLC; Interior Exterior                 Alabama        cv-2011-920068.00              3/29/2011                    Yes IC
                                          Building Supply, LP; and fictitious defendants A-Z                                     Jefferson County

Adamson, Mike                    1        Mike and Beverly Adamson v. Capstone Partners, LLC, Interior Exterior Building             Alabama         CV-2010-901753     Defendant's Motion to Dismiss or          No
                                          Supply, et al.                                                                         Jefferson County                       in the Alternative, Motion to Stay
                                                                                                                                                                        and Compel Mediation 06/14/10

Bales, Dennis                    1        Dennis Bales and Linda Bales, Plaintiffs, v. Capstone Partners, LLC, Shannon               Alabama        CV-2010-900906.00   Capstone's First Amended and              No
                                          McCord, Gary Gardner, et al., Defendants. Capstone Partners, LLC, Defendant/Third-     Jefferson County                       Third Party Complaint 04/23/10
                                          Party Plaintiff, v. Vulcan Brick masonry, Elite Foundation, Jose Morales, AUB
                                          Construction, Just in Time Landscaping, 5 Star Concrete Finishing, Herring Heating &
                                          Air, K&K Audio, and Jimmy Landrum Electric, and Interior/Exterior Building Supply,
                                          Third-Party Defendants.

Bunn, James & Michele            1        James C. and Michele D. Bunn v. HPH Properties, LLC; Interior Exterior Building            Alabama        CV-2010-900670.00    Third Party Demand 01/28/11              Yes
                                          Supply, LP; and Fictitious Defendants A-Z.                                             Jefferson County                                                            Intervening in
                                                                                                                                                                                                                Payton I

Burson, Glenda                  11        Glenda Burson; Joseph Clark; Cathleen Clark; Dan Gels; Michelle Gels; Clark                Alabama        CV-2008-000317.00       Plaintiff's Sixth Amended             No
                                          Kelly; Kathy Kelly; Horace Kynard; Kimberly Kynard; Charles Purter; Nicole             Jefferson County                            Complaint 07/12/2010
                                          Purter; Jack Schreiner; Patti Schreiner; David Veal; Mary Veal; Dale Scivley;
                                          Kathleen Scivley; John Fandetti; Maria Fandetti; Jason Collins; and Elizabeth
                                          Collins v. Vintage Homes, LLC; Daniel Ross Bridge, LLC; All South Excavating, INC.;
                                          Hernandez Concrete, INC.; Seal Tight Waterproofing, LLC.; JD Gardner Construction,
                                          INC.; Cruz Herrera; Bonham & Buckner PLumbing Company, INC.; Mainline Heating &
                                          Air, INC.; C J Electric, LLC; Daviston Insulation, INC.; Colonial Fireplace Company,
                                          INC.; McCain Carpet & Flooring, INC.; Paul A. Jackson; Interior/Exterior Building
                                          Supply Company, LP; and Defendants N-Z.

Chavous, George                 11        George Chavous; Lorine Chavous; Terrell Hopkins; Raeshonda Hopkins; Sharon                 Alabama        CV-2010-901890.00              05/27/2010                     No
                                          Spivey; Cynthia Conner; Kenturah Felton; Kimberly Marable; Chris Hill; v.              Jefferson County
                                          Holman Building Co., LLC; Interior Exterior Building Supply Company, LP; and
                                          Fictitious Defendants A-Z.

Cook, William Clay               1        William Clay Cook and Wendy Cook v. HPH Properties, LLC; Interior Exterior                 Alabama        CV-2010-903410.00               09/17/10                      No
                                          Building Supply, LP; and Fictitious Defendants A-Z.                                    Jefferson County

Cowart, Patricia and Jerry       1        Judith Sargent; Stephen Wallace; Jeanie Wallace; Stephen Wallace and Walter                Alabama         CV-2009-900456                                               No
                                          Wallace, as Trustees of the Katherine Duton Wallace Trust; Russell Gordon;             Jefferson County
                                          Judy Gordon; Candace Adams; Brenda Buckley; Charles Carlin; Yvonne Carlin;
                                          Andrew Freeland; Emily Freela

Cox, Donnis                      1        Donnis Cox and Thomas Cox v. Eddleman Homes, LLC; Eddleman Properties, Inc.;              Alabama         CV-2010-900771.00               8/3/2010                      No
                                          Park Homes, LLC; Interior/Exterior Building Supply Company, LP; Fictitious              Shelby County
                                          Defendants A-Z

Cox, Jeffrey and Georgann        1        Jeffrey Cox and Georgann Cox v. Chappell Development, Inc., Interior/Exterior             Alabama          CV-2011-900091                                               No
                                          Building Supply Co., LP, et al.                                                         Shelby County



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Crawford, Daniel                1         Daniel Crawford; and Sarah Crawford v. Continental Construction, LLC;                              Alabama         CV-2010-900073.00           05/03/2010              Yes IV
                                          Interior/Exterior Building Supply, LP; and Fictitious Defendants A-Z.                          St. Clair County

Daniel, Michael & Monica        1         Michael C. Daniel and Monica H. Daniel v. Lifescape Builders, LLC; Liberty Park                   Alabama            2010-904442       Third Party Demand 01/07/11   Intervening
                                          Joint Venture, LP, also Third Party Plaintiff v. Interior Exterior Supply, LP; Knauf          Jefferson County                                                        plaintiff in
                                          Insulation GmBH a/k/a Knauf USA; Knauf International GmBH, a German Corporation;                                                                                      Omnibus I
                                          Knauf Gips KG, a German Corporation; Knauf Plasterboard (Tianjin) Co., LTD; Interior
                                          Exterior Enterprises, LLC; South Cortez, LLC and A-O

Daniel, William E.              1         William E. Daniel, Jr.; and Grace Daniel v. Brantley Homes, INC.; Interior Exterior              Alabama           CV-2010-900717.00           7/20/2010                 No
                                          Building Supply Company, LP; and Fictitious Defendants A-Z.                                    Shelby County

Davis, William & Lucinda        1         William and Lucinda Davis v. Interior Exterior Building Supply, LP; Lifescape                     Alabama          CV-2010-903185.00            09/01/10                 No
                                          Builders, LLC; Fictitious Defendants 1-29.                                                    Jefferson County

Donnelly, Paul                  1         Paul Donnelly; and Carrie Westphal; v. Eddleman Properties, Inc.; Courtside                      Alabama           CV-2010-900495.00           05/26/2010                No
                                          Development, Inc.; Interior Exterior Building Supply Company, LP; and Fictitious               Shelby County
                                          Defendants A-Z.

Eddleman Homes                            Eddleman Homes LLC; Eddleman Properties, INC.; Courtside Development,                             Alabama           01-CV-2010-904-             12/22/10                 No
                                          INC.; Highland Lakes Community, INC. f/k/a Eddleman Properties, INC.; Highland                Jefferson County          507.00
                                          Lakes Homes, LLC; Park Homes, LLC; Dunnavant Place, LLC, v. Knauf Insulation
                                          GmgH a/k/a Knauf USA; Knauf International GmbH, a German Corporation; Knauf
                                          Gips KG, a German Corporation; Knauf Plasterboard (Tianjin) Co., LTD., a Chinese
                                          Limited Liabililty Corporation; Interior & Exterior Building Supply, L.P., a Limited
                                          Partnership; Robby Glenn, an individual; Interior Exterior Enterprises, LLC, a limitied
                                          liability company; South Cortez, LLC, a limited liability company; and Fictitious Parties
                                          A-O

Foote, David and Karen          1         David and Karen Foote v. Eddleman Properties, Inc.; Douglas D. Eddleman,                    AlabamaShelby County     CV-11-900039              1/20/2011               Yes IB
                                          individually, Interior/Exterior Building Supply, LLP and Defendants A-Z

Foster, Daniel                  1         Daniel J. Foster and Brenda B. Foster v. Capstone Partners, LLC, Interior Exterior                Alabama          CV-2010-901754.00           05/20/2010                No
                                          Building Supply, and those persons firms or entities, whose identities are unknown by         Jefferson County
                                          the plaintiffs, but when ascertained will be added by amendment and who are
                                          responsible for the injuries and damages complained of herein.

Haralson, Tommy                13         Tommy Haralson, Sandra Haralson, Monty Ballard, Suzanne Ballard, J. William                      Alabama           CV-2010-900700.00           07/15/2010                No
                                          Davis, Jr., Nancy Davis, William Forbes, Mary Forbes, David Fowler, Nan Fowler,                Shelby County
                                          Dan Peace, Sharon Peace, Charles Hoit, Leta Hoit, Michael Gibbs, Eileen Gibbs,
                                          William Moulin, Joann Moulin, John Nichols, Pamela Nichols, David Sumner,
                                          Amy Sumner, Wayne Nearing, Virginia Nearing, and Katie Nguyen, v. Eddleman
                                          Homes, LLC, Eddleman Properties, LLC, Interior/Exterior Building Supply Company,
                                          LP, Dunnavant Place, LLC, Highland Lakes Homes, LLC, Fictitious Defendants A-Z.

Helm, Melina                    1         Melina Helm and Gary Brandon Helm v. Hendrickson Construction, LLC; Michael                       Alabama          CV-2010-902864.00            08/09/10                 No
                                          Hendrickson; Interior Exterior Building Supply Company, LP; and fictitious defendants         Jefferson County
                                          A-Z.




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Henderson, Robert                  11         Robert W. Henderson, individually, and Taffiany Rodgers, individually and as                     Alabama           2009-901381           7/23/2009. Fifth Amended                No
(Consolidated with Little,                    mother and next friend of LeBarron Rodgers, and Mahogany Henderson, minors;                    Mobile County      Consolidated with         Complaint 03/09/10
Diges 11/11/09)                               Tiffany Grove, individually and as mother and next friend of Trevin Grove, minors;                               CV-09-901118-MAY
                                              Samone E. Raddcliff, individually, and as mother and next friend of Von S. Conway,
                                              Jr., individually; Mollie Payne Prim, individually and as mother and next friend of
                                              Tyagnelo Cummings, Tyja Agnew, minors and Melvin Payne individually; Telimea
                                              W. Sanders, individually, and as mother and next friend of Megan M. Sanders,
                                              Marcus L. Sanders, II and McKenzie A. Murphy, minors; Veronica Marsh,
                                              individually, and as mother and next friend of Ricki D. Marsh, Jeremy E. Marsh, and
                                              Devin E. Marsh individually; Yolanda Y. Pruitt, individually, and as mother and next
                                              friend of Spencer White minor, and Natalia C. Pruitt, individually and as mother and
                                              next friend of Christi Douglas, a minor v. The Mitchell Company, Inc.; the Housing
                                              Authority of the City of Prichard Alabama; the Prichard Housing Board; Interior Exterior
                                              Building Supply Company, L.P.; Rightway Drywall, Inc; Smokey Mountain Materials,
                                              Inc. Just Right Supply Company, Inc.; Estes Heating & Air; et. al.

Henke, Chris and Laurie            1          Chris Henke and Laurie Henke v. HPH Properties LLC, Interior Exterior Building                  Alabama          CV-2011-900425.00                4/5/2011                       No
                                              Supply, LP, and fictitious defendants A-Z                                                     Madison County

Hensley, Donna                     1          Donna Hensley v. The Houston Company, LLC; Phillip Houston, individually AND                      Alabama          CV200800316        1/28/2008 summoned 03/02/10               Yes I
                                              Fictitious Defendants A - Z; Whether singular or plural, all other entities engaging in       Jefferson County
                                              the similar practices of the named defendants herein. Plaintiff avers that the identities
                                              of the fictitious parties herein are otherwise unknown to Plaintiff at this time, and
                                              alleges true names will be substituted by amendment when ascertained.

Housing Board of the City of   Does not       Housing Board of the City of Prichard, AL v. The Mitchell Company, et al.,                       Alabama           CV-09-901118       11/18/09 Fourth Party Complaint           Yes I
Prichard, AL                    allege        Defendants, The Mitchell Company, Third Party Plaintiff, v. Creola Ace Hardware,               Mobile County
                                              Third Party Defendant, Creola Ace Hardware, Fourth Party Plaintiff, v. Interior and
                                              Exterior Building Supply, Inc., and fictitious parties A, B, C, D, E, F, G, H, I J, K and L
                                              Fourth Party Defendant.

Ingram, Juanita                    1          Juanita Ingram and Jessee Ingram v. Capstone Partners, LLC; Interior Exterior                     Alabama         CV-2010-904537       12/23/2010 Cpastone's answer              No
                                              Building Supply, LP; and fictitious defendants, A-Z                                           Jefferson County                        to Plaintiff's complaint and cross
                                                                                                                                                                                     complaint againt inex 01/27/11

Jones, Roy and Carol               1          Roy Jones and Carol Jones v. Jimmie Parker Custom Homes, Inc.; Jimmie E.                         Alabama             10-900936                    09/17/10                       No
                                              Parker; Interior Exterior Building Supply Company, LP; and Fictitious Defendants A-Z.          Shelby County

Jones, Steven Chad and             1          Steven Chad Jones and Jessica Jones v. HPH Properties, LLC; Interior Exterior                    Alabama           CV-10-900237                  3/17/2010                       No
Jones Jessica                                 Building Supply, LP; and fictitious Defendants A-D.                                            Shelby County

Lawrence, Cornelius L. and         1          Cornelius L. and Ericka Lawrence v. HPH Properties, LLC et al., v. Interior Exterior              Alabama        CV-2010-900671.00    01/28/11 Third Party Complaint             Yes
Ericka                                        Building Supply, et al.                                                                       Jefferson County                                                             intervening in I

Lifescape Builders, LLC and    Does not       Lifescape Builders, LLC and Liberty Park Joint Venture, LLP v. Knauf Insulation                   Alabama         CV-2010-01165                   4/9/2010                       No
Liberty Park Joint Venture,    allege / 30    GmbH a/k/a Knauf USA; Knauf international GmbH, a German Corporation; Knauf                   Jefferson County
LLP                                           Gips KG, a German Corporation; Knauf Plasterboard (Tianjin) Co., a Chinese LLC;
                                              Interior Exterior BUilding Supply, LP, a Limited Partnership; Robby Glenn, an
                                              individual; Interior Exterior Enterprises, LLC, South Cortez, LLC, and A-O




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Little, Diges E. (Consolidated       7         Diges E. Little, Felicia A. Allbritton, individually and as mother and next friend of        Alabama           2009-901153                  6/25/2009                    No
with Henderson, Robert                         Edward J. Stevenson, a minor and Betty Albritton, individually; Jerome Leland,             Mobile County      Consolidated with
11/11/09)                                      individually and Audra Washington, individually and as mother and next friend of                             CV-09-901118-MAY
                                               Jeremesia Washington, Timothy Washington, Lekenno Washington and Jalexis
                                               Washington, minors; Gennies M. Hillary, individually and as mother and next friend
                                               of Corinthia Hillery, a minor; Deborah R. Porcher, individually and as mother and
                                               next friend of Khryshaunda S. Lett and Christopher D. Lett, minors; and Tiffany K.
                                               Porcher, individually and as mother and next friend of Delantonio Porcher, a minor
                                               Charles R. Pugh, individually and Jessica M. Pugh, individually and as mother and
                                               next friend of Jakendrick D. Holmes, a minor; Letitia G. Washington, individually
                                               and as mother and next friend of Malasia K. Washington, Torianna C. Washington
                                               and Makayla S. Washington, minors v. The Mitchell Company, Inc.; the Housing
                                               Authority of the City of Prichard Alabama; the Prichard Housing Board; Interior
                                               Exterior Building Supply Company, L.P.; Rightway Drywall, Inc; Smokey
                                               Mountain Materials, Inc. Just Right Supply Company, Inc.; Estes Heating & Air;
                                               Just Right Supply Company, Inc., Estes Heating $ Air, Inc. et. al.

Loftis, Dell                         1         Dell J. Loftis, Lydia F. Loftis, Jason Kokoszka and Heather Kokoszka v. Knauf                Alabama            05-CV-2009-                 5/15/2009                   Yes I
                                               Gips KG, Knauf Plasterboard (Tianjin) Co., Ltd., Interior & Exterior Building Supply,     Baldwin County         000323.00
                                               Methodical Builders, Inc., Hutchinson Homes, Inc. and A-Z as persons, firms, entities,
                                               or corporations responsible for acts complained of whose names are presently
                                               unknown to the Plaintiffs but who will be added by name by amendment when
                                               ascertained by the Plaintiffs

Loney, Christopher M. and            1         Christopher M. and Rochele J. Loney v. HPH Properties, LLC et al., v. Interior                Alabama        CV-2010-900672.00    01/28/11 Third Party Complaint        Yes,
Rochele J.                                     Exterior Building Supply, et al.                                                          Jefferson County                                                         intervening in
                                                                                                                                                                                                                     Payton I

Marston, William, T. and             1         William, T. and Jeanine Hansen Marston v. HPH Properties, LLC et al., v. Interior             Alabama        CV-2010-900673.00    01/28/11 Third Party Complaint         Yes
Jeanine Hansen                                 Exterior Building Supply, et al.                                                          Jefferson County                                                         intervening in I

Mcclure, Paul                        1         Paul Mcclure, et al v. Interior Exterior Building Supply et al                                Alabama        CV-2010-002342.00              9/27/2010                    No
                                                                                                                                         Jefferson County

Navy Cove Harbor
Condominium

Neel, Kevin and Stacy                1         Kevin and Stacy Neel v. Taff construction, Inc.; Interior Exterior Building Supply, LP;       Alabama         CV-2010-901030               12/30/2010                    No
                                               Fictitious Defendants A-Z                                                                 Jefferson County

Ramsey, Keith                        1         Keith Ramsey v. Holman Building Company, LLC; Interior Exterior Building Supply,              Alabama        CV-2010-904465.00             12/17/2010                    No
                                               LP; and fictitious defendants A-Z                                                         Jefferson County

Rice, James                          8         Rice, James; Leigh Rice; Radolph Grosfeld; James Harbour; Jennifer Harbour;                   Alabama        CV-2010-901053.00      First Amended Complaint             Yes
                                               Steven Stastny; Lauren Stastny; Dr. Samuel Goldstein; Denise Goldstein; Lee               Jefferson County                                  5/17/2010               intervening
                                               Edmonds; Susan Edmonds; Bryance Metheny; Julie Metheny; Andrew                                                                                                       plaintiff in
                                               Velasquez; and Romney Velasquez; v. Lifescape BUilders LLC, Interior/Exterior                                                                                         Payton
                                               Building Supply Company, LP, and Fictitious Defendants A-Z.

Rice, James L. & Norma E.            1         James L. and Norma E. Rice v. HPH Properties, LLC et al., v. Interior Exterior                Alabama        CV-2010-900674.00    Third Party Complaint 01/28/11        Yes,
                                               Building Supply, et al.                                                                   Jefferson County                                                         intervening in
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Robins, Daniel and Elaine          1         Daniel and Elaine Robins v. HPH Properties, LLC et al., v. Interior Exterior Building        Alabama        CV-2010-904412.00   Third Party Complaint 01/28/11         Yes,
                                             Supply, et al.                                                                           Jefferson County                                                         intervening in
                                                                                                                                                                                                                  Payton I

Saeed, Answar & Sadiqa             1         Saeed Anwar and Sadiqa Anwar Saeed v. Gibson & Anderson Construction, Inc. v.                Alabama        CV-2010-900679.00   Third Party Complaint 02/16/11    Yes Amended I
Anwar                                        Interior/Exterior Building Supply, LP and Interior/Exterior Enterprises, LLC.            Jefferson County

Sargent, Judith                   15         Judith Sargent; Stephen Wallace; Jeanie Wallace; Stephen Wallace and Walter                 Alabama           CV-10-900261        3/25/2010 Complaint. HPH             Yes I
                                             Wallace, as Trustees of the Katherine Duton Wallace Trust; Russell Gordon;                Shelby County                         Properties Cross Claims against
                                             Judy Gordon; Candace Adams; Brenda Buckley; Charles Carlin; Yvonne Carlin;                                                                IE 05/11/10
                                             Andrew Freeland; Emily Freeland; Betty HOntzas; Thach Dai Nguyen; Minhthu
                                             Lee Nguyen; W. Barrett Nichols; linda Nichols; Mayur Patel; David Simon;
                                             Andrea Simon; Franck Ranelli; Rosalind Ranelli; Charles Walters; and Suzanne
                                             Walters v. HPH Properties, LLC; Interior / Exterior Building Supply Company LP; and
                                             Fictitious Defendants A-Z

Scott, Gregory and Joan            1         Gregory and Joan Scott v. Interior/Exterior Supply, LP; Lifescape Builders, LLC.;            Alabama        CV-2010-902555.00             7/16/2010                     No
                                             Fictitious Defendants.                                                                   Jefferson County

Seifert, Charles                   3         Charles Seifert, Lois Seifert, Vanessa Van Giessen Rogers, Starla Jones v.                  Alabama         CV-2010-900684.00             7/14/2010                     No
                                             Stonecrest Homebuilders LLC, Farmingdale Homes, LLC, Interior/Exterior Building           Shelby County
                                             Supply Company, LP, and Fictitious Defendants A-Z.

Shah, Kajal & Rahul A.             1         Kajal R. and Rahul A.Shah v. HPH Properties, LLC et al., v. Interior Exterior Building       Alabama        CV-2010-900675.00   01/28/11 Third Party Complaint          Yes
                                             Supply, et al.                                                                           Jefferson County                                                         intervening in I

Stephens, Keith                    1         Keith and Amy Stephens v. HPH Properties, LLC, et al, v. Interior Exterior Building          Alabama         CV2010-900676      03/10/11 Third Party Complaint
                                             Supply, LP, et al.                                                                       Jefferson County

United States Steel                1         United States Steel Corporation v. Interior Exterior Building Supply, L.P., Interior         Alabama        CV-2011-900963.00             3/22/2011                     No
Corporation                                  Exterior Enterprises, LLC, South Cortez, LLC, Robby Glenn, Mark L. Marlow and            Jefferson County
                                             Fictitious Parties A-O

Virciglio, John C. and Karen       1         John C. and Karen K. Virciglio v. HPH Properties, LLC et al., v. Interior Exterior           Alabama        CV-2010-900677.00   01/28/11 Third Party Complaint         Yes
K.                                           Building Supply, et al.                                                                  Jefferson County                                                         intervening in
                                                                                                                                                                                                                     IV

Visram, Rahim                      1         Rahim Visram v. Interior Exterior Building Supply, LP; Lifescape Builders, LLC;              Alabama         CV-2010-901167                4/8/2010                    Yes
                                             Fictitious Defendants No. 1 through 27.                                                  Jefferson County                                                          intervening
                                                                                                                                                                                                                 plaintiff in
                                                                                                                                                                                                                  Payton

Wilkinson, Carrie                 25         Carrie Wilkinson; Michael Wilkinson; Edgar Perez; Raymond bakane; Jonathan                   Alabama        CV-2010-900099.00              6/7/2010                     No
                                             Bolle; Raenna Bolle; Valerie Jackson; David Adams; Fran Box; Randy Lynn                  St. Clair County
                                             Stephenson; Javis Brian Pickett; Jared Alan Kinney; Darrell Reeser; Gregory
                                             King; Wendy King; John Supernaugh; Deborah Supernaugh; Charles Cash;
                                             Barbara Cash; Jenise Burton; Lydell Burton; Brenda Scott; Lilly Gaye Griffiths;
                                             Eric Kramer; Lori Kramer; Linda Robinson; Stephen Lay; Kristen Lay; Juanita
                                             Sharit; Lester Ballentine; Chris Burns; John Eric Chandler; Rayman Lybarger;
                                             Chong Suk Lybarger; Jason Ford; Summer Ford; and April Hutson; v. HPH
                                             Properties, LLC; Interior / Exterior Building Supply Company, LP; and Fictitious
                                             Defendants A-Z.



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Alexander, Derrick                 1          Derrick Alexander v. General Fidelity Insurance Company, L.A. Homes, Inc.; Interior             CDC          10-8237 L 6       8/23/2010               No
                                              Exterior Building Supply, L.P.; Interior Exterior Enterprises, LLC; Landmark American
                                              Insurance Company; Arch Insurance Company; Ther North River Insurance Company;
                                              and Liberty Mutual Fire Insurance Company.

Barrow, Clarence and Marion        1          Clarence Barrow and Marion Barrow v. Hilliard Butler Construction Co. Inc; George               CDC          10-9182 K5        9/13/2010              I&V
                                              Meza; Interior Exterior Building Supply, LP; Interior Exterior Enterprises, LLC; Arch
                                              Insurance Company; The North River Insurance Company; Liberty Mutual Fire
                                              Insurance Company; Landmark Insurance Company; and Firemans Fund Insurance
                                              Company.

Blue, John                         1          John B. Blue and Rachelle Blue, individually and on behalf of their Minor                       CDC            09-9641         9/11/2009         Yes III & V and
                                              Children, John D. Blue and Calley Blue v. Interior Exterior Building Supply, L.P. ;                                                               intervening in
                                              Interior Exterior Enterprises, L.L.C.; ABC Insurance Company; amended 03/23/10 with                                                                   IIC, VII
                                              The North River Insurance, Liberty Mutual Insurance, Landmark American Insurance
                                              and Fireman's Fund Insurance.

Bourdon, Lucille                   1          Lucille Bourdon v. Interior/Exterior Building Supply, limited Partnership,                      CDC            09-9595         9/10/2009           Yes I & V
                                              Interior/Exterior Enterprises, L.L.C., Arch Insurance Company, liberty mutual Fire
                                              Insurance Company, Arthur Homes, L.L.C., Joseph L. Arthur, Louisiana Home
                                              Builders Association General Liability Trust, Markel Insurance Company and State
                                              Farm Fire and Casualty Company

Boutte, Donald                Also in 19th    Donald J. Boutte v. E. Jacob Construction, Inc., Interior Exterior building Supply, LP,     CDC / 19th JDC     10-3645         4/14/2010           Yes III & V
                                              Interior Exterior enterprises, LLC, Arch Insurance Company, The North River
                                              Insurance, Liberty Mutual Insurance Company, Landmark Insurance Company,
                                              Firemans Fund Insurance Company, and Allstate Indemnity Company

Cambre, David and Jessica          1          David C. Cambre and Jessica H. Cambre, individually and on behalf of their                      CDC          10-11192 H        11/4/2010          Intervening
                                              minor children, Carly C. Cambre and Saddie P. Cambre v. M. Carbine                                                                                 plaintiff in
                                              Restorations, LTD.; Interior Exterior Building Supply, LP; Interior Exterior Enterprises,                                                           Payton
                                              LLC; Arch Insurance Company, The North River Insurance Company; Liberty Mutual                                                                    Omnibus IB
                                              Fire Insurance Company; Landmark American Insurance Company; Fireman's Fund
                                              Insurance Company; and Liberty Lumber Yard, Inc.

Caminita, Michael & Johanna        1          Michael R. Caminita, Jr., Johanna F. Caminita, individually and on behalf of their              CDC          2010-07867        7/30/2010              Yes
                                              minor children, Hailey E. Caminita and Hayden M. Caminita v. Levet Homes, LLC,                                                                    Intervening
                                              Interior Exterior Building Supply, LP, Interior Exterior Enterprises, LLC, Arch Insurance                                                          Plaintiff in
                                              Company, The North River Insurance Company, Liberty Mutual Insurance Company,                                                                      Omnibus I
                                              Landmark Insurance Company, and Firemans Fund Insurance Company.

Campos, Carlos                     1          Carlos A. Campos v. Brandhurst Construction & Maintenance Co., Inc., Michael                    CDC          2010-9920 G       9/24/2010              Yes
                                              Orgeron, Interior Exterior Building Supply, LP, Interior Exterior Enterprises, LLC, Arch                                                          Intervening
                                              Insurance Company, The North River Insurance Company, Liberty Mutual Fire                                                                          Plaintiff in
                                              Insurance Company, Landmark Insurance Company, and Fireman's Fund Insurance                                                                      Omnibus I, VII
                                              Company.

Cathcart, Jeff                     1          Jeff Cathcart, Robin Cathcart and Amber Cathcart v. Interior Exterior Building                  CDC            10-6013         6/14/2010             Yes I
                                              Supply, LP; Interior Exterior Enterprises, LLC; Scott Designer Homes, INC; The North
                                              River Insurance Company, Arch Insurance Company; Liberty Mutual Insurance
                                              Company; Landmark American Insurance Company; Fireman's Fund Insurance
                                              Company; ABC Insurance Company.




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Cheramie, Bertoul           Also in 22nd    Bertoul. J. Cheramie, III and Joan B. Cheramie v. Oak Tree Homes Inc.; Thompson             CDC and 22nd JDC     10-08043           8/5/2010         In Omnibus III,
                                            Wood Products Inc.; Interior Exterior Building Supply, LP; Interior Exterior Enterprises,                                                                 V and
                                            LLC; Arch Insurance Company; The North River Insurance Company; Liberty Mutual                                                                         Intervening
                                            Fire Insurance Company; Landmark American Insurance Company, and Firemans                                                                               plaintiff in
                                            Fund Insurance Company.                                                                                                                                   Gross
                                                                                                                                                                                                  Omnibus and
                                                                                                                                                                                                        VII

Copeland, Robert Michael         1          Robert Michael Copeland and Nancy Ann Copeland v. Interior Exterior Building                      CDC          2010-13004 E7       12/23/2010         Intervening
                                            Supply, LP; Interior Exterior Enterprises, LLC                                                                                                         plaintiff in
                                                                                                                                                                                                    Payton
                                                                                                                                                                                                   Omnibus I

Cunningham, Dennis and           1          Dennis L. Cunningham and Susan M. Cunningham v. Sun Construction, LLC,                            CDC             10-4203           5/4/2010           Yes I & V
Susan                                       Interior Exterior Building Supply, LP, Interior Exterior Enterprises, LLC, Arch Insurance
                                            Company, The North River Insurance Company, Liberty Mutual Insurance Company,
                                            Landmark Insurance Company, and Firemans Fund Insurance Company.

Darensbourg, Mark                1          Mark Darensbourg and Barbara Darensbourg v. Cretin Homes, INC.; Cretin                            CDC           10-9358 C10        9/14/2010
                                            Homes, LLC; Interior Exterior Building Supply, LP; Interior Exterior Enterprises, LLC;
                                            Arch Insurance Company; The North River Insurance Company; Liberty Mutual Fire
                                            Insurance Company; Landmark American Insurance Company; and Firemans Fund
                                            Insurance Company.

Donaldson, III, Malcolm          1          Malcolm Donaldson, III and Kelli Donalson v. Interior/Exterior Building Supply,                   CDC            2009-9613         9/10/2009             Yes I
                                            Limited Partnership, Interior/Exterior Enterprises, L.L.C., Arch Insurance Company,
                                            Liberty Mutual Fire Insurance Company, Sun Construction, L.L.C., Clarendon America
                                            Insurance Company, The Insurance Company of The State of Pennsylvania and
                                            Republic Fire and Casualty Insurance Company

Dorsey, Mark                     1          Mark Dorsey and Wife Shalanda Zoe Dorsey, Individually and on behalf of their                     CDC            2010-1770         2/23/2010               No
                                            Minor Children, Mark Dorsey, Jr., Alexandra Dorsey, Alexis Dorsey and Alizza
                                            Dorsey v. Interior Exterior Building Supply LP; Interior Exterior Enterprises, LLC; ABC
                                            Insurance Company; Sunrise Construction and Development, LLC; XYZ Insurance
                                            Company, USG Corporation, L&W Supply Corporation d/b/a Seacoast Supply, and
                                            Knauf Insulation GmBH a/k/a Knauf USA

Dupree, Melissa                  1          Melissa Dupree v. Interior Exterior Building Supply, LP; Interior Exterior Enterprises ,          CDC          2010-1305 M13       12/23/2010             Yes
                                            LLC                                                                                                                                                   Intervening
                                                                                                                                                                                                   plaintiff in
                                                                                                                                                                                                   Payton IB

Finger, Simon                    1          Simon Finger and Rebecca Finger v. Interior Exterior Building Supply, L.P.; Interior              CDC            2009-7004          7/7/2009               No
                                            Exterior Enterprises, L.L.C.; ABC Insurance Co; McMath Construction, Inc. and XYZ
                                            Ins. Co. Amended Petition: Simon Finger and Rebecca Finger v. Interior Exterior
                                            Building Supply, L.P.; Interior Exterior Enterprises, L.L.C.; ABC Insurance Co; McMath
                                            Construction, Inc.; Clarendon America Insurance Company; Praetorian Specialty
                                            Insurance Company; Republic Underwriters Insurance Company; Rockhill Insurance
                                            Company; and Southern Insurance Company (Filed 09/01/09)

Francis, Carrol             Also in 19th    Carrol A. Francis v . PHL Construction LLC, d/b/a Summit Homes, LLC; Interior                     CDC             10-9936          10/27/2010           Yes VIII
                               JDC          Exterior Building Supply, LP; Interior Exterior Enterprises LLC; Arch Insurance
                                            Company, The North River Insurance Company; Liberty Mutual Fire Insurance
                                            Company; Landmark Insurance Company; and Firemans Fund Insurance Company.


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Gagnon, Chad                     1          Chad Gagnon and Amy Gagnon v. Interior Exterior Building Supply, LP; Interior                     CDC            09-13031           12/15/2009            Yes
                                            Exterior Enterprises, LLC; ABC Insurance Company; Autumn Wind Estates, LLC;                                                                           intervening
                                            Hallmark Homes, Inc.; and XYZ Insurance Company, USG Corporation, L&W Supply                                                                           Plaintiff in
                                            Corporation d/b/a Seacoast Supply, and Knauf Insulation GmBH a/k/a Knauf USA                                                                            Payton

Galatas, Bernadette              1          Bernadette Galatas v. Oak Tree Homes, Inc.; Thompson Wood Products, Inc.;                         CDC          2010-8988 K5         8/31/2010          Yes I & V
                                            Interior Exterior Building Supply, LP; Interior Exterior Enterprises, LLC; Arch Insurance
                                            Company; The North River Insurance Company; Liberty Mutual Fire Insurance
                                            Company; Landmark American Insurance Company, and Fireman's Fund Insurance
                                            Company.

Gardette, Michael and            1          Michael G. Gardette and Rhonda R. Gardette v. Sun Construction, LLC, Sunrise                      CDC           2010-14380          4/30/2010          Yes I, V &
Rhonda                                      Homes, Interior Exterior Building Supply, LP, Interior Exterior Enterprises, LLC, Arch                                                                intervening
                                            Insurance Company, The North river insurance Company, Liberty Mutual insurance                                                                         plaintiff in
                                            Company, Landmark insurance Company, and Firemans Fund Insurance Company                                                                                 Gross

Genovese, Karen             Also in 22nd    Karen F. Genovese v. Resource Rental & Renovation, LLC; Michael F. Byrd, David              CDC and 22nd JDC     2010-7341          7/16/2010            Yes I
                                JDC         M. Byrd; Interior Exterior Buidling Supply, LP; Interior Exterior Enterprises, LLC; Arch
                                            Insurance Company; The North River Insurance Company; Liberty Mutual Insurance
                                            Company; Landmark American Insurance Company; and Fireman's Fund Insurane
                                            Company.

Gleason, Herman and              1          Herman A. Gleason and Deborah O. Gleason v. Summit Contractors, Inc., Summit                      CDC            10-14292           4/28/2010          Yes I & V
Deborah                                     Homes of Louisiana, Inc., Suntrust Holding Corporation, Interior Exterior Building
                                            Supply, LP, Interior Exterior Enterprises, LLC, Arch Insurance Company, The North
                                            River Insurance Company, Liberty Mutual Insurance Company, Landmark Insurance
                                            Company, and Firemans Fund Insurance Company

Harris, Norman              Also in 22nd    Norman L. Harris, JR. and Corliss C. Harris v. J&H Drywall Supplies, LLC, Interior             CDC / 22nd        2010-5564           6/1/2010             No
                                            Exterior Building Supply, LP, Interior Exterior Enterprises, LLC, Arch Insurance
                                            Company, The North River Insurance Company, Liberty Mutual Insurance Company,
                                            Landmark Insurance Company, and Firemans Fund Insurance Company

Henderson, Linda            Also in 22nd    Linda Henderson v. J&J Builders Northshore Inc.; Abita Lumber Company; Interior             CDC and 22nd JDC   10-05551 - 11G        6/7/2010             No
                                JDC         Exterior Building Supply, LP; Interior Exterior Enterprises, LLC; Arch Insurance
                                            Company; The North River Insurance Company, Liberty Mutual Insurance Company;
                                            Landmark Insurance Company; Firemans Fund Insurance Company

Jenkins, Candice                 1          Candice L. Jenkins, Individually and on behalf of her minor child, Tyler Elizabeth                CDC          2011-350 H12         1/13/2011         Intervening
                                            Martin v. Matmo Construction, LLC; Interior Exterior Building Supply, LP; Interior                                                                     plaintiff in
                                            Exterior Enterprises, LLC; Arch Insurance Company; The North River Insurance                                                                            Payton I
                                            Company; Liberty Mutual Fire Insurance Company; Landmark American Insurance
                                            Company, and Fireman's Fund Insurance Company.

Kee, Michael                     1          Michael A. Kee and Pamela H. Kee v. Holmes Building Materials, LLC; Interior                CDC and 19th JDC   10-8377 B 11         8/20/2010             No
                                            Exterior Building Supply, LP; Interior Exterior Enterprises, LLC; Arch Insurance
                                            Company; The North River Insurance Company; Liberty Mutual Fire Insurance
                                            Company; Landmark American Insurance Company, and Firemans Fund Insurance
                                            Company.

King, David and Mary             1          David King and Mary King v. Interior/Exterior Building Supply, Limited Partnership,               CDC            2009-9612          9/10/2009          Yes I & V
                                            Interior/Exterior Enterprises, LLC, Arch Insurance Company and Liberty Mutual Fire
                                            Insurance Company



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Lartigue, Clement           Also in 24th    Clement W. Lartigue, IV and Margaret C. Lartigue v. Team Work Construction, LLC;              CDC and 24th     2010-08234 N 8           8/10/2010                  No
                               JDC          Interior Exterior Building Supply, LP; Interior Exterior Enterprises, LLC; Arch Insurance
                                            Company; The North River Insurance Company; Liberty Mutual Fire Insurance
                                            Company; Landmark American Insurance Company, and Firemans Fund Insurance
                                            Company.

Marrero, Charlene                1          Charlene Green Marrero v. Interior Exterior Building Supply et. al.                               CDC           2009-05916                39975                    No

Mason, Hiram, L.            Also in 22nd    Hiram L. Mason, Jr. v. Sringhill, LLC; Southern Homes, LLC; Interior Exterior Building      CDC and 22nd JDC    2010-07808              7/29/2010                  No
                                JDC         Supply, LP; Interior Exterior Enterprises, LLC; Arch Insurance Company; The North
                                            River Insurance Company; Liberty Mutual Insurance Company; Landmark American
                                            Insurance Company; and Fireman's Fund Insurance Company.

McAvoy, Michael                  1          Michael McAvoy and Wife Tara McAvoy individually and on behalf of their minor                     CDC            2010-7442      7/20/2010 amended 01/02/11         No
                                            children Jack Logan McAvoy and Braden Henry McAvoy v. Interior Exterior
                                            Building Supply, LP; Interior Exterior Enterprises, LLC, DEF Insurance Company; Silva
                                            Construction, LLC; ABC Insurance Company; Protocol Construction LLC; f/k/a G&H
                                            Restorations; XYZ Insurance Company; Knauf Insulation GmBH a/k/a Knauf USA.

Monte, Frank                     1          Frank J. Monte and Marti S. Monte v. Rockwell Builders, LLC; Interior Exterior                    CDC           10-12675 N              12/20/2010               Yes VIII
                                            Building Supply, LP; Interior Exterior Enterprises, LLC; Arch Insurance Company; The
                                            North River Insurance Company; Liberty Mutual Fire Insurance Company; Landmark
                                            Insurance Company; and Fireman's Fund Insurance Company

Naden, Craig                Also in 23rd    Craig Naden and Roberta Naden v. Acadian Builders & Contractors, LLC, Pelican               CDC and 23rd JDC   2010-08641 6L            8/20/2010               Yes I & V
                                JDC         Point Properties, LLC; Interior Exterior Building Supply, LP; Interior Exterior
                                            Enterprises, LLC, Arch Insurance Company; The North River Insurance Company;
                                            Liberty Mutual Fire insurance Company; Landmark American Insurance Company,
                                            and Firemans Fund Insurance Company.

Niswonger, Mary M.               1          Interior Exterior Enterprises, LLC; Interior Exterior Building Supply, LP and                CDC and USDC        2010-2734              8/16/2010            Yes III & V and
                                            Bankers Insurance Group.                                                                                                                                       intervening
                                                                                                                                                                                                          plaintiff in IIB

Nunez, Fredrick             Also in 22nd    Fredrick D. Nunez Jr. and Lisa C. Nunez, individually and on behalf of their                CDC and 22nd JDC     2010-7703              7/27/2010               Yes I & V
                                JDC         minor child Zachary R. Nunez and Blake D. Nunez v. Arthur Homes, LLC, Interior
                                            Exterior Building Supply, LP, Interior Exterior Enterprises, LLC, Arch Insurance
                                            Company, The North River Insurance Company, Liberty Mutual Insurance Company,
                                            Landmark American Insurance Company, and Fireman's Fund Insurance Company

Oster, Donald               Also in 22nd    Donald C. Oster and Betty M. Oster v. Southern Homes, LLC, Tallow Creek, LLC,               CDC and 22nd JDC     2010-5481               6/7/2010                  No
                                JDC         Interior Exterior Building Supply, LP, Interior Exterior Enterprises, LLC, Arch Insurance
                                            Company, The North River Insurance Company, Liberty Mutual Insurance Company,
                                            Landmark Insurance Company, and Firemans Fund Insurance Company.

Reece, Ryan                      1          Ryan Reece and Ashlin Reece, individually and on behalf of their minor child,                     CDC           10-8131-G11              8/6/2010                  No
                                            Vivian Reece v. Interior Exterior Building Supply, LP; Interior Exterior Enterprises,
                                            LLC; Arch Insurance Company; The North River Insurance Company; Liberty Mutual
                                            Fire Insurance Company, Landmark American Insurance Company, and Firemans
                                            Fund Insurance Company.




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Roberson, Sandra                 1          Sandra W. Roberson v. E. Jacob Construction, Inc., Interior Exterior Building Supply,            CDC            10-6716 - i14            6/30/2010                No
                                            LP, Interior Exterior Enterprises, LLC, Arch Insurance Company, The North River
                                            Insurance Company, Liberty Mutual Insurance Company, Landmark American
                                            Insurance Company, and Firemans Fund Insurance Company.

Rome, Erwin                 Also in 22nd    Erwin J. Rome, III and Karen G. Rome v. Summit Contractors Inc.; Summit Homes              CDC and 22nd JDC    10-06911-12H      First Amended and Restated       No
                                JDC         of Louisiana, Inc.; Capital One Holding Corporation, Scott E. Reine, Interior Exterior                                                  Petition 07/08/10
                                            Building Supply LP, Interior Exterior Enterprises LLC, Arch Insurance Company, The
                                            North River Insurance Company, Liberty Mutual Insurance Company, Landmark
                                            American Insurance Company, Firemans Fund Insurance Company, Nautilus
                                            Insurance Company.

Segreto, Mark                    1          Mark R. Segreto and Victoria Segreto, individually and as husband and wife v.                    CDC          2010-11600 - 11G           11/11/2010            Yes I & V
                                            interior Exterior Building Supply, Limited Partnership

Southern Homes, LLC          Does not       Southern Homes, L.L.C. et al v. Interior Exterior Building Supply, Interior Exterior             CDC            2009-06564                 39990                 Yes I
                              allege        Enterprises, South Cortez, L.L.C.

Thompson, Melanie           Also in 22nd    Melanie Thompson v. David E. Diggs, Nancy S. Diggs, Chunky Folks, Interior                 CDC and 22nd JDC    2010-09918 6L             10/19/2010               No
                                JDC         Exterior Building Supply, LP, Interior Exterior Enterprises, LLC, Arch Insurance
                                            Company, The North River Insurance Company, Liberty Mutual Fire Insurance
                                            Company, Landmark Insurance Company, and Fireman's Fund Insurance Company.

Verrett, Chavis                  1          Chavis M. Verrett and Catherine M. Verret, individually and on behalf of their                   CDC           2010-11404 G              11/19/2010               No
                                            minor children, Chelsea M. verrett, Cameron M. Verrett and Collin M. Verrett v.
                                            PHL Construction, LLC d/b/a Summit homes, LLC; Interior Exterior Building Supply,
                                            LP; Interior Exterior Enterprises, LLC; Arch Insurance Company; The North River
                                            Insurance Company; Liberty Mutual Fire Insurance Company; Landmark American
                                            Insurance Company; Fireman's Fund Insurance Company; 84 Lumber Company; and
                                            Hardy Holdings Company, Inc.

Ward, Truman                Also in 23rd    Truman L. Ward and Amy G. Ward v. Acadian Builders & Contractors, LLC; Pelican               CDC and 23rd       10-8441 D16              8/23/2010             Yes I & V
                                            Point Properties, LLC; Interior Exterior Building Supply, LP; Interior Exterior
                                            Enterprises, LLC; Arch Insurance Company; The North River Insurance Company;
                                            Liberty Mutual Fire Insurance Company; Landmark American Insurance Company,
                                            and Firemans Fund Insurance Company

Wheeler, Alicia                  1          Alicia E. Wheeler, individually and on behalf of her minor children, Jeffrey                     CDC             2010-2773               3/23/2010               Yes I
                                            Wheeler and Jordan Wheeler v. Ming K. Wong; Jean C. Wong; Kemah Construction,
                                            Inc.; ED Price Building Materials, Inc.; Interior Exterior Building Supply, LP; Interior
                                            Exterior Enterprises, LLC; Scottsdale Insurance Company; Arch Insurance Company;
                                            The North River Insurance Company; Liberty Mutual Insurance Company; Landmark
                                            Insurance Company; Fireman's Fund Insurance Company; and DEF Insurance
                                            Company.

White, Taeneia                   1          Taeneia White, individually and on behalf of her minor child, Tony R. Ducre Jr. v.         CDC and 19thJDC       10-6622 E               6/20/2010                Yes
                                            E. Jacob Construction, Inc.; Interior Exterior Building Supply, LP; Interior Exterior                                                                         intervening
                                            Enterprises, LLC; Arch Insurance Company; The North River Insurance Company;                                                                                   plaintiff in
                                            Liberty Mutual Insurance Company; Landmark American Insurance Company; and                                                                                      Payton
                                            Fireman's Fund Insurance Company.




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Whittington, Thomas               1         Thomas J. Whittington and Karen S. Whittington v. Interior Exterior Building                       CDC                 10-6699 i 14            6/30/2010                  No
                                            Supply, LP, Interior Exterior Enterprises, LLC, ABC Insurance Company, Sampson
                                            Construction Company, LLC, XYZ Insurance Company, USG Corporation, L&W
                                            Supply Corporation d/b/a Seacoast Supply, and Knauf Insulation GmBH a/k/a Knauf
                                            USA

Clark, Marilyn and Parlow,        1         Marilyn Clark and Frances T. Parlow v. Knauf Gips KG; Knauf Plasterboard (Tianjin)       1st JDC of Harrison County   A2401-2010-418           12/23/2010                 No
Frances T.                                  Co. Ltd.; Knauf Plasterboard (Wuhu) Co. Ltd.; Knauf Plasterboard (Dongguan) Co.                      MS
                                            Ltd.; Beijing New Building Material, PLC; Taishan Gypsum Company, LTD.; f/k/a
                                            Shandong Taihe Dongxin Co. Ltd.; USG Corporation; L&W Supply Corporation d/b/a
                                            Seacoast, Independent Builders Supply Assoc.; Rothchilt International, Ltd.; Interior
                                            Exterior Building Supply, LP.; Baily Lumber and Supply Co.; and Fictitious Parties A-G

Newman, Kyle E. and Denise        1         Kyle E. and Denise G. Newman v. Knauf Gips KG; Knauf Plasterboard (Tianjin) Co.          1st JDC of Harrison County   A2401-2010-419           12/23/2010                 No
G.                                          Ltd.; Knauf Plasterboard (Wuhu) Co. Ltd.; Knauf Plasterboard (Dongguan) Co. Ltd.;                    MS
                                            Beijing New Building Material, PLC; Taishan Gypsum Company, LTD.; f/k/a Shandong
                                            Taihe Dongxin Co. Ltd.; USG Corporation; L&W Supply Corporation d/b/a Seacoast,
                                            Independent Builders Supply Assoc.; Rothchilt International, Ltd.; Interior Exterior
                                            Building Supply, LP.; Baily Lumber and Supply Co.; and Fictitious Parties A-G

Sanderford, Anita and James       1         Anita and James Sanderford v. Knauf Gips KG; Knauf Plasterboard (Tianjin) Co.            1st JDC of Harrison County   A2401-2010-397           2/28/2011              Amended
                                            Ltd.; Knauf Plasterboard (Dongguan) Co. Ltd.; Beijing New Building Material, PLC;                    MS                                                               Omnibus I
                                            Taishan Gypsum Company, LTD.; f/k/a Shandong Taihe Dongxin Co. Ltd.; USG
                                            Corporation; L&W Supply Corporation d/b/a Seacoast, Independent Builders Supply
                                            Assoc.; Rothchilt International, Ltd.; Interior Exterior Building Supply, LP.; Baily
                                            Lumber and Supply Co.; BAC Home Loans Servicing, LP.; and Citibank

Alexander, Penny                  1         Penny Alexander and Henry Alexander on behalf of themselves and all others                 USDC EDLA Louisiana           09-3135        3/24/2009 Amended Class           No
                                            similarly situated vs. Knauf Gips KG, Knauf Plasterboard Tianjin Co., Ltd., Taishan                                                     Action Complaint 07/08/09
                                            Gypsum Co., Ltd. f/k/a Shandong Taihe Dongxin Co., Ltd., USG Corp., L&W Supply
                                            Corp. d/b/a Seacoast Supply, InteriorExterior Building Supply, Independent Builders
                                            Supply Assoc., Inc. and Rothchilt International Ltd.

Alonzo, Lana                      1         Lana Alonzo v. Knauf Gips KG, Knauf Plasterboard Tianjin Co., Ltd., Taishan                USDC EDLA Louisiana           09-3959               6/19/2009            Yes III & V, VII
                                            Gypsum Co. Ltd. f/k/a Shandong Taihe Dongxin Co. Ltd., USG Corporation, L&W
                                            Supply Corporation d/b/a Seacoas Supply, Interior Exterior Building Supply,
                                            Independent Builders Supply Association, Inc. and Rothchilt International Limited

Amato, Dean                       1         Dean and Dawn Amato, Individually and on behalf of their Minor Children, Halee             USDC EDLA Louisiana           09-6805               10/14/2009             Yes I & V
                                            Amato and Emma Amato v. Knauf Gips KG; Knauf Plasterboard Tianjin Co., LTD.;
                                            Knauf Plasterboard Wuhu Co., LTD.; Knauf Plasterboard Dongguan Co., LTD.; Interior
                                            Exterior Building Supply, L.P.; and Interior Exterior Enterprises, L.L.C.

Amerson, Amy Louise               4         Amy Louise Amerson, Michelle Whiteside Pavageau, Ernest Nunez, III, Marie L.               USDC EDLA Louisiana           09-4275       7/6/2009 Amended 07/08/09      Yes I & V
                                            Nunez, Chris Adron Lea and Julie Basha Lea v. Knauf Gips KG, Knauf Plasterboard
                                            Tianjin Co., Ltd., Taishan Gypsum Co. Ltd. f/k/a Shandong Taihe Dongxin Co. Ltd.,
                                            USG Corporation, L&W Supply Corporation d/b/a Seacoast Supply, Interior Exterior
                                            Buildiing Supply, Independent Builders Supply Association, Inc. and Rothchilt
                                            International Limited

Ancira, Chris                     1         Chris Ancira and Lilah Ancira on behalf of themselves and all others similarly             USDC EDLA Louisiana           09-3156               3/27/2009              Yes I & V
                                            situated vs. Knauf Gips KG, Knauf Plasterboard Tianjin Co., Ltd., Taishan Gypsum
                                            Co., Ltd. f/k/a Shandong Taihe Dongxin Co., Ltd., USG Corp., L&W Supply Corp. d/b/a
                                            Seacoast Supply, InteriorExterior Building Supply, Independent Builders Supply
                                            Assoc., Inc. and Rothchilt International Ltd.

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Ashford, Otis                  35         Otis Ashford, et al., Pltfs. vs. Knauf Gips KG, Knauf Plasterboard Tianjin Co., LTD.,   USDC EDLA Mississippi         09-7042              10/26/2009              No
                                          Taishan Gypsum Co.LTD. f/k/a Shandong Taihe Dongxin Co. LTD., United States
                                          Gypsum f/k/a USG Corporation, L&W Supply Corporation d/b/a Seacoast Supply,
                                          Interior Exterior Building Supply LP, Independent Builders Supply Association, Inc.,
                                          and Rothchilt International Limited and John Does 1-20 Defendants

Barone, Joseph                  1         Joseph J. Barone, III vs. Knauf Gips KG, Knauf Plasterboard Tianjin Co., Ltd.,          USDC EDLA Louisiana           09-3243               4/8/2009               No
                                          Taishan Gypsum Co., Ltd., USG Corporation, L&W Supply Corp., Interior Exterior
                                          Building Supply, Independent Builders Supply Association, Inc. and Rothchilt
                                          International Limited.

Berthelotte, Anna               1         Anna C. Berthelotte, wife of/and Leslie L. Lund, individually, and on behalf of their   USDC EDLA Louisiana           09-4351               7/9/2009               No
                                          minor children, Maya C. Lund and Tyler J. Lund, on behalf of themselves and all
                                          others similarly situated vs. Knauf Gips KG, Knauf Plasterboard Tianjin Co., Ltd.,
                                          Taishan Gypsum Co. Ltd. f/k/a Shandong Taihe Dongxin Co. Ltd., USG Corp., L&W
                                          Supply Corp. d/b/a Seacoast Supply, InteriorExterior Building Supply, Independent
                                          Builders Supply Assoc., Inc., and Rothchilt International Ltd.

Blalock, Angeles                3         Angeles Blalock; Donald Fisher; Nadja Fisher; Deborah Methvin; and William              USDC EDLA Louisiana         2009-3605               4/7/2009         Yes III & V, VII
                                          Methvin v. InteriorExterior Building Supply LP; Interior/Exterior Enterprises LLC

Borne, Carol                    1         Carol R. Borne v. Christopher Cadis, C & C Home Builders, Inc. ABC Insurance            USDC EDLA Louisiana           09-6073               9/2/2009           Yes I & V
                                          Company, MNO Insurance Company, Interior Exterior Building Supply, and Liberty
                                          Mutual Fire Insurance Company.

Bourg, Junius                   1         Junius Bourg, Irvin Young, Shirley Chopin, Walter Bell, Lucern Breaud, Sheryl           USDC EDLA Louisiana           09-3426             5/1/2009                 No
                                          Powell and Sylvester Williams v. Knauf Gips KG, Knauf Plasterboard Tianjin Co.,                                                        Amended 07/08/09
                                          Ltd., Taishan Gypsum Co. Ltd f/k/a Shandong Taihe Dongxin Co. Ltd., USG Corp.
                                          L&W Supply Corp. d/b/a Seacoast Supply, InteriorExterior Building Supply,
                                          Independent Builders Supply Assoc., Inc. and Rothchilt International Ltd.

Brumfield, Ollie                1         Ollie Brumfield, III, Adrianne Brumfield, individually and on behalf of their minor     USDC EDLA Louisiana           09-3535             5/13/2009            Yes I & V
                                          children, Jaylen Brumfield, Jade Brumfield and Ollie Brumfield, IV v. Knauf Gips                                                       Amended 07/08/09
                                          KG, Knauf Plasterboard Tianjin Co., Ltd., Taishan Gypsym Co. Ltd. f/k/a Shandong
                                          Taihe Dongxin Co. Ltd., USG Corporation, L&W Supply Corporation d/b/a Seacoast
                                          Supply, Interior Exterior Building Supply, Independent Builders Supply Association,
                                          Inc. and Rothchilt International Limited

Bryant, Debra                   1         Debra Bryant v. Knauf Gips KG, Knauf Plasterboard Tianjin Co., Ltd., Taishan            USDC EDLA Louisiana           633576              5/22/2009                No
                                          Gypsum Co. Ltd f/k/a Shandong Taihe Dongxin Co. Ltd., USG Corporation, L&W                                                             Amended 07/08/09
                                          Supply Corporation d/b/a Seacoast Supply, Interior Exterior Building Supply,
                                          Independent Builders Supply Association, Inc. and Rothchilt International Limited

Caldwell, James (LA AG      Does not      The State of Louisiana, ex rel. Lames D. ("Buddy") Caldwell, the Attorney               USDC EDLA Louisiana     10-340L Magistrate 2                               No
Suit)                        allege       General of Louisiana v. Knauf Gips KG; Knauf International GmBH; Knauf
                                          Plasterboard (Tianjin) Co. Ltd.; Knauf Plasterboard (Wuhu) Co. Ltd.; Guandong Knauf
                                          New Building Material Products Co., Ltd; Knauf Insulation, GmBH; Beijing New
                                          Building Materials PLC; Taishan Gypsum Co., Ltd.; Taian Taishan Plasterboard Co.,
                                          Ltd.; Interior Exterior Building Supply, L.P.; Metro Resources Corporation; All Star
                                          Forest Products Inc.; North Pacific Group, Inc.; Phoenix Imports Co., Ltd.; Rothchilt
                                          International Ltd.; USG Corporation; United States Gypsum Company; USG Interiors,
                                          Inc.; Fly System, Inc.; L&W Supply Corporation d/b/a Seacoast Supply; Mayeaux
                                          Construction, Inc.; Southern Homes, LLC; and Sunrise Construction and
                                          Development, LLC.


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Cassagne, Jordan                1         Jordan Cassagne, individually and on behalf of her minor children, Isabelle              USDC EDLA Louisiana   634672        5/22/2009            Yes I & V
                                          Cassagne and Grace Cassagne, and Brande Cassagne v. Knauf Gips KG, Knauf                                                  Amended 07/08/09
                                          Plasterboard Tianjin Co., Ltd., Taishan Gypsum Co., Ltd. f/k/a Shandong Taihe
                                          Dongxin Co. Ltd., USG Corporation, L&W Supply Corporation d/b/a Seacoast Supply,
                                          Interior Exterior Building Supply, Independent Builders Supply Association, Inc. and
                                          Rothchilt International Limited.

Ceruti, Ronald                  1         Ronald P. Ceruti and Sharon L. Ceruti v. Knauf Gips KG, Knauf Plasterboard Tianjin       USDC EDLA Louisiana   09-3526       5/12/2009            Yes I & V
                                          Co., Ltd., Taishan Gypsum Co. Ltd. f/k/a Shandong Taihe Dongxin Co., Ltd., USG                                            Amended 07/08/09
                                          Corporation, L&W Supply Corporation d/b/a Seacoast Supply, Interior Exterior Building
                                          Supply, Independent Builders Association, Inc. and Rothchilt International Limited

Chauffe, Michael                3         Michael Chauffe vs. Knauf Gips KG, Knauf Plasterboard Tianjin Co., Ltd., Taishan         USDC EDLA Louisiana   09-3215         4/2/2009               No
                                          Gypsum Co., Ltd. f/k/a Shandong Taihe Dongxin Co., Ltd., USG Corp., L&W Supply
                                          Corp. d/b/a Seacoast Supply, InteriorExterior Building Supply, Independent Builders
                                          Supply Assoc., Inc. and Rothchilt International Ltd.

Chiappetta, Kevin David         1         Kevin David Chiappetta and Karen Ann Chiappetta, individually and on behalf of           USDC EDLA Louisiana   09-3923       6/18/2009            Yes I & V
                                          their minor child Kortney Chiappetta v. Knauf Gips KG, Knauf Plasterboard Tianjin Co.,                                    Amended 07/08/09
                                          Ltd., Taishan Gypsum Co. LTd. f/k/a Shandong Taihe Dongxin Co. Ltd., USG
                                          Corporation, L&W Supply Corporation d/b/a Seacoast Supply, Interior Exterior Building
                                          Supply, Independent Builders Supply Association, Inc. and Rothchilt International
                                          Limited

Cresson, Robert                 1         Robert Anthony Cresson, Sr. and Richard Denis Tiemann, Jr. v. Knauf Gips KG,             USDC EDLA Louisiana   09-3427       5/1/2009                 No
                                          Knauf Plasterboard Tianjin Co., Ltd., Taishan Gypsum Co. Ltd. f/k/a Shandong Taihe                                        Amended 07/08/09
                                          Dongxin Co. Ltd., USG Corp., L&W Supply Corp. d/b/a Seacoast Supply,
                                          InteriorExterior Building Supply, Independent Builders Supply Assoc., Inc. and
                                          Rothchilt International Ltd.

Dakin, Kim                      1         Kim Dakin and Andrea Singleton v. Knauf Gips KG, Knauf Plasterboard Tianjin Co.,         USDC EDLA Louisiana   09-4274       7/6/2009                 No
                                          Ltd., Taishan Gypsum Co. Ltd. f/k/a Shandong Taihe Dongxin Co. Ltd., USG                                                  Amended 07/08/09
                                          Corporation, L&W Supply Corporation d/b/a Seacoast Supply, Interior Exterior
                                          Buildiing Supply, Independent Builders Supply Association, Inc. and Rothchilt
                                          International Limited

Davis, Lolita                   7         Lolita Davis, Arnelle Williams, Shelby Williams, Jesse Conrad, Gelone Conrad,            USDC EDLA Louisiana   09-3525       5/12/2009                No
                                          individually and on behalf of their minor child Asante Williams, Barbara Foy,                                             Amended 07/08/09
                                          individually and on behalf of her minor children, Danielle Foy, Vonda Crowley,
                                          Felton Crowly, Kristina Stout, Michael Stout, individually and on behalf of their
                                          minor child, Michael Stout, Jr. and Andrea Carter v. Knauf Gips KG, Knauf
                                          Plasterboard Tianjin Co., Ltd., Taishan Gypsum Co. Ltd. f/k/a Shandong Taihe
                                          Dongxin Co. Ltd., USG Corporation, L&W Supply Corporation d/b/a Seacoast Supply,
                                          Interior Exterior Building Supply, Independent Builders Supply Association, Inc. and
                                          Rothchilt International Limited

Donaldson, Jill M.              1         Jill M. Donaldson, wife of/and John "Jared" Oertling, on behalf of themselves and        USDC EDLA Louisiana   09-2981         3/3/2009         Yes III & V, VII
                                          all others similarly situated vs. Knauf Gips KG, Knauf Plasterboard Tianjin Co., Ltd.,
                                          Taishan Gypsum Co., Ltd. f/k/a Shandong Taihe Dongxin Co., Ltd., USG Corp., L&W
                                          Supply Corp. d/b/a Seacoast Supply, InteriorExterior Building Supply, Independent
                                          Builders Supply Assoc., Inc. and Rothchilt International Ltd.




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Donnelly, Jerome                  1         Jerome Donnelly and Daphine Donnelly v. Knauf Gips KG, Knauf Plasterboard                 USDC EDLA Louisiana   09-3635              5/22/2009                 Yes I
                                            Tianjin Co., Ltd., Taishan Gypsum Co. Ltd. f/k/a Shandong Taihe Dongxin Co., Ltd.,
                                            USG Corporation, L&W Supply Corporation d/b/a Seacoast Supply, Interior Exterior
                                            Building Supply, Independent Builders Supply Association, Inc. and Rothchilt
                                            International Limited

Dufrene, Rosetta                  1         Rosetta Dufrene, and Ernest Dufrene v. Knauf Gips KG, and Interior Exterior               USDC EDLA Louisiana   09-7358             11/18/2009                 Yes I
                                            Building Supply

Evans, Ronald                     1         Ronald Evans, individually and on behalf of minor child Sharron Gray, Matthew             USDC EDLA Louisiana   09-4102    6/15/2009 Amended 07/08/09           No
                                            Evans and Kareem Evans v. Knauf Gips KG, Knauf Plasterboard Tianjin Co., LTd.,
                                            Taishan Gypsum Co. Ltd. f/k/a Shandong Taihe Dongxin Co. Ltd., USG Corporation,
                                            L&W Supply Corporation d/b/a Seacoast Supply, Interior Exterior Building Supply,
                                            Independent Builders Supply Association, Inc. and Rothchilt International Limited

Fazande, Dwayne                   2         Dwayne Fazande, Latanja T. Fazande, Individually and on behalf of their minor child,      USDC EDLA Louisiana   09-3479     5/8/2009 Amended 07/08/09          Yes I
                                            Dwayne Fanzande, Jr., Corlis Marie Fazande and Darlene Hall v. Knauf Gips KG,
                                            Knauf Plasterboard Tianjin Co., Ltd., Taishan Gypsum Co. Ltd. f/k/a Shandong Taihe
                                            Dongxin Co. Ltd., USG Corp., L&W Supply Corp. d/b/a Seacoast Supply,
                                            InteriorExterior Building Supply, Independent Builders Supply Assoc., Inc. and
                                            Rothchilt International Ltd.

Francis, Timothy and Ashley       1         Timothy and Ashley Francis v. Colony Insurance Company, et al.                            USDC EDLA Louisiana   10-0720    Third Party Complaint 5/6/2010       No

Gilberti, Jeffrey                 5         Jeffrey Gilberti and Chrissie Gilberti, individually and on behalf of their Minor Child   USDC EDLA Louisiana   09-3136              3/24/2009                 Yes I
                                            Laila Gilberti, Joseph Mercante, Barbara Mercante, Melissa Young, Rene Henry
                                            and Brent Desselle, individually and on behalf of his minor Cole Desselle on behalf of
                                            themselves and all others similarly situated vs. Knauf Gips KG, Knauf Plasterboard
                                            Tianjin Co., Ltd., Taishan Gypsum Co., Ltd. f/k/a Shandong Taihe Dongxin Co., Ltd.,
                                            USG Corp., L&W Supply Corp. d/b/a Seacoast Supply, InteriorExterior Building
                                            Supply, Independent Builders Supply Assoc., Inc. and Rothchilt International Ltd.

Greco, Vincent                    1         Vincent J. Greco, on behalf of himself and all others similarly situated v. Knauf Gips    USDC EDLA Louisiana   09-3812              6/10/2009               Yes I & V
                                            KG, Knauf Plasterboard Tianjin Co., Ltd., Taishan Gypsum Co. Ltd. f/k/a Shandong
                                            Taihe Dongxin Co. Ltd., USG Corporation, L&W Supply Corporation d/b/a Seacoast
                                            Supply, Interior Exterior Building Supply, Independent Builders Supply Association,
                                            Inc. and Rothchild International Limited

Gritter, Joseph V.                5         Joseph V. Gritter, Jr., Catherine Gritter, Willie Mae Taylor, Honore Canty, Mark          USDC EDLA Louisiana   09-4273            7/6/2009                    Yes I
                                            Lance, individually and on behalf of her minor child Katelyn Lance, Mary Jo Lance,                                              Amended 07/08/09
                                            Tina Lance, Nathaniel Bierria, Sr., Cindy Bierra, individually and on behalf of her
                                            minor children, Nandi Bierra and Nathaniel Bierra, III v. Knauf Gips KG, Knauf
                                            Plasterboard Tianjin Co., Ltd., Taishan Gypsum Co. Ltd. f/k/a Shandong Taihe
                                            Dongxin Co. Ltd., USG Corporation, L&W Supply Corporation d/b/a Seacoast Supply,
                                            Interior Exterior Buildiing Supply, Independent Builders Supply Association, Inc. and
                                            Rothchilt International Limited




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Gross, David                    2         David Gross, Cheryl Gross, and Louis Velez, individually and on behalf of all others      USDC EDLA Louisiana   09-6690        10/07/09           Yes III, V
                                          similarly situated v. Knauf Gips KG; Knauf Plasterboard (Tianjin) Co., Ltd.; Knauf                                         Amended 10/19/2009    (Velez), VII
                                          Plasterboard (Wuhu), Co., Ltd., Knauf Plasterboard (Dongguan) Co., Ltd. ; Taishan
                                          Gypsum Co., Ltd. f/k/a Shandong Taihe Dongxin Co., Ltd.; Georgia-Pacific LLC; Pingyi
                                          Baier Building Materials o., Ltd.; Changzhou Yinhe Wood Industry Co. Ltd.; King Shing
                                          Steel Enterprises Co. Ltd.; Nanhai Silk Imp. & Exp. Corporation; Jinan Run & Fly New
                                          Materials Co., Ltd.; Shandong Yifang Gypsum Industry Co., Ltd.; Siic Shanghai
                                          International Trade (Group) Co., Ltd.; Tianjin Tinabao Century Development o. Ltd.;
                                          Wide Strategy Limited; Shandong Oriental International Trading Co., Ltd.; Shanghai
                                          East Best Arts & Crafts Co., Ltd.; Qingdao Yilie International Trade Co., Ltd.; Tai'an
                                          Kangyijia Building Materials Co., Ltd.; USG corporation; Beijing New Building Materials
                                          Public Limited Company, (BNMB); China National Building Materials Co. Ltd.,
                                          ("CNBM"); Beijing New Building Materials (Group) Co., Ltd., ("BNBM Group"); China
                                          National Building Material Group Corporation ("CNBM Group"); Pingyi Zhongxing
                                          Paper-Faced Plasterboard Co., Ltd., f/k/a Shandong Chenxiang Building Materials
                                          Co., Ltd., (Chenxiang); Sinkiang Tianshan Building Material and Gypsum Product Co.,
                                          Ltd.; Taishan Gypsum Co., Ltd. Lucheng Branch; Yunan Taishan Gypsum and
                                          Building Material Co. Ltd.; Tai'an Jindun Building Material Co. Ltd.; Taishan Gypsum
                                          (Xiantang) Co. Ltd.; Taishan Gypsum (Pingshan) Co. Ltd.; Taishan Gypsum
                                          (Hengshui) Co. Ltd.; Taishan Gypsum (Henan) Co. Ltd.; Hubei Taishan Building
                                          Material Co., Ltd.; Taishan Gypsum (Tongling) Co., Ltd.; Weifang Aotai Gypsum Co.,
                                          Ltd.; Taishan Gypsum (Pizhou) Co. Ltd.; Fuxin Taishan Gypsum and Building Material
                                          Co. Ltd.; Taishan Gypsum (Wenzhou) Co. Ltd., Taishan Gypsum (Chongqing) Co.,
                                          Ltd.; Taishan Gypsum (Jiangyin) Co. Ltd.; Qinhuangdao Taishan Building Material Co.
                                          Ltd.; Tai'an Taishan Gypsum Board Co. Ltd.; Taishan Gypsum (Baotou) Co., Ltd.;
                                          Shaanxi Taishan Gypsum Co. Ltd.; Rothchilt International, Ltd.; L&W Supply
                                          Corporation d/b/a Seacost Supply; Banner Supply Co.; La Suprema Trading, Inc.; La
                                          Suprema Enterprise, Inc.; Black Bear Gypsum Supply Inc.; Smokey Mountain
                                          Materials, Inc.; Emerald Coast Building Materials; Interior/Exterior Building Supply,
                                          LP.; Interior/ Exterior Enterprises, LLC; Rightway Drywall, Inc.; Independent Builders
                                          Supply Association, Inc.; Tobin Trading Inc.; Venture Supply Inc.; Knauf Insulation
                                          GmBH a/k/a Knauf USA; CNBM USA Corp.; Sunrise Building Materials Ltd.; Devon
                                          International; Triorient Trading, Inc.; Great Western Building Materials; All Interior
                                          Supply, Inc.; A&R Hardware Supply, Inc.; Davis Construction Supply, LLC; Elite
                                          Supply Corporation; International Materials Trading, Inc.; Marathon Construction
                                          Materials Inc.; Steeler Inc.; Maurice Pincoffs Co., Inc.; Metro Resources Corp.;
                                          Northern Pacific Lumber Co.; Oriental Merchandise Company, Inc. f/k/a Oriental
                                          Trading Company, Inc.; Stock Building Supply LLC.; Stock Building Supply, Inc.;
                                          Bedrock Building Materials LLC; The China Corporation Ltd.; Tov Trading Inc.;
                                          Builders Gypsum Supply, LLP; Builders Gypsum Supply Co., Inc.; J.W. Allen & Co.
                                          Inc. ; Phoenix Import Co. Ltd.; TMO Global Logistics, LLC; Quiet Solutions Inc.;
                                          Mazer's Discount Home Centers, Inc.; Knauf Gypsum Indonesia; Guangdong Knauf
                                          New Building Products Co., Ltd.; Knauf AMF GmBH & Co. KG; Knauf Do Brasil Ltd.;
                                          Taian Taishan Plasterboard Co., Ltd.; Shanghai Yu Yuan Imp & Exp Co., Ltd. and;
                                          John Doe Defendants 1-20.

Guidry, Richard                 1         Richard Guidry and Amy Guidry v. Knauf Gips KG, Knauf Plasterboard Tianjin Co.            USDC EDLA Louisiana   09-4122        6/16/2009            Yes I
                                          Ltd., Taishan Gypsum Co. Ltd. f/k/a Shandong Taihe Dongxin Co. LTd., USG
                                          Corporation, L&W Supply Corporation d/b/a Seacoast Supply, Interior Exterior Building
                                          Supply, Independent Builders Supply Association, Inc. and Rothchilt International
                                          Limited

Haindel, Mary                   1         Mary Haindel on behalf of herself and all others similarly situated vs. Knauf Gips KG,    USDC EDLA Louisiana   09-3157        3/27/2009             No
                                          Knauf Plasterboard Tianjin Co., Ltd., Taishan Gypsum Co., Ltd. f/k/a Shandong Taihe
                                          Dongxin Co., Ltd., USG Corp., L&W Supply Corp. d/b/a Seacoast Supply,
                                          InteriorExterior Building Supply, Independent Builders Supply Assoc., Inc. and
                                          Rothchilt International Ltd.


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Hernandez, Diane                1         Diane E. and John Hernandez, Jr. v. Knauf Gips KG, Knauf Plasterboard Tianjin Co.,           USDC EDLA Louisiana       09-6103                  9/3/2009             Yes I & V
                                          Ltd., Taishan Gypsum Co., Ltd. f/k/a Shandong Taihe Dongxin Co., Ltd., USG Corp.,
                                          L&W Supply Corp. d/b/a Seacoast Supply, InteriorExterior Building Supply,
                                          Independent Builders Supply Assoc., Inc. and Rothchilt International Ltd.

Hopper, Dena                    1         Dena Hopper and Dean Hopper and all others similarly situated v. Knauf Gips KG,              USDC EDLA Louisiana       09-5830                                       Yes I & V
                                          Knauf Plasterboard Tianjin Co., Ltd., Taishan Gypsum Co., Ltd. f/k/a Shandong Taihe
                                          Dongxin Co., Ltd., USG Corporation, L&W Supply Corporation d/b/a Seacoast Supply,
                                          Interior Exterior Building Supply, Independent Builders Supply Association, Inc. and
                                          Rothchilt International Limited

Horton, Inc., D.R.             16         D.R. Horton, Inc. - Gulf Coast v. Interior Exterior Building Supply, LP; Interior Exterior   USDC EDLA Louisiana       10-804L                  3/9/2010             Yes (as
                                          Services, LLC; Knauf Gips KG; Knauf International, Gmbh; Knauf Plasterboard Tianjin                                                                                 defendant)
                                          Co., Ltd; Knauf Plasterboard Wuhu Co., Ltd; Knauf Insulation Gmbg.

Hufft Val Louis                 1         Val Louis Hufft and Audrey Huther Huftt v. Interior/Exterior Building Supply, Limited        USDC EDLA Louisiana      2009-9597                9/10/2009             Yes I & V
                                          Partnership, Interior/Exterior Enterprises, L.L.C., Marigold Court, L.L.C., Anthony F.
                                          Marino, Arch Insurance Company, Liberty Mutual Fire Insurance Company, ABC
                                          Insurance Company, and State Farm Fire and Casualty Company

Jarrell, Chad                   1         Chad and Darlene Jarrell individually, and on behalf of their minor chilren, Isabella,       USDC EDLA Louisiana       09-5828                                         Yes I
                                          Owen and Leila, and all other similiarly situated v. Knauf Gips KG, Knauf Plasterboard
                                          Tianjin Co., Ltd., Taishan Gypsum Co., Ltd. f/k/a Shandong Taihe Dongxin Co., Ltd.,
                                          USG Corporation, L&W Supply Corporation d/b/a Seacoast Supply, Interior Exterior
                                          Building Supply, Independent Builders Supply Association, Inc. and Rothchilt
                                          International Limited, and Mayeaux Construction, Inc.

Jaruzel, Karin                  1         Karin Jaruzel, John Jaruzel, individually and on behalf of their minor chilren, KAILEY       USDC EDLA Louisiana       09-3636         5/22/2009 Amended 07/08/09       No
                                          JARUZEL and TRAVIS JARUZEL v. Knauf Gips KG, Knauf Plasterboard Tianjin Co.,
                                          Ltd., Taishan Gypsum Co., Ltd. f/k/a Shandong Taihe Dongxin Co., Ltd., USG
                                          Corporation, L&W Supply Corporation d/b/a Seacoast Supply, Interior Exterior Building
                                          Supply, Independent Builders Supply Association, Inc. and Rothchilt International
                                          Limited

Kessler, David                  1         David Kessler, and Amanda Kessler v. GMI Construction, Inc., ABC Insurance                   USDC EDLA Louisiana       09-6072                  9/2/2009             Yes I & V
                                          Company, MNO Insurance Company, Interior Exterior Building Supply, ASI Lloyds and
                                          HBW Insurance Services LLC

Kokoszka, Jason                 1         Jason Kokoszka and Heather Kokoszka v. Knauf Gips, a German Corporation;                     USDC SDAL Alabama        09-CV-371                6/23/2009               Yes I
                                          Knauf Plasterboard (Tianjin) Co., Ltd., Knauf Plasterboard (Wuhu) Co. Ltd., Knauf
                                          Plasterboard (Dongguab) Co. Ltd. Chinese limited liability corporations; Rothchilt
                                          International Ltd., a foreign corporation; USG Corporation; L&W Supply Corporation
                                          (sometimes d/b/a Seacoast Supply); and Interior & Exterior Building Supply, L.P.

Ledet, Darryl                   1         Darryl Paul Ledet, Trisha A. Ledet, Individually and on behalf of the minor child,           USDC MDLA Louisiana   3:09-cv-0031-FJP-          5/19/2009                Yes I
                                          Kaitlyn E. Ledet v. Knauf Gips KG, Knauf Plasterboard Tianjin Co., Ltd., Taishan                                          CN               Amended 07/09/09
                                          Gypsum Co. Ltd. f/k/a Shandong Taihe Dongxin Co. Ltd., USG Corproration, L&W
                                          Supply Corporation d/b/a Seacoast Supply, Interior Exterior Building Supply,
                                          Independent Builders Supply Association, Inc. and Rothchilt International Limited




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Lewis, Willie                   6         Willie Lewis, Raphael Barrios, Connie Barrios, Gloria Hayes, Lennette Hayes,                   USDC EDLA Louisiana          09-4101           6/15/2009              No
                                          individually and on behalf of her minor children, Aaron Stovall and Alex Stovall,                                                          Amended 07/08/09
                                          Gregg Glasper, Sr., Beunker Glasper, individually and on behalf of their minor
                                          chilren, Gregg Glasper, Jr., Markell Glasper, Markiva Glasper, David Gross,
                                          Sheryl Gross, individually and on behalf of his minor children, Christopher Gross
                                          and Jacqueline Gross v. Knauf Gips KG, Knauf Plasterboard Tiajin Co., Ltd., Taishan
                                          Gypsum Co. Ltd. f/k/a Shandong Taihe Dongxin Co. Ltd., USG Corporation, L&W
                                          Supply Corporation d/b/a Seacoast Supply, Interior Exterior Building Supply,
                                          Independent Builders Supply Association, Inc. and Rothchilt International Limited

Mai, Lien                       1         Lien Mai and David Nguyen, individually and on behalf of Isabella Nguyen v. Knauf              USDC EDLA Louisiana          09-3422           5/1/2009               No
                                          Gips KG, Knauf Plasterboard Tianjin Co., Ltd., Taishan Gypsum Co. Ltd. f/k/a                                                               Amended 07/08/09
                                          Shandong Taihe Dongxin Co. Ltd., USG Corp., L&W Supply Corp. d/b/a Seacoast
                                          Supply, InteriorExterior Building Supply, Independent Builders Supply Assoc., Inc. and
                                          Rothchilt International Ltd.

Mai, Long                       1         Long Mai and Kavita Mandhare v. Knauf Gips KG, Knauf Plasterboard Tianjin Co.,                 USDC EDLA Louisiana          09-3536           5/13/2009              No
                                          Ltd., Taishan Gypsum Co. Ltd. f/k/a Shandong Taihe Dongxin Co. Ltd., USG                                                                   Amended 07/08/09
                                          Corporation, L&W Supply Corporation d/b/a Seacoast Supply, Interior Exterior Building
                                          Supply, Independent Builders Supply Association, Inc. and Rothchilt International
                                          Limited

Martin, Michael                 1         Michael Martin, Cherie Lacava, individually and on behalf of Perrin Lacava and                 USDC EDLA Louisiana          09-3425           5/1/2009            Yes I & V
                                          Joycelyn Lacava v. Knauf Gips KG, Knauf Plasterboard Tianjin Co., Ltd., Taishan                                                            Amended 07/08/09
                                          Gypsum Co. Ltd. f/k/a Shandong Taihe Dongxin Co. Ltd., USG Corp. L&W Supply
                                          Corp. d/b/a Seacoast Supply, InteriorExterior Building Supply, Independent Builders
                                          Supply Assoc., Inc. and Rothchilt International Ltd.

Mays, Gina                      4         Gina Mays, Individually and on behalf of her minor children, Jordan Cook and                   USDC EDLA Louisiana          09-3638           5/22/2009              No
                                          Jarrid page, Mindi Adams, Patrina A. Johnson Peters, individually and on behalf                                                            Amended 07/08/09
                                          of her minor children Damond Peters, Dakeia Johnson and Jes-Zahre Johnson,
                                          and Shelton Barnes v. Knauf Gips KG, Knauf Plasterboard Tianjin, Ltd, Taishan
                                          Gypsum Co. Ltd. f/k/a Shandong Taihe Dongxin Co. Ltd., USG Corporation, L&W
                                          Supply Corporation d/b/a Seacoast Supply, Interior Exterior Building Supply,
                                          Independent Builders Supply Association, Inc. and Rothchilt International Limited.

Meyer, Lawrence                 4         Lawrence Meyer, Elizabeth Meyer, Sharon Watts, Helena Skinner and Linda                        USDC EDLA Louisiana          09-3960            6/19/2009          Yes I & V
                                          Guidry v. Knauf Gips KG, Knauf Plasterboard Tianjin Co., Ltd., Taishan Gypsum Co.
                                          Ltd. f/k/a Shandong Taihe Dongxin Co. Ltd., USG Corporation, L&W Supply
                                          Corporation d/b/a Seacoast Supply, Interior Exterior Building Supply, Independent
                                          Builders Association, Inc. and Rothchilt International Limited

Mitchell Company            Does not      The Mitchell Company, Inc., individually and on behalf of others similarly situated vs.        USDC NDFL Alabama        09-CV-00089-MCR-        3/6/2009          Yes (as
                             allege       Knauf Gips KG, a German corp., Knauf Plasterboard (Tianjin) Co., Ltd., a Chinese                Mississippi Louisiana          MD                                defendant)
                                          limited liability corp., Taishan Gypsum Co., Ltd. (f/k/a Shandong Taihe Dongxin Co.,           Georgia, Texas Florida
                                          Ltd.), a Chinese limited liability corp., Interior & Exterior Building Supply, LP, a limited
                                          partnership, and Rightway Drywall, Inc., a Georgia corp.

Mitchell, Kelsey                1         Kelsey H. Mitchell, wife of/and James G. Mitchell, individually and on behalf of               USDC EDLA Louisiana          09-3192            3/31/2009             No
                                          minors Emma Mitchell, Eleanor Mitchell, Marian Mitchell and all other similarly situated
                                          v. Knauf Gips KG, Knauf Plasterboard Tianjin Co., Ltd., Taishan Gypsum Co. Ltd. f/k/a
                                          Shandong Taihe Dongxin Co. Ltd., USG Corporation, L&W Supply Corporation d/b/a
                                          Seacoast Supply, Interior Exterior Building Supply, Independent Builders Supply
                                          Association, Inc., Laporte Family Properties LLC and Rothchilt International Limited



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Morlas, Ralph                   1          Ralph and Paula Morlas, individually, and on behalf of BLAISE MORLAS, and all                USDC EDLA Louisiana          09-3265                 4/9/2009              Yes I & III, IV,
                                           other similarly situated v. Knaug Gips KG, Knauf Plasterboard Tianjin Co., Ltd.,                                                                                              V
                                           Taishan Gypsum Co. Ltd. f/k/a Shandong Taihe Dongxin Co. Ltd., USG Corporation,
                                           L&W Supply Corporation d/b/a Seacoast Supply, Interior Exterior Building Supply,
                                           Independent Builders Supply Association, Inc. and Rothchild International Limited

Niswonger, Mary M.          Also in CDC    Mary M. Niswonger v. Interior Exterior Enterprises, LLC, Interior Exterior Building          USDC EDLA and CDC            10/2734                 8/16/2010               III, V and
                                           Supply, LP; and Bankers Insurance Group.                                                         Louisiana                                                               intervening
                                                                                                                                                                                                                   plaintiff in IIB

Pampel, Terry                   1          Terry L. & Nancy J. Pampel v. Knauf Gips KG, Knauf Plasterboard Tianjin Co. LTD.,            USDC SDAL Alabama           CV-00554                 4/23/2010                  Yes I
                                           Taishan Gypsum Co. LTD. f/k/a Shandong Taihe Dongxin Co. LTD., USG Corporation,
                                           L&W Supply Corporation d/b/a Seacoast Supply, Rothchilt International Limited, and
                                           Interior/Exterior Building Supply, or any other entity involved in the manufacturing,
                                           processing, distribution, delivering, supplying, inspection, marketing and/or selling,
                                           distribution or installation of the drywall materials made the basis of this lawsuit.

Payton, Sean                    1          Sean Peyton and Beth Peyton v. Knauf Gips KG, Knauf Plasterboard Tianjin Co.,                USDC EDLA Louisiana,         09-3424          5/1/2009 First Amended         Yes I & V
                                           Ltd., Taishan Gypsum Co. Ltd. f/k/a Shandong Taihe Dongxin Co. Ltd., USG Corp.                Alabama, Mississippi,                       05/19/09 Second Amended
                                           L&W Supply Corp. d/b/a Seacoast Supply, InteriorExterior Building Supply,                    Florida, Georgia, Texas                               07/08/09
                                           Independent Builders Supply Assoc., Inc. and Rothchilt International Ltd.

Peres, Tony and Kathy           1          Tony and Kathy Peres v. Knauf Gips KG, Knauf Plasterboard Tianjin Co., Ltd.,                 USDC EDLA Louisiana          09-3961        6/19/2009 First Supplemental     Yes I & V
                                           Tiashan Gypsum Co. Ltd. f/k/a Shandong Taihe Dongxin Co. Ltd., USG Corporation,                                                            and Amended Complaint
                                           L&W Supply Corporation d/b/a Seacoast Supply, Interior Exterior Building Supply,                                                                   09/08/09
                                           Independent Builders Supply Association, Inc. and Rothchilt International Limited

Perez, Sandra                   1          Sandra E. Perez, wife of/and Pedro Perez v. Knauf Gips KG, Knauf Plasterboard                USDC EDLA Louisiana          09-3384                 4/28/2009                 Yes II
                                           Tianjin Co., Ltd., Taishan Gypsum Co., Ltd., f/k/a Shandong Tiahe Dongxin Co., Ltd.,
                                           USG Corp., L&W Supply Corp. d/b/a Seacoast Supply, InteriorExterior Building
                                           Supply, Independent Builders Supply Assoc., Inc. Rothchilt International Ltd.

Pierson, Neil                   1          Neil Pierson and Jan Pierson, Individually and on behalf og their minor children,            USDC EDLA Louisiana       09-6658 - L (2)            10/2/2009               Yes I & V
                                           Roman Pierson and Paisley Pierson v. Knauf Gips KG; Knauf Plasterboard Tianjin                                                            First Amended Complaint
                                           Co., LTD.; Knauf Plasterboard Wuhu Co., LTD.; Knauf Plasterboard Dongguan Co.,                                                                    11/05/09
                                           LTD.; Interior Exterior Building Supply, L.P.; Interior Exterior Enterprises, L.L.C.; Home
                                           1 Homes, INC.; John T. Grab, III; and Lisa Grab - First Amended Complaint
                                           11/05/09

Price, Joshua                   1          Joshua Price, and Kimberlea Price v. Knauf Gips KG, and Interior Exterior Building           USDC EDLA Louisiana       09-7170 L (2)              11/5/2009               Yes I & V
                                           Supply

Roberts, Mona                   1          Mona Roberts, wife of/and Thomas E. Burke, IV vs. Knauf Gips KG, Knauf                       USDC EDLA Louisiana          09-3127               3/24/2009                     No
                                           Plasterboard Tianjin Co., Ltd., Taishan Gypsum Co., Ltd. f/k/a Shandong Taihe                                                               Amended Class Action
                                           Dongxin Co., Ltd., USG Corp., L&W Supply Corp. d/b/a Seacoast Supply,                                                                        Complaint 01/19/10
                                           InteriorExterior Building Supply, Independent Builders Supply Assoc., Inc. and
                                           Rothchilt International Ltd.




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Ruesch, Kevin                   5         Kevin P. Ruesch, Dorothy Ruesch, Edwin Joseph Boquet, Todd Christopher                  USDC MDLA Louisiana        09-cv-00395-JVP-CN    6/25/2009 Amended 07/31/09        Yes I & V
                                          joseph, Quividias T. Joseph, individually and on behalf of their minor children
                                          Roquin C. Singleton and Quanisha D. Dickerson, Jay B. Dunlap, Vanessa K.
                                          Dunlap, Christopher Paul Duhon and Kimberly B. Duhon v. Knauf Gips KG, Knauf
                                          Plasterboard Tianjin Co., Ltd., Taishan Gypsum Co. Ltd. f/k/a Shandong Taihe
                                          Dongxin Co. Ltd., USG Corproration, L&W Supply Corporation d/b/a Seacoast Supply,
                                          Interior Exterior Building Supply, Independent Builders Supply Association, Inc. and
                                          Rothchilt International Limited

Serio, Joseph                   1         Dr. Joseph Serio v. Knauf Gips KG, Knauf Plasterboard Tianjin Co., Ltd., Taishan        USDC EDLA Louisiana             09-4148                  6/17/2009                   Yes II
                                          Gypsum Co. Ltd. f/k/a Shandong Taihe Dongxin Co. Ltd., USG Corporation, L&W                                                                 Amended and Restated
                                          Supply Corporation d/b/a Seacoast Supply, Interior Exterior Building Supply,                                                                 Complaint 11/10/09
                                          Independent Builders Supply Association, Inc and Rothchilt International Limited
                                          (Interior Exterior Building Supply dismissed w/o prejudice on 12/07/09)

Simmons, Melinda                7         Melinda Simmons, Andre Simmons, Sidney Smith, Connie Smith, individually                USDC EDLA Louisiana             09-3639                  5/22/2009                     No
                                          and on behalf of their minor children, Rachele Smith, James Fugler, Jan Fugler,                                                               Amended 07/08/09
                                          Alvin Thymes, Leon Moore, Sandra Dunbar, Mary Hall and Lloyd Hall v. Knauf
                                          Gips KG, Knauf Plasterboard Tianjin Co., Ltd., Taishan Gypsum Co. Ltd. f/k/a
                                          Shandong Taihe Dongxin Supply Corporation d/b/a Seacoast Supply, Interior Exterior
                                          Building Supply, Independent Builders Supply Association, Inc. and Rothchilt
                                          International Limited, L&W Supply Corporation d/b/a Seacost Supply.

Staub, Marc                     6         Marc Staub, Dana Staub, Kionne Bourges McKinnis, Scott Belsom, Jennifer                 USDC EDLA Louisiana             09-4100                  6/15/2009               Yes III & V, VII
                                          Belsom, individually and on behalf of their minor child Mia Belsom, Gary Kelly, Josh                                                          Amended 07/08/09
                                          Heck, Kelly Heck, individually and on behalf of their minor children, Caylee Heck and
                                          Caden Heck, John Woodside and Jennifer Woodside v. Knauf Gips KG, Knauf
                                          Plasterboard Tianjin Co., Ltd., Taishan Gypsum Co. LTd. f/k/a Shandong Taihe
                                          Dongxin Co., LTd., USG Corporation, L&W Supply Corporation d/b/a Seacoast
                                          Supply, Interior Exterior Building Supply, Independent Builders Supply Association,
                                          Inc. and Rothchilt International Limited

Van Winkle, Ronnie              1         Ronnie Van Winkle, Sr. and Anne Van Winkle, Individually and as Husband and             USDC EDLA Louisiana             09-4378                    7/10/2009               Yes I & V
                                          Wife vs. Knauf Gips KG, Knauf Plasterboard Tianjin Co., Ltd., Taishan Gypsum Co.                                                        First Amended and supplemental
                                          Ltd. f/k/a Shandong Taihe Dongxin Co. Ltd., USG Corp., L&W Supply Corp. d/b/a                                                                  complaint 09/04/09
                                          Seacoast Supply, InteriorExterior Building Supply, Independent Builders Supply
                                          Assoc., Inc., Rothchilt International Ltd.

Vu, Jessie                      1         Jessie Vu, individually and on behalf of Darian T.B. Vu, and Kristy Mai v. Knauf Gips   USDC EDLA Louisiana             09-3423           5/1/2009 Amended 07/08/09            No
                                          KG, Knauf Plasterboard Tianjin Co., Ltd., Taishan Gypsum Co. Ltd. f/k/a Shandong
                                          Taihe Dongxin Co. Ltd., USG Corp. L&W Supply Corp. d/b/a Seacoast Supply,
                                          InteriorExterior Building Supply, Independent Builders Supply Assoc., Inc. and
                                          Rothchilt International Ltd.

Wiltz, Kenneth                  1         Kenneth Wiltz, and Barbara Wiltz, on behalf of themselves and all others similarly      USDC EDLA Louisiana             09-3488                    5/8/2009              Yes II and VII
                                          situated v. Knauf Gips KG, Knauf Plasterboard Tianjin Co., Ltd., Taishan Gypsum Co.       Mississippi, Florida,
                                          Ltd. f/k/a Shandong Taihe Dongxin Co. Ltd., USG Corp., L&W Supply Corp. d/b/a           Alabama, Virginia, North
                                          Seacoast Supply, InteriorExterior Building Supply, Independent Builders Supply                 Carolina
                                          Assoc., Inc. and Rothchilt International Ltd. (Interior Exterior Building Supply
                                          dismissed w/o prejudice on 12/07/09)




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Abt, Benjamin and Jennifer     AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior             Also Petition      2237 Chalybe Dr. Hoover, AL
                                       Building Supply & Enterprises)                                                                                      35226

Adair, Manciel & Susan         AL      Intervening Plaintiff in Rogers Omnibus IV (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Adams, John H. and Bonnie      AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                               2291 Abby Glenn Cl. Hoover, AL
                                       Building Supply & Enterprises)                                                                                      35226

Alcon, Andrea and Craig        AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Amerson, Trevis Mandel         AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building                               1207 Jena St.
                                       Supply & Enterprises)                                                                                        New Orleans, LA 70115

Ashmore, John Britton          AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Ayala, Gerardo and Mayra       AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Ayers, James                   AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Banta, Christopher and         AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Aimee                                  Building Supply & Enterprises)

Barker, Jefferey M. & Dana     AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
S.                                     Supply)

Barranco, Johnny               AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Beasley, Austin                AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Bennett, Jeremy                AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply)

Bennick, Charles D. &          AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
Patricia A.                            Supply & Enterprises)

Benton, Carl                   AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Bicehouse, Daniel and Tracy    AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                     1021 Columbia Cl.
                                       Building Supply & Enterprises)                                                                               Birmingham, AL 35242



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Bonamour, Mike and             AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Deborah                                Building Supply & Enterprises)

Bonamy, Robert and             AL      Omnibus I Only ( Defendant is Interior Exterior Building Supply)                                                 No address on schedule A
Jennifer

Brasher, Patricia B.           AL      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                         1008 Kingston Rd.
                                                                                                                                                           Chelsea AL 35043

Brien, Karen and Richard       AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                         6101 Clubhouse Dr.
                                       Building Supply & Enterprises)                                                                                     Trussville, AL 35173

Britt, Lauren, jacob, Anna,    AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Julia and William                      Building Supply & Enterprises)

Britt, Natalie                 AL      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                         10966 Brighton Dr.
                                                                                                                                                           Chelsea, AL 36521

Brown, Booker and Khalilah     AL      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                         81 Clubhouse Rd.
                                                                                                                                                          Springville, AL 35146

Brown, Toyanika                AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                        5320 Washington Blvd.
                                       Building Supply & Enterprises)                                                                                     Theodore, AL 56582

Buie, Dewayne                  AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                            1806 Gill Rd.
                                       Building Supply & Enterprises)                                                                                       Mobile, AL 36605

Bunn, James & Michele          AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building   Also individual complaint
                                       Supply & Enterprises)

Burleson, Dorothy              AL      Intervening Plaintiff in Rogers Omnibus IV (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Bush, Charles & Judy           AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Bush, Judy                     AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Butler, Kevin and Carla        AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Buuck, Christopher and         AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                         60 Rolling Ridge Cl.
Celeste                                Building Supply & Enterprises)                                                                                     Odenville AL 35120

Caley, Mark G.                 AL      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                       801 16th Ave., Unit 2c
                                                                                                                                                         Tuscaloosa, AL 35401



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Callahan, Clifton E., Jr. &    AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
Tiffany S.                             Supply & Enterprises)

Campbell, Scott and Mary       AL      Intervening plaintiff in Rogers Omnibus IV C (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Carter, James                  AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                               2375 Bellevue Terrace
                                       Building Supply & Enterprises)                                                                             Hoover, AL 35226

Caudle, Annie                  AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                297 Seven Oaks Dr.
                                       Building Supply & Enterprises)                                                                           Cook Springs, AL 35052

Chapman, Duane & Sarah         AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Choi, Jae and Mi               AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Cissell, Darin and Melissa     AL      Intervening plaintiff in Rogers Omnibus IV C (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Clark, Charles                 AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                               4337 Village Green Way
                                       Building Supply & Enterprises)                                                                            Birmingham, AL 35226

Clayton, Bobby, Gilda,         AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Pharris and Phalone                    Building Supply & Enterprises)

Clayton, James Mark and S.     AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                 1125 Springhill Ln.
Elizabeth                              Building Supply & Enterprises)                                                                           Birmingham, AL 35244

Cook, Dustin and Tiffany       AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply)

Cook's Properties, LLC         AL      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                              801 16th Ave., Unit 3B
                                                                                                                                                Tuscaloosa, AL 35401

Corley, Kyle & Lorie           AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Cornelius, Mitchell S. &       AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
Katherine E.                           Supply & Enterprises)

Cowart, Kenneth                AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                25620 County Rd. 65
                                       Building Supply & Enterprises)                                                                              Loxley, AL 36551

Crane, David and Aihoon        AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)



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Cranmore, Tony A. Tate,       AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Michael T.                            Building Supply & Enterprises)

Crawford, Gary & Linda        AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                      Supply & Enterprises)


Cristofani, Nadine            AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                      Building Supply & Enterprises)

Crum, Jarrett & Kit           AL      Omnibus IV - Rogers - Interior Exterior Building Supply LP, Interior Exterior
                                      Enterprises LLC

Daniel, Michael & Monica      AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                      Supply & Enterprises)

Darden, Reggie                AL      Omnibus I Only ( Defendant is Interior Exterior Building Supply)                                         1037 Little Sorrell Dr.
                                                                                                                                                Calera, AL 35040

David, Tony and Bethany       AL      Omnibus I Only ( Defendant is Interior Exterior Building Supply)                                         2405 Chalybe Terrace
                                                                                                                                                  Birmingham, AL

Davis, Murriel                Al      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                      Building Supply & Enterprises)

Dennis, Jack                  AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                               301 Highland View Dr.
                                      Building Supply & Enterprises)                                                                           Birmingham, AL 35242

Dennis, John C.               AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                               1106 Lake Forest Cl.
                                      Building Supply & Enterprises)                                                                            Hoover, AL 35244

Denson, Bruce                 AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                               2533 Canterbury Rd.,
                                      Building Supply & Enterprises)                                                                           Birmingham, AL 35223

Denton, Thomas Wade and       AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                11151 Elysian Cl.
Angela                                Building Supply & Enterprises)                                                                            Daphne, AL 36526

Desai, Hiren & Divya          AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                      Supply & Enterprises)

Deskin, Steven and Allison    AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                      Building Supply & Enterprises)

Dewey, Michael and Cynthia    AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                               33165 Shinnecock Ln.
                                      Building Supply & Enterprises)                                                                             Loxley, AL 36551

Dickey, Loren and Candice     AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                  1291 Legacy Dr.
                                      Building Supply & Enterprises)                                                                           Birmingham, AL 35242


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Dickinson, Jamascan             AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Diggs, Travis and Ann           AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Donnelly, Michael and Gay       AL      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                   1327 Legacy Dr.
                                                                                                                                                   Birmingham, AL 35242

Duckworth, Stewart, Michelle    AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
& Audrey                                Supply)

Edwards, John and Annie         AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                    3438 Acton Rd.
                                        Building Supply & Enterprises)                                                                               Moody, AL 35004

Elliott, Kevin and Mirela       AL      Intervening plaintiff in Rogers Omnibus IV C (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Ezekiel, David & Suzanne        AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                        Supply & Enterprises)

Faggard, Joseph Oliver          AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Fairburn, Tom & Cherie          AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                        Supply & Enterprises)

Falkins, Rebecca and            AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Douglas                                 Building Supply & Enterprises)

Farmer, Sherry                  AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                        Supply & Enterprises)

Fayyaz, Parveen                 AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                    2360 Arbor Glen
                                        Building Supply & Enterprises)                                                                             Birmingham, AL 35244

Fernandez, Joseph               AL      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,            Also Omnibus I      967 Weatherby St. S.
                                        Interior Exterior Enterprises                                                                               Saraland, Al 36571

Fernandez, Joseph               AL      Omnibus I (Defendant is Exterior Exterior Building Supply, Interior Exterior         Also Omnibus V & IV   967 Weatherby St. S.
                                        Enterprises LLC, Creola Ace Hardware)                                                                       Saraland, Al 36571

Ferrell, Brian and Ginger       AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                  120 Fox Valley Dr.
                                        Building Supply & Enterprises)                                                                              Maylene, AL 35114

Foote, David                    AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior              Also Petition
                                        Building Supply & Enterprises)



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Foster, Alan & Alma            AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply)

Fuller, Deandra                AL      Intervening Plaintiff in Rogers Omnibus IV (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Gargala, Christopher and       AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                  120 Maple Trace
Susan                                  Building Supply & Enterprises)                                                                              Hoover, AL 35244

Gentry, Byron                  AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Gilbert, Tony & Ann            AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)


Giles, Ryan                    AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                2635 Dolly Ridge Rd.
                                       Building Supply & Enterprises)                                                                           Vestavia Hills, AL 35243

Godwin, Pamela and Jack        AL      Omnibus I Only ( Defendant is Interior Exterior Building Supply)                                           11120 Niblick Loop
                                                                                                                                                  Fairhope, AL 36532

Gottlieb, David and Lindsey    AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                 1025 Columbia Cl.
                                       Building Supply & Enterprises)                                                                           Birmingham, AL 35242

Goudy, Vachael and             AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Chaverst, Kenisha                      Building Supply & Enterprises)

Graham, William & Martha;      AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
Betty M. Harrod, Trust for             Supply & Enterprises)
the benefit of Martha H.
Graham under the Betty M.
Harrod Trust

Gray, Randall                  AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Greer, Matthew & Olivia A.     AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Griffith, Alan & Zoe           AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Haas, Albert & Ann             AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Haase, David                   AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)



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Hand, Lincoln & Mimi Wade       AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                        Supply & Enterprises)

Harper, Robert D.               AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                        Supply & Enterprises)

Harrell, Mildred                AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                        Supply)

Harris, Sheila and Charles      AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Harrison, lewis                 AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Harry Brown Co. LLC             AL      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                  801 16th Ave.
                                                                                                                                                 Tuscaloosa, AL 35401
                                                                                                                                                 801 16th Ave. Unit 2a
                                                                                                                                                 Tuscaloosa, AL 35401
                                                                                                                                                 801 16th Ave. Unit 2b
                                                                                                                                                 Tuscaloosa, AL 35401
                                                                                                                                                 801 16th Ave. Unit 2c
                                                                                                                                                 Tuscaloosa, AL 35401
                                                                                                                                                 801 16th Ave. Unit 2d
                                                                                                                                                 Tuscaloosa, AL 35401

Havron, Ralph and Linda         AL      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                              11269 Elysian Circle
                                                                                                                                                  Daphne, AL 36526

Hawkins, Richard W., Ann        AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
G., Hall, Nick & Elizabeth &            Supply)
Mummert, Michelle

Hayes, Brian D.                 AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                1031 Maryanna Rd.
                                        Building Supply & Enterprises)                                                                             Calera, AL 35040

Haynes, Juanita and Tracy       AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                1011 Maryanna Rd.
                                        Building Supply & Enterprises)                                                                             Calera, AL 35040

Hicks, Todd                     AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Hill, Erika                     AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Hodgson, Robert M. and          AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                               29382 Josephine Dr.
Doris C.                                Building Supply & Enterprises)                                                                            Elberta, AL 36530




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Hollingsworth, Jeffrey         AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Hooda, Amim R. and Rozina      AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Hopper, Delbert                AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                               160 Blairs Cl., Pell City
                                       Building Supply & Enterprises)                                                                                 AL 35128

Horton, Jamie and Kimberly     AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                 1020 Columbia Cl.
                                       Building Supply & Enterprises)                                                                           Birmingham, AL 35242

Howard, Hillary                AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Howard, James & Carol          AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Howard, Melanie I., Stanley    AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
M., Logan S. and Ava S.                Supply)

Howell, Michael and Susan      AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building                        2154 Timberline Dr.
                                       Supply)                                                                                                    Calera, AL 35040

Hughes, Charles and            AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                               362 Hickory Valley Rd.,
Kimberly                               Building Supply & Enterprises)                                                                            Trussville, AL 35173

Hunter, Thaddeus L. &          AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
Pamela R.                              Supply & Enterprises)

Jackson, Robbie                AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                398 Fossil Rock Rd.
                                       Building Supply & Enterprises)                                                                            Springville, AL 35146

Jackson, Steve and Pam         AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                   106 Miles Dr.
                                       Building Supply & Enterprises)                                                                            Bessemer, AL 35023

Johnson, George and            AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                 1129 Springhill Ln.
Millicent                              Building Supply & Enterprises)                                                                           Birmingham, AL 35242

Johnston, Bobby and Grace      AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Johnston, Randy                AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Jones, Casey and Kelly         AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                               5841 Chestnut Trace,
                                       Building Supply & Enterprises)                                                                           Birmingham, AL 35244



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Jones, Dutchess                AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                        5736 Park Side Pass,
                                       Building Supply & Enterprises)                                                                                    Birmingham, AL 35244

Jones, Reginald and Winfred    AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                          1040 Seminole Pl.
                                       Building Supply & Enterprises)                                                                                      Calera, AL 35040

Jones, Sedrick and Trina       AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Jones, Yolands; Moore,         AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
Jonathan; Moore, Kanaiya;              Supply)
Jones, Nadia & Brianna

Joseph, Booker & Brenda F.     AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Kaepermick, Daniel             AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Kellogg, James and Donna       AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                       1140 Hardwood Cove Rd.,
                                       Building Supply & Enterprises)                                                                                    Birmingham, AL 35242

Killen, Cindy                  AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Kirn, Joseph                   AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                           1083 Baldwin Ln.
                                       Building Supply & Enterprises)                                                                                    Birmingham, AL 35242

Klamer, George                 Al      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Knight, Steven                 AL      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                       1004 Newport Parkway
                                                                                                                                                         Bay Minette, AL 36507

Kokoszka, Jason and            AL      Omnibus I ( Defendant is Interior Exterior Building Supply)                          Also individual complaint     224 Falls Creek St.
heather                                                                                                                                                   Fairhope, AL 36532

Kolaczek, Joseph S. & Terri    AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
B.                                     Supply & Enterprises)


Kolaczek, Nicole Lynn,         AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
Wilhite, Eric & Braxton                Supply)

Kubiak, Jeff                   AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                         6105 Clubhouse Dr.
                                       Building Supply & Enterprises)                                                                                     Trussville, AL 35173

Labor, Brian & Suki            AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply)

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Lambe, Michael A.                AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                         Supply)

Lane, Peter and Sheila           AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                       4004 Butler Springs Pl.
                                         Building Supply & Enterprises)                                                                                     Hoover, AL 35244

Lang, Keith D.                   AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                         Supply)

Lausman, Mark B. & Eileen        AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                         Supply & Enterprises)

Lawrence, Ericka &               AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building         Also Petition
Cornelius                                Supply & Enterprises)

Leggett, Melody, Marty,          AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
Rachel, Zachary and Joshua               Supply)

Lenane, Dean                     Al      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                         Building Supply & Enterprises)

Lesueur, Charlotte               AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                         Building Supply & Enterprises)

Lewis, Chester, Jr. & Tiffany    AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                         Supply & Enterprises)

Limbach, Richard                 AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                         2396 Arbor Glenn
                                         Building Supply & Enterprises)                                                                                     Hoover, AL 35244

Lockhart, Jason and              AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Buckhannon, Niurca                       Building Supply & Enterprises)

Loftis, Dell and Lydia           AL      Omnibus I ( Defendant is Interior Exterior Building Supply)                          Also individual complaint   18994 Quail Creek Dr.
                                                                                                                                                           Fairhope, AL 36532

Loggins, Claudia & Joseph        AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                         Supply)

Loney, Christopher &             AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building         Also Petition
Rochelle                                 Supply & Enterprises)

Lykes, Richard                   AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                       2017 Springhill Court
                                         Building Supply & Enterprises)                                                                                   Birmingham, Al 35242

Maclin, Carlos and Jeanine       AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                         Building Supply & Enterprises)



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Madden, Michael P. & Ashley    AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
M.                                     Supply & Enterprises)

Maier, William Craft           AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Marston, William & Janine      AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building     Also Petition
                                       Supply & Enterprises)

Mason, Howard & Glenda         AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply)

Mason, Phillip and Candace     AL      Omnibus I Only ( Defendant is Interior Exterior Building Supply)                                            9810 Brighton Ct.
                                                                                                                                                  Chunchula, AL 36521

Matzer, Joy and Robert         AL      Omnibus I Only ( Defendant is Interior Exterior Building Supply)                                            348 Deer Ridge Ln.
                                                                                                                                                   Chelsea, AL 35043

McIlvaine, David C. and        AL      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                 2905 Overton Rd.
Stephanie                                                                                                                                       Mountain Brook, AL 35223

McLaurin, Charles S. &         AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
Donna                                  Supply & Enterprises)

McLaury, Rex A.                AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                100 Spotted Fawn Rd.
                                       Building Supply & Enterprises)                                                                             Huntsville, AL 35801

McMann, Thomas G. &            AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
Lorraine A.                            Supply & Enterprises)

McMillan, William and          AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                  3089 Arbor Bend
Maleah                                 Building Supply & Enterprises)                                                                              Hoover, AL 35244

Middaugh, Katherine Goins,     AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Aireal Marquis and Ayanna              Building Supply & Enterprises)
Niara

Milano, Jason & Sarah          AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
Bennett                                Supply & Enterprises)

Mitchell, Oneal, Carmen &      AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
Kalamena                               Supply)

Moore, Shanine H and           AL      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                  1446 Scout Trace
Algajuan                                                                                                                                         Birmingham, AL 35244

Moore, Victor                  AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

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Morgan, Ken                    AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                       22097 Cedar Street
                                       Building Supply & Enterprises)                                                                                  Robertsdale, AL 36567

Moseley, Dartagnon             AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Moulton, Tom                   AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Moye, Sonya                    AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                      10378 Jack Springs Rd.
                                       Building Supply & Enterprises)                                                                                    Atmore, AL 36502

Murphy, Derrick & Shenavia     AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply)

Myers, David and Dawn          AL      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                       1217 Savannah Ln.
                                                                                                                                                          Calera, AL 35040

Nabors, S. Jason & Rhonda      AL      Intervening Plaintiff in Rogers Omnibus IV (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Newton, Twnica N.              AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Ngwenya, Ovella J.             AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Noel, Patrick & Jacqueline     AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Obeying his Commandments       AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                         7212 6th Street
Holiness Church c/o Bishop             Building Supply & Enterprises)                                                                                     Mobile AL 36608
Gloria Stewart

O'Dazier, Walter and rachel    AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

O'Neil, John and Gina          AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply)

Otter, Keith and Melanie       AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                        331 Stonegate Dr.
                                       Building Supply & Enterprises)                                                                                  Birmingham, AL 35242

Owens, Jay and sophia          AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Paisley, Cameron & Rachel      AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building   Intervening Plaintiff in
                                       Supply & Enterprises)                                                                  Payton Omnibus IB

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Paisley, Cameron and           AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior           Intervening Plaintiff in
Rachel                                 Building Supply & Enterprises)                                                         Payton Omnibus I

Palmer, Ben and Kay            AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Palmer, Donna and Larry        AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Panneton, Ruth and Ovila       AL      Omnibus I Only ( Defendant is Interior Exterior Building Supply)                                                19065 Wuail Creek Dr.
                                                                                                                                                        Fairhope, AL 36532

Parker, Charles and Rachael    AL      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,             Also Omnibus I           963 Weatherby St.
                                       Interior Exterior Enterprises                                                                                    Saraland, AL 36571

Parker, Charles and Rachael    AL      Omnibus I (Defendant is Exterior Exterior Building Supply, Interior Exterior            Also Omnibus V           963 Weatherby St.
                                       Enterprises LLC, Creola Ace Hardware)                                                                            Saraland, AL 36571

Parker, James                  AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Parson, Jason, Jessica,        AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
Jade & Jori                            Supply)

Patel, Nilesh                  AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Perkins, Alfred Jr. and        AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                      607 Mill Springs Court
Kerensa                                Building Supply & Enterprises)                                                                                    Hoover, AL 35244

Perry, Lovell, Kim, Annie,     AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Adonai Jordon, McKenzie                Building Supply & Enterprises)
Amor, Kyhlil and Powell,
Rolessa, Gabriel and Kylan

Petersen, Daniel               AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Pinto, Jose and Stephanie      AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                       663 N. Vaughn Dr.
                                       Building Supply & Enterprises)                                                                                   Satsuma, AL 36572

Pittman, Robert & Robin        AL      Omnibus IV - Rogers - Interior Exterior Building Supply LP, Interior Exterior
                                       Enterprises LLC (also in amended)

Powell, Jeffery and Corrie     AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                       5747 Park Side Rd.
                                       Building Supply & Enterprises)                                                                                    Hoover, AL 35226




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Pressnell, Bryan and Angela        AL      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                      884 High Point Drive
                                                                                                                                                           Hayden, Alabama 35079

Quarles, Leah                      AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                           Supply)

Ramsay, Craig                      AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                      7530 Blakeley Oaks Dr. S.
                                           Building Supply & Enterprises)                                                                                   Spanish Fort, AL 36527

Randolph, Michael & Susan          AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                           Supply & Enterprises)

Reid, Eleanor and Calvin           AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                           Building Supply & Enterprises)

Reilly, Chris and Stephanie        AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                           Building Supply & Enterprises)

Rice, James and Heather            AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                Also Petition           17062 Equestrian Ln.
                                           Building Supply & Enterprises)                                                                                     Fairhope, AL 36532

Rice, James L. & Norma E.          AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building   Also Petition 05/17/10       17062 Equestrian Ln.
                                           Supply & Enterprises)                                                                                              Fairhope, AL 36532

Richardson, Cherie & Keith         AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                           Supply & Enterprises)

Rider, Tessie                      AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                         802 McMillan Ave.
                                           Building Supply & Enterprises)                                                                                   Bay Minette, AL 36507

Ridley, Arnold Lee & Rada          AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                           Supply & Enterprises)

Ridley, Olivia, Franklin, Carla    AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                           Building Supply & Enterprises)

Ritter, Bill & Elizabeth           AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building   Intervening Plaintiff in
                                           Supply & Enterprises)                                                                 Payton Omnibus I B

Ritter, Bill and Elizabeth         AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior           Intervening Plaintiff in
                                           Building Supply & Enterprises)                                                         Payton Omnibus I

Roberson, Stephen                  AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                      3014 Chelsea Ridge Trail
                                           Building Supply & Enterprises)                                                                                   Columbiana, AL 35051

Robertson, James, Daniel, III      AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
& Victoria Daun                            Supply)



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Robins, Daniel & Elaine        AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building         Also Petition
                                       Supply & Enterprises)

Rodgers, Jeremy A.             AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Roll, Patrick                  AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                         2000 Mountain View Rd.
                                       Building Supply & Enterprises)                                                                                      Birmingham, AL 35210

Rubio, Silverio and Julia      AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                           730 Ridgefield Way
                                       Building Supply & Enterprises)                                                                                       Odenville, AL 35120

Saeed, Answar & Sadiqa         AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building   also individual complaint
Anwar                                  Supply & Enterprises)

Savelis, Marcus                AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Schroth, Byron and             AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                            9588 Collier Loop
Bernadette                             Building Supply & Enterprises)                                                                                        Daphne, AL 36525

Seal, Sandra                   AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                       26157 Via Del San Francesco
                                       Building Supply & Enterprises)                                                                                       Daphne, AL 36526

Shah, Kajal & Rahul A.         AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building         Also Petition
                                       Supply & Enterprises)

Shores, Ellen B.               AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Simon, Alicia and Terence      AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Sisco, kennety, Kendra         AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
Suzanne & Kendall                      Supply)

Smallwood, Gary E.; Robert     AL      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                            147 W. 4th Ave.
B. Jr., Greer, Elizabeth S.                                                                                                                                Gulf Shores, AL 36547

Smith, Frank and Cherylbeth    AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                          3698 Old Margaret Rd.
                                       Building Supply & Enterprises)                                                                                       Odenville, AL 35120

Smith, Geoffrey                AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                            8199 Lock 17 Rd.
                                       Building Supply & Enterprises)                                                                                       Bessemer, AL 35023

Smith, Joseph, Sharon,         AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
Emily & Jacob                          Supply)



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Smith, Karen                   AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                             580 Brooke Ln.
                                       Building Supply & Enterprises)                                                                                       Odenville, AL 35120

Smith, Patrick and Leigh       AL      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                           4295 Lexie Circle
Ann                                                                                                                                                         Trussville, AL 35173

Smith, Tim                     AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                           1592 Langston Rd.
                                       Building Supply & Enterprises)                                                                                      Carbon Hill, AL 35549

Souchon, Harry V.              AL      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                         6463 Willowbridge Dr.
                                                                                                                                                            Fairhope, AL 36532

Speegle, Alan                  AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Spink-Farmer, Carol            AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                            2375 Arbor Glenn
                                       Building Supply & Enterprises)                                                                                        Hoover, AL 35244

Stark, David                   AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                           138 Shady Shoal Lp.
                                       Building Supply & Enterprises)                                                                                       Fairhope, AL 36532

Starnes, Tracey & Vickie       AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Stemp, Donald R., Jr.          AL      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                        24202 Trowbridge Court
                                                                                                                                                            Daphne, AL 36526

Stephens, Keith Edward &       AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building   Also third party complaint
Amy Garmon                             Supply & Enterprises)

Stewaret, Kelly                AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Stokes, Barbara                AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                          16809 Old Ganey Rd.
                                       Building Supply & Enterprises)                                                                                      Bay Minette, AL 36507

Storie, Phillip and Beth       AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                             201 Courtside Dr.
                                       Building Supply & Enterprises)                                                                                      Birmingham, AL 35242

Styron, Charles                AL      Omnibus I Only ( Defendant is Interior Exterior Building Supply)                                                         PO Box 235
                                                                                                                                                           Bon Secourt, AL 36511

Sullivan, Marianne and         AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                           1205 Pertshire Court
Michael T.                             Building Supply & Enterprises)                                                                                      Birmingham, AL 35242

Sutherland, Heath and Holly    AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                        3608 Morgans Run Parkway
                                       Building Supply & Enterprises)                                                                                       Bessemer, AL 35022



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Sutherland, Jessica, Chad,      AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building                       3608 Morgans Run Parkway
Ethan, Isaiahand Presley                Supply)                                                                                                     Bessemer, AL 35022
Tatum

Swann, Brandon                  AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Taft, Natalie Hurst Charles     AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Tanis, Donald & Susan           AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                        Supply & Enterprises)

Taylor, Beck & Julie            AL      Intervening Plaintiff in Rogers Omnibus IV (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Taylor, Douglas, J.             AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                        Supply & Enterprises)

Terry, Nichole                  AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                        Supply & Enterprises)

Thompson, Ortis, Darren &       AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
Susan                                   Supply & Enterprises)

Thompson, Tracey                AL      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                 21858 County Rd. 48
                                                                                                                                                   Robertsdale, AL 36567

Torbet, Christopher             AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                 1278 Easterwood Blvd.
                                        Building Supply & Enterprises)                                                                             Gardendale, AL 35071

Townsend, Jessie and            AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Patricia                                Building Supply & Enterprises)

Traywick, George                AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Trethaway, Richard and Patti    AL      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                801 16th Ave., Unit 3d
                                                                                                                                                   Tuscaloosa, AL 35401

Trott, Darrell and Tammy        AL      Omnibus I Only ( Defendant is Interior Exterior Building Supply)                                          4346 Boulder Lake Circle
                                                                                                                                                   Birmingham, AL 35242

Turner, Justin and Carolyn      AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                   510 Crestview Ln.
                                        Building Supply & Enterprises)                                                                              Trussville, AL 35173

Turner, Kile T. & Sara M.       AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                        Supply & Enterprises)

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Tyson, Sheila                   AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Utphall, Harold & Sonja         AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                        Supply)

Vanderver, Kim, Leslie          AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
Edward & Adam                           Supply)

Verner, Greg and Andrea         AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                    15433 Timber Ridge Dr.
                                        Building Supply & Enterprises)                                                                                   Foley, AL 36535

Viles, Shara and Andres         AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                      845 Crestview Pl.
                                        Building Supply & Enterprises)                                                                                   Argo, AL 35173

Vincent, Maria & james          AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                        Supply & Enterprises)

Virciglio, John & Karen         AL      Intervening Plaintiff in Rogers Omnibus IV (Defendant is Exterior Exterior               Also Petition
                                        Building Supply & Enterprises)

Visram, Rahim                   AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building   Also petition 04/08/10
                                        Supply)

Wilbanks, Bruce and Debbie      AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Wilkens, Susan                  AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                        Supply & Enterprises)

Williams, Alicia                AL      Intervening plaintiff in Rogers Omnibus IV C (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Williams, Scott A. & Kristin    AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
S.                                      Supply)

Williamson, Chris and Nicole    AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                      1001 Seminole Pl.
                                        Building Supply & Enterprises)                                                                                  Calera, AL 35040

Wilson, Amira                   AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                        Supply)

Wilson, David and Lisa          AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Winsett, Ataska N.              AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                        Supply & Enterprises)



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Wood, Miriam & Chris         AL      Omnibus IV - Rogers - Interior Exterior Building Supply LP, Interior Exterior
                                     Enterprises LLC (also in amended)

Wright, Gary, Bettina and    AL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Maddison                             Building Supply & Enterprises)

Wright, Jeff & Suzanne J.    AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                     Supply & Enterprises)

Wylie, Patrick and Kim       AL      Intervening plaintiff in Rogers Omnibus IV C (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Yarbrough, Rebecca K.        AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                     Supply & Enterprises)

Young, Malcolm               AL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                     Supply)

Zolak, Joan                  AL      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                   201 Legacy Court
                                     Building Supply & Enterprises)                                                                            Birmingham, AL 35242

1100 Valencia LLC            FL      Omnibus I (Defendant is Interior Exterior Building Supply, Bailey Lumber and         Also Omnibus V         1100 Valencia Ave.
                                     Supply)                                                                                                   Coral Gables, FL 33134

1100 Valencia, LLC           FL      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.          Also Omnibus I         1100 Valencia Ave.
                                                                                                                                               Coral Gables, FL 33134

Andino, Jose                 FL      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Blanco, Christopher and      FL      Omnibus I Only ( Defendant is Interior Exterior Building Supply)                                             3402 SW 64 Ave.
Cristina                                                                                                                                          Miami, FL 33155

Chavin, Valerie              FL      Omnibus I Only ( Defendant is Interior Exterior Building Supply)                                          5140 NW 30th Terrace
                                                                                                                                              Fort Lauderdale, FL 33309

Wells, Joyce P.              FL      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                     Supply)

Williams, Diana and Terry    FL      Omnibus I ( Defendant is Interior Exterior Building Supply)                          Also Omnibus V          520 Mare Court
                                                                                                                                                Covington, LA 70435

Allen, Andrew and Nicole     LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.          Also Omnibus I          3704 Clifford Dr.
                                                                                                                                                 Metairie, LA 70002

Allen, Andrew and Nicole     LA      Omnibus I (Defendant is Interior Exterior Building Supply)                           Also Omnibus V          3704 Clifford Dr.
                                                                                                                                                 Metairie, LA 70002



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Almasy, Lee                  LA      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building   Also individual complaint
                                     Supply)

Alonso, Roland               LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Alonzo, Lana                 LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,          Also Individual complaint
                                     Interior Exterior Enterprises                                                             and Omnibus III

Alonzo, Lana                 LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,
                                     Interior Exterior Enterprises LLC - Also Individual complaint and Omnibus V

Amato, Dean and Dawn         LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,          Also Individual Complaint     18615 Bellingrath Lakes
                                     Interior Exterior Enterprises                                                              and Omnibus I         Greenwell Springs, LA 70739

Amato, Dean and Dawn         LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior          Also Omnibus V and          18615 Bellingrath Lakes
                                     Enterprises LLC)                                                                       individual complaint      Greenwell Springs, LA 70739

Amerson, Amy Louise          LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.             Also Omnibus I and            515 Hewitt Rd.
                                                                                                                            Individual Complaint         Hammond, LA 70403

Amerson, Amy Louise          LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                            Also Omnibus V and             515 Hewitt Rd.
                                                                                                                            individual complaint         Hammond, LA 70403

Ancira, Chris & Lilah        LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.             Also Omnibus I and
                                                                                                                            Individual Complaint

Ancira, Chris and Lilah      LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                            Also Omnibus V and              1207 Jena St.
                                                                                                                            individual complaint        New Orleans, LA 70115

Anders, Thomas and Nicole    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,               Also Omnibus I              2042 High Pointe
                                     Interior Exterior Enterprises                                                                                        Zachary, LA 70791

Anders, Thomas and Nicole    LA      Omnibus I (Defendant is Exterior Exterior Building Supply, Interior Exterior             Also Omnibus V               2042 High Pointe
                                     Enterprises LLC, Parish Home Center))                                                                                Zachary, LA 70791

Anderson, James and          LA      Omnibus I Only ( Defendant is Interior Exterior Building Supply)                                                  11351 SW Pembroke Dr.
Elizabeth                                                                                                                                              Port St. Lucie, FL 34987

Anderson, Shawnree and       LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,              Also Omnibus III
John                                 Interior Exterior Enterprises

Anderson, Shawnree and       LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,                  Also Omnibus III
John                                 Interior Exterior Enterprises LLC

Antoine, Jacques and         LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Patricia                             Building Supply)



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Assevado, Mary                 LA      Intervening Plaintiff in Gross Omnibus (Defendant is Exterior Exterior Building
                                       Supply)

Atianzar, Pedro & Sandra       LA      Intervening Plaintiff in Wiltz Omnibus II (Defendant is Exterior Exterior Building   Also intervening Plaintiff in
                                       Supply)                                                                                    Gross Omnibus

Atianzar, Pedro & Sandra       LA      Intervening Plaintiff in Gross Omnibus (Defendant is Exterior Exterior Building      Also intervening Plaintiff in
                                       Supply)                                                                                    Wiltz Omnibus II

Babineaux, Nelton and          LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Rihannona                              Building Supply)

Back, Charles and Mary         LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,          Also Individual complaint
                                       Interior Exterior Enterprises                                                             and Omnibus III

Back, Charles and Mary         LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,              Also Individual complaint
                                       Interior Exterior Enterprises LLC                                                         and Omnibus V

Barlow, Regine and John        LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,          Also Individual complaint
                                       Interior Exterior Enterprises                                                             and Omnibus III

Barlow, Regine and John        LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,              Also Individual complaint
                                       Interior Exterior Enterprises LLC                                                         and Omnibus V

Barone, John & Heather         LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.                Also Omnibus I                397 Rue Piper
                                                                                                                                                               Slidell, LA 70461

Barone, John and Heather       LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                               Also Omnnibus V                397 Rue Piper
                                                                                                                                                               Slidell, LA 70461

Barreca, Antoine and Nicole    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,                Also Omnibus I               3312 Karen Dr.
                                       Interior Exterior Enterprises                                                                                         Chalmette, LA 70043

Barreca, Antoine and Nicole    LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior             Also Omnibus V                3312 Karen Dr.
                                       Enterprises LLC)                                                                                                      Chalmette, LA 70043

Barreca, Corinne               LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,
                                       Interior Exterior Enterprises

Barrow, Clarence and Marion    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,              Also Omnibus I and
                                       Interior Exterior Enterprises                                                          Petition and Intervening
                                                                                                                            plaintiff in Payton Omnibus
                                                                                                                                           IB

Barrow, Clarence and Marion    LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior            Also Omnibus V and           3170 St. Bernard Ave.
                                       Enterprises LLC)                                                                       Petition and Intervening      New Orleans, LA 70119
                                                                                                                            plaintiff in Payton Omnibus
                                                                                                                                           IB


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Barrow, Clarence and Marion    LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior            Petition, Omnibus I and V       3170 St. Bernard Ave.
                                       Building Supply)                                                                                                     New Orleans, LA 70119

BBBMM Properties, LLC          LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Beckendorf, Edward and         LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Susan                                  Building Supply & Enterprises)

Benjamin, Jack and Claire      LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.               Also Omnibus I                  12 Pelham
                                                                                                                                                              Metairie, LA 70005

Benjamin, Jack and Claire      LA      Omnibus I (Defendant is Exterior Exterior Building Supply)                                Also Omnibus V                  12 Pelham
                                                                                                                                                              Metairie, LA 70005

Berlier, Greg                  LA      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply)

Blalock, Angeles               LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,           Also Individual complaint
                                       Interior Exterior Enterprises                                                              and Omnibus III

Blalock, Angeles               LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,               Also Individual complaint
                                       Interior Exterior Enterprises LLC                                                          and Omnibus V

Blue, John and Rachelle        LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,           Also Individual complaint
                                       Interior Exterior Enterprises                                                              and Omnibus III

Blue, John and Rachelle        LA      Intervening plaintiff in Wiltz Omnibus IIC (Defendant is Exterior Exterior Building   Also individual complaint
                                       Supply & Enterprises)                                                                    and Omnibus III & V

Blue, John and Rachelle        LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,               Also Individual complaint
                                       Interior Exterior Enterprises LLC                                                          and Omnibus V

Bonnecarrere, Wavi Lee         LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.               Also Omnibus I

Bonnecarrere, Wavi Lee         LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                               Also Omnibus V          40145 Taylors Trail, Apt. 1005
                                                                                                                                                               Slidell, LA 70461

Borne, Barry & Mary            LA      Intervening plaintiff in Wiltz Omnibus IIC (Defendant is Exterior Exterior Building   Also individual complaint
                                       Supply & Enterprises)                                                                    and Omnibus III & V

Borne, Barry and Mary          LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,           Also Individual complaint
                                       Interior Exterior Enterprises                                                              and Omnibus III

Borne, Barry and Mary          LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,               Also Individual complaint
                                       Interior Exterior Enterprises LLC                                                          and Omnibus V




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Borne, Carol                   LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                     Also individual complaint      835 Montgomery St.
                                                                                                                       and Amended Omnibus V          Mandeville, LA 70448

Borne, Carol                   LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.     Also Individual complaint      835 Montgomery St.
                                                                                                                             and Omnibus I            Mandeville, LA 70448

Borrello, Donna and Thomas     LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.          Also Omnibus I            5939 Argonne Blvd.
                                                                                                                                                     New Orleans, LA 70124

Borrello, Donna and Thomas     LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                         Also Omnibus V             5939 Argonne Blvd.
                                                                                                                                                     New Orleans, LA 70124

Boudreaux, Ashley and          LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Nicholas                               Building Supply & Enterprises)

Boudreaux, Virginia R.         LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior   Also Amended Omnibus V,      209 Cottage Green Lane
                                       Enterprises LLC)                                                                 intervening in Payton IB     Covington, LA 70433
                                                                                                                        and individual complaint

Boudreaux, Virginia Richard    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,     Also Individual complaint    209 Cottage Green Lane
                                       Interior Exterior Enterprises                                                      and Omnibus I and          Covington, LA 70433
                                                                                                                        Intervening plaintiff in
                                                                                                                          Payton Omnibus IB

Bourdon, Lucille               LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                     Also Amended Omnibus V          15074 Pamela Dr.
                                                                                                                       and Individual Complaint       Covington, LA 70433

Bourdon, Lucille               LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.     Also Individual complaint       15074 Pamela Dr.
                                                                                                                             and Omnibus I            Covington, LA 70433

Bourgeois, Richard and Gail    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,          Also Omnibus I         5960 Siegen Lane, Apt 9208
                                       Interior Exterior Enterprises                                                                                 Baton Rouge, LA 70809

Bourgeois, Richard and Gail    LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                         Also Omnibus V          5960 Siegen Lane, Apt 9208
                                                                                                                                                     Baton Rouge, LA 70809

Boutte Donald                  LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior        Individual complaint,
                                       Building Supply)                                                                     Omnibus III & V

Boutte, Don and Michael        LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,     Also Individual complaint
Robinson                               Interior Exterior Enterprises                                                      and Omnibus III and
                                                                                                                        Intervening plaintiff in
                                                                                                                          Payton Omnibus IB

Boutte, Don and Michael        LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,         Also Individual complaint
Robinson                               Interior Exterior Enterprises LLC                                                  and Omnibus V and
                                                                                                                        Intervening plaintiff in
                                                                                                                          Payton Omnibus IB



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Bradley, Jimmy and Louise      LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,             Also Omnibus I & III      19405 Kelly Wood Court
                                       Interior Exterior Enterprises                                                                                     Baton Rouge, LA 10809

Bradley, Jimmy and Louise      LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior                                     19405 Kelly Wood Court
                                       Enterprises LLC) - Also Omnibus III & V and claim letter received 04/08/10                                        Baton Rouge, LA 10809

Bradley, Jimmy and Louise      LA      Omnibus III -Benes -(and Amended) Interior Exterior - Also Omnibus I and V and                                    19405 Kelly Wood Court
                                       claim letter received 04/08/10                                                                                    Baton Rouge, LA 10809

Braselman, Holly               LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,           Also Individual complaint
                                       Interior Exterior Enterprises                                                              and omnibus III

Braselman, Holly               LA      Intervening plaintiff in Wiltz Omnibus IIC (Defendant is Exterior Exterior Building   Also individual complaint
                                       Supply & Enterprises)                                                                    and Omnibus III & V

Braselman, Holly               LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,               Also Individual complaint
                                       Interior Exterior Enterprises LLC                                                          and omnibus V

Brooks, Christopher J. and     LA      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                         112 Timber Wood Dr.
Katherine E.                           Building Supply & Enterprises)                                                                                       Madisonville, LA

Brown, Ada and Hillary         LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Enterprises                    Also Omnibus I              812 Cole Ct.
                                                                                                                                                          Covington, LA 70433

Brown, Ada and Hillary         LA      Omnibus I ( Defendant is Interior Exterior Enterprises LLC)                               Also Omnibus V              812 Cole Ct.
                                                                                                                                                          Covington, LA 70433

Brumfield, Ollie               LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.           Also Individual complaint    608 Husseman Lane
                                                                                                                                   and omnibus I          Covington, LA 70435

Bruner, Janice and Ronald      LA      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                         548 Pelican Ridge Dr.
P.                                     Building Supply & Enterprises)                                                                                       Madisonville, LA

Buccola, Anthony and Mary      LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Ellen                                  Building Supply & Enterprises)

Burke, Jules and Barbara       LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.               Also Omnibus I            1744 Ashland Ave.
                                                                                                                                                           Zachary, LA 70791

Burke, Jules and Barbara       LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                               Also Omnibus V            1744 Ashland Ave.
                                                                                                                                                           Zachary, LA 70791

Butler, Hilliard and Sheral    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,               Also Omnibus I             5720 Wright Rd.
                                       Interior Exterior Enterprises                                                                                     New Orleans, LA 70128

Butler, Hilliard and Sheral    LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                               Also Omnibus V,            5720 Wright Rd.
                                                                                                                                                         New Orleans, LA 70128



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Buxton, Darren & Tracy         LA      Omnibus I ( Defendant is Interior Exterior Enterprises LLC)                             Amended Omnibus V          4331 Wilderness Run
                                                                                                                                                           Zachary, LA 70791

Buxton, Darren & Tracy         LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Enterprises                                             4331 Wilderness Run
                                                                                                                                                           Zachary, LA 70791

Calico, Michael & Lisa         LA      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply)

Callais, Gary & Michelle       LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,               Also Omnibus III
                                       Interior Exterior Enterprises

Callais, Gary & Michelle       LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,                   Also Omnibus V
                                       Interior Exterior Enterprises LLC

Cambre, David and Jessica      LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior                  Also Petition
                                       Building Supply)

Caminita, Michael & Johanna    LA      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building     Filed Petition 07/30/10
                                       Supply)

Campos, Carlos                 LA      Intervening Plaintiff in Gross Omnibus (Defendant is Exterior Exterior Building             Also petition
                                       Supply)

Carrol, Cindy                  LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,               Also Omnibus III
                                       Interior Exterior Enterprises

Carrol, Cindy                  LA      Omnibus II - Wiltz - (and Amended) Interior Exterior Building Supply LP, Interior         Also Omnibus V
                                       Exterior Enterprises LLC

Carroll, Cynthia               LA      Intervening plaintiff in Wiltz Omnibus IIC (Defendant is Exterior Exterior Building   Also individual complaint
                                       Supply & Enterprises)

Carter, Daniel                 LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.               Also Omnibus I           261 W. Robert E. Lee
                                                                                                                                                         New Orleans, LA 70124

Carter, Daniel                 LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                               Also Omnibus V           261 W. Robert E. Lee
                                                                                                                                                         New Orleans, LA 70124

Cassagne, Jordan               LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.           Also Individual complaint   209 Place Street Jean
                                                                                                                                   and omnibus I         Covington, LA 70433

Cassagne, Jordan and           LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                           Amended Omnibus V and       209 Place Street Jean
Brande                                                                                                                         Individual complaint      Covington, LA 70433

Cassard, Jesse and Angela      LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,               Also Omnibus I             1768 Ashland Dr.
                                       Interior Exterior Enterprises                                                                                       Zachary, LA 70791



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Cassard, Jesse and Angela      LA      Omnibus I (Defendant is Exterior Exterior Building Supply, Interior Exterior               Also Omnibus V                   1768 Ashland Dr.
                                       Enterprises LLC, Parish Home Center)                                                                                       Zachary, LA 70791

Ceruti, Ronald                 LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.           Also Individual complaint            745 Spring Thyme
                                                                                                                                   and omnibus I                Belle Chasse, LA 70037

Chatman, Funell and Gail       LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.                 Also Omnibus I                 4918 Bancroft Dr.
                                                                                                                                                                New Orleans, LA 70117

Chatman, Funell and Gail       LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                                Also Omnibus V                  4918 Bancroft Dr.
                                                                                                                                                                New Orleans, LA 70117

Cheramie, Bertoul and Joan     LA      Intervening plaintiff in Wiltz Omnibus IIB (Defendant is Exterior Exterior Building       Omnibus III, V and
                                       Supply)                                                                                 Intervening plaintiff in
                                                                                                                                       Gross

Cheramie, Bertoule and Joan    LA      Intervening Plaintiff in Gross Omnibus (Defendant is Exterior Exterior Building       Also in Omnibus III Benes,
                                       Supply)                                                                                  and V Amato - Filed
                                                                                                                             Petition - and Intervening
                                                                                                                               plaintiff in Wiltz IIB, VII

Cheramie, Bertoule and Joan    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,           Also intervening Plaintiff in
                                       Interior Exterior Enterprises                                                          Gross Omnibus and Wiltz
                                                                                                                                IIB, & III & individual
                                                                                                                                    complaint, VII

Cheramie, Bertoule and Joan    LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,               Also intervening Plaintiff in
                                       Interior Exterior Enterprises LLC                                                      Gross Omnibus and Wiltz
                                                                                                                               IIBand III - Filed Petition
                                                                                                                                     08/05/10, VII

Chiappetta, Kevin David        LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.           Also Individual complaint           727 Arctic Fox Run,
                                                                                                                                   and omnibus I                Madisonville, LA 70447

Clague, Randy and Lisa         LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,                 Also Omnibus I            4416 Halter Ln., Hammond, LA
                                       Interior Exterior Enterprises                                                                                                     70403

Clague, Randy and Lisa         LA      Omnibus I (Defendant is Exterior Exterior Building Supply, Interior Exterior               Also Omnibus V             4416 Halter Ln., Hammond, LA
                                       Enterprises LLC)                                                                                                                  70403

Colby, Richard and Susan       LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.                 Also Omnibus I             PO Box 576, Prairieville, LA
                                                                                                                                                                       70769

Colby, Richard and Susan       LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                                Also Omnibus V              PO Box 576, Prairieville, LA
                                                                                                                                                                       70769

Colomb, John & Sharon          LA      Intervening Plaintiff in Gross Omnibus (Defendant is Exterior Exterior Building                 Also VII
                                       Supply)



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Cooper, Brenda                   LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,               Also Omnibus IV
                                         Interior Exterior Enterprises

Cooper, Brenda                   LA      Omnibus IV - Rogers - Interior Exterior Building Supply LP, Interior Exterior             Also Omnibus V
                                         Enterprises LLC

Copeland, Robert, Michael &      LA      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building   Also individual complaint
Nancy                                    Supply)                                                                                       in CDC

Cordier, Gregory and Jean        LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,                Also Omnibus I               7441 Eastmore Rd.
                                         Interior Exterior Enterprises                                                                                         New Orleans, LA 70126

Cordier, Gregory and Jean        LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior             Also Omnibus V                7441 Eastmore Rd.
                                         Enterprises LLC)                                                                                                      New Orleans, LA 70126

Cotlar, Sideny and Diane         LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,                Also Omnibus I            4532 Transcontinental Dr.
                                         Interior Exterior Enterprises                                                                                           Metairie, LA 70006

Cotlar, Sideny and Diane         LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                               Also Omnibus V             4532 Transcontinental Dr.
                                                                                                                                                                 Metairie, LA 70006

Crochett, Adam                   LA      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                                1829 Alvar St.
                                         Building Supply & Enterprises)                                                                                        New Orleans, LA 70117

Cunningham, Dennis and           LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,          Also Petition filed 05/04/10    288 Penn Mill Lakes Blvd.
Susan                                    Interior Exterior Enterprises                                                            and in Omnibus I              Covington, LA 70435

Cunningham, Dennis and           LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior                                        288 Penn Mill Lakes Blvd.
Susan                                    Enterprises LLC) - Also Petition filed 05/04/10 and in Omnibus V                                                       Covington, LA 70435

Daboval, John & Rosemary         LA      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building   Also intervening Plaintiff in
                                         Supply & Enterprises)                                                                      Gross Omnibus

Daboval, John & Rosemary         LA      Intervening Plaintiff in Gross Omnibus (Defendant is Exterior Exterior Building      Also intevening plaintiff in
                                         Supply)                                                                                  Payton Omnibus I

Darby, Harry & Melissa           LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,               Also Omnibus IV
                                         Interior Exterior Enterprises

Darby, Harry & Melissa           LA      Omnibus IV - Rogers - Interior Exterior Building Supply LP, Interior Exterior             Also Omnibus V
                                         Enterprises LLC

Dauterive, Valliere, Margaret    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.                Also Omnibus I               1209 Rue Degas
and Savoy                                                                                                                                                       Mandeville, LA 70471

Dauterive, Valliere, Margaret    LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                               Also Omnibus V                1209 Rue Degas
and Savoy                                                                                                                                                       Mandeville, LA 70471



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Dejan, Charlotte                 LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,      Also Omnibus I and IV         4635 Evangeline St.
                                         Interior Exterior Enterprises                                                                                 New Orleans, LA 70127

Dejan, Charlotte                 LA      Omnibus IV - Rogers - Interior Exterior Building Supply LP, Interior Exterior     Also Omnibus I and V         4635 Evangeline St.
                                         Enterprises LLC                                                                                               New Orleans, LA 70127

Dejan, Charlotte                 LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                      Also Omnibus IV and V         4635 Evangeline St.
                                                                                                                                                       New Orleans, LA 70127

Dejan, Leroy & Ann               LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,      Also Omnibus IV and I         4624 Chantilly Drive
                                         Interior Exterior Enterprises                                                                                 New Orleans, LA 70127

Dejan, Leroy & Ann               LA      Omnibus IV - Rogers - Interior Exterior Building Supply LP, Interior Exterior     Also Omnibus V and I         4624 Chantilly Drive
                                         Enterprises LLC                                                                                               New Orleans, LA 70127

Dejan, Leroy and Ann             LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior    Also Omnibus IV and V         4624 Chantilly Drive
                                         Enterprises LLC)                                                                                              New Orleans, LA 70127

Diez, Douglas (Pelican Point     LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.          Also Omnibus I         Pelican Point Properties, LLC
Properties)                                                                                                                                             6473 Hwy. 44, Ste. 201
                                                                                                                                                          Gonzales, LA 70737

Diez, Douglas (Pelican Point     LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                         Also Omnibus V          Pelican Point Properties, LLC
Properties)                                                                                                                                             6473 Hwy. 44, Ste. 201
                                                                                                                                                          Gonzales, LA 70737

Donahoe, Patrick & Tina          LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,         Also Omnibus IV
                                         Interior Exterior Enterprises

Donahoe, Patrick & Tina          LA      Omnibus IV - Rogers - Interior Exterior Building Supply LP, Interior Exterior       Also Omnibus V
                                         Enterprises LLC

Donaldson, Jill & Oertling       LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,      Also Petition 3/3/09 and
                                         Interior Exterior Enterprises                                                          Omnibus III

Donaldson, Jill and Oertling,    LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,
Jared                                    Interior Exterior Enterprises LLC - Also Petition 3/3/09 and Omnibus V

Donaldson, malcolm               LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.     Also individual complaint          460 Lotus Dr.
                                                                                                                               and Omnibus I         North Mandeville, LA 74071

Donaldson, Malcolm & Kelli       LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                     Also Amended Omnibus V             460 Lotus Dr.
                                                                                                                         and Individual Complaint    North Mandeville, LA 74071

Dorsey, Mark & Shalanda          LA      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior         Also Petition 02/23/10
                                         Enterprises)




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Dowis, Adam                  LA      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                     Supply)

Duhon, Christopher and       LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.               Also Omnibus I           17496 Rosemont Dr.
Kimberly                                                                                                                                                Prairieville, LA 70769

Duhon, Christopher and       LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                               Also Omnibus V           17496 Rosemont Dr.
Kimberly                                                                                                                                                Prairieville, LA 70769

Duplessis, Hedy              LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply)


Dupre, Ross and Marlo        LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Enterprises                    Also Omnibus I           2063 Rosedale Rd.
                                                                                                                                                        Port Allen, LA 70767

Dupre, Ross and Marlo        LA      Omnibus I ( Defendant is Interior Exterior Enterprises LLC)                               Also Omnibus V           2063 Rosedale Rd.
                                                                                                                                                        Port Allen, LA 70767

Dupree, Melissa              LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior            Also individual complaint
                                     Building Supply & Enterprises)                                                                 in CDC

Dupuy, Cullen and Mary       LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.               Also Omnibus I          15246 Campanile Court
                                                                                                                                                       Baton Rouge, LA 70810

Dupuy, Cullen and Mary       LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                               Also Omnibus V          15246 Campanile Court
                                                                                                                                                       Baton Rouge, LA 70810

Durham, Scott and Heather    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Enterprises                    Also Omnibus I             4329 Tupello St.
                                                                                                                                                       Baton Rouge, LA 70808

Durham, Scott and Heather    LA      Omnibus I ( Defendant is Interior Exterior Enterprises LLC)                               Also Omnibus V             4329 Tupello St.
                                                                                                                                                       Baton Rouge, LA 70808

Eide, Stale                  LA      Intervening plaintiff in Wiltz Omnibus IIB (Defendant is Exterior Exterior Building
                                     Supply & Enterprises)

Evans, Jamie Lynn            LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,               Also Omnibus II
                                     Interior Exterior Enterprises

Evans, Jamie Lynn            LA      Omnibus II - Wiltz -(and Amended) Interior Exterior Building Supply LP, Interior          Also Omnibus V
                                     Exterior Enterprises LLC

Falgout, Christopher         LA      Intervening Plaintiff in Gross Omnibus (Defendant is Exterior Exterior Building
                                     Supply)

Fernandez, Vernon            LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,           Also individual complaint       41555 CC Rd.
                                     Interior Exterior Enterprises                                                           and Omnibus I and IV      Pontchatoula, LA 70454



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Fernandez, Vernon and          LA      Omnibus I (Defendant is Exterior Exterior Building Supply, Phillips Abita Lumber        Also Omnibus IV and V            41555 CC Rd.
JoAnn                                  Co.)                                                                                                                 Pontchatoula, LA 70454

Fernandez, Vernon Leroy &      LA      Omnibus IV - Rogers - Interior Exterior Building Supply LP, Interior Exterior           Also Omnibus I and V
JoAnn Cross                            Enterprises LLC

Fineschi, Nicola and Connie    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,            Also Petition with Carroll
                                       Interior Exterior Enterprises                                                              and Omnibus III

Fineschi, Nicola and Connie    LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,
                                       Interior Exterior Enterprises LLC - Claim letter - Also Petition with Carroll

Forbes, Angela and Derrick     LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Foret, Kimber & Ryan           LA      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior               Also Petition 07/09/09
                                       Enterprises)

Franatovich, Mitchell          LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.                 Also Omnibus I               2251 3rd St.
                                                                                                                                                             Mandeville, LA 70471

Franatovich, Mitchell          LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                                Also Omnibus V                2251 3rd St.
                                                                                                                                                             Mandeville, LA 70471

Gagnon, Chad & Amy             LA      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior                Petition filed 12/15/09
                                       Enterprises)

Galatas, Bernadette            LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,           Also individual petition and   255 Carriage Pines Lane
                                       Interior Exterior Enterprises                                                                 Omnibus I                Covington, LA 70435

Galatas, Bernadette            LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Exterior Building         Also individual petition and   255 Carriage Pines Lane
                                       Enterprises)                                                                                  Omnibus V                Covington, LA 70435

Gammage, Dr. Dan               LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Exterior Building         Also amended Omnibus V,         1206 Magnolia Alley
                                       Enterprises)                                                                            Wiltz IIC and individual      Mandeville, LA 70471
                                                                                                                                       complaint

Gammage, Dr. Dan               LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,           Also Petition and Omnibus       1206 Magnolia Alley
                                       Interior Exterior Enterprises                                                                       I                 Mandeville, LA 70471

Gammage, Dr. Daniel            LA      Intervening plaintiff in Wiltz Omnibus IIC (Defendant is Exterior Exterior Building   Also individual complaint       1206 Magnolia Alley
                                       Supply & Enterprises)                                                                    and Omnibus I & V            Mandeville, LA 70471

Ganucheau, Renee               LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.                 Also Omnibus I              6465 Louis XIV
                                                                                                                                                            New Orleans, LA 70124

Ganucheau, Renee               LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                                Also Omnibus V               6465 Louis XIV
                                                                                                                                                            New Orleans, LA 70124

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Gardette, Emile                 LA      Intervening Plaintiff in Gross Omnibus (Defendant is Exterior Exterior Building         Omnibus I & V
                                        Supply)

Gardette, Michael and           LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,       Also intervening plaintiff in     276 Penn Mill Lakes
Rhonda                                  Interior Exterior Enterprises                                                       Gross, Omnibus I and            Covington, LA 70435
                                                                                                                              individual petition

Gardette, Michael and           LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior     Also intervening plaintiff in     276 Penn Mill Lakes
Rhonda                                  Enterprises LLC) Petition filed 04/30/10                                              Gross, Omnibus V              Covington, LA 70435

Garrett, Philip and Courtney    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,             Also Omnibus I             6050 General Diaz Dr.
                                        Interior Exterior Enterprises                                                                                      New Orleans, LA 70124

Garrett, Philip and Courtney    LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior          Also Omnibus V              6050 General Diaz Dr.
                                        Enterprises LLC)                                                                                                   New Orleans, LA 70124

Gaussiran, Maxi                 LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.             Also Omnibus I             39768 Kellywood Blvd.
                                                                                                                                                           Ponchatoula, LA 70454

Genovese, Karen                 LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,        Individual Petition filed        123 Beau Arbre Court
                                        Interior Exterior Enterprises                                                      07/16/10 and Omnibus I           Covington, LA 70433

Genovese, Karen                 LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Exterior Building       Individual Petition filed       123 Beau Arbre Court
                                        Enterprises)                                                                       07/16/10 and Omnibus V           Covington, LA 70433

Gerica, Ramona                  LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.             Also Omnibus I               7371 Northgate Dr.
                                                                                                                                                           New Orleans, LA 70128

Gerica, Ramona                  LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                            Also Omnibus V                7371 Northgate Dr.
                                                                                                                                                           New Orleans, LA 70128

Gillane, William and Maureen    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.             Also Omnibus I              108 N. Magnolia Dr.
                                                                                                                                                            Covington, LA 70433

Gillane, William and Maureen    LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                            Also Omnibus V               108 N. Magnolia Dr.
                                                                                                                                                            Covington, LA 70433

Gleason, Herman and             LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,             Also Omnibus I                329 Brighton Lane
Deborah                                 Interior Exterior Enterprises Petition filed 04/28/10                                                                  Slidell, LA 70458

Gleason, Herman and             LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior          Also Omnibus V                 329 Brighton Lane
Deborah                                 Enterprises LLC) Petition filed 04/28/10                                                                               Slidell, LA 70458

Gotreaux, Dustin and Korie      LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,             Also Omnibus I               192 Oakwood Lane
                                        Interior Exterior Enterprises                                                                                     Denham Springs, LA 70726

Gotreaux, Dustin and Korie      LA      Omnibus I (Defendant is Exterior Exterior Building Supply, Interior Exterior           Also Omnibus V                192 Oakwood Lane
                                        Enterprises LLC)                                                                                                  Denham Springs, LA 70726

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Greco, Vincent                 LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.              Also Omnibus I           70461 11th Street
                                                                                                                                                        Covington, LA 70433

Greco, Vincent                 LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                             Also Omnibus V            70461 11th Street
                                                                                                                                                        Covington, LA 70433

Gremillion, Andre and Kim      LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Gremillion, Paul & Andrea      LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.         Also individual complaint      530 Twin River
                                                                                                                                 and Omnibus I          Covington, LA 70433

Gremillion, Paul and Andrea    LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                         Also Amended Omnibus V         530 Twin River
                                                                                                                           and Individual Complaint     Covington, LA 70433

Gross, Cheryl and David        LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,         Also petition and omnibus
                                       Interior Exterior Enterprises                                                                    III

Gross, Cheryl and David        LA      Omnibus III -Benes - Interior Exterior Buuilding Supply LP, Interior Exterior            and Omnibus V
                                       Enterprises LLC - Also Petition 10/07/09

Guerra, Darlyn                 LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.              Also Omnibus I           738 Loque Place
                                                                                                                                                       New Orleans, LA 70124

Guerra, Darlyn                 LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                             Also Omnibus V            738 Loque Place
                                                                                                                                                       New Orleans, LA 70124

Guice, Kenneth                 LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,         Also Omnibus IV and VIII
                                       Interior Exterior Enterprises

Guice, Kenneth                 LA      Omnibus IV - Rogers - Interior Exterior Building Supply LP, Interior Exterior       Also Omnibus V and VIII
                                       Enterprises LLC

Guidry, Carmen and richard     LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Guidry, Christopher and        LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.              Also Omnibus I          5396 Courtyard Drive
Jerene                                                                                                                                                  Gonzales, LA 70737

Guidry, Christopher and        LA      Omnibus I ( Defendant is Interior Exterior Building Supply) Claim letter received       Also Omnibus V           5396 Courtyard Drive
Jerene                                 04/09/10                                                                                                         Gonzales, LA 70737

Hakenjo, Candace & Todd        LA      Omnibus I ( Defendant is Interior Exterior Enterprises LLC)                         Also Amended Omnibus V         820 Cole Court
                                                                                                                           and Individual Complaint     Covington, LA 70433

Hakenjo, Candace & Todd        LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Enterprises                    Also petition            820 Cole Court
                                                                                                                                                        Covington, LA 70433



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Hargrove, Linda               LA      Intervening Plaintiff in Gross Omnibus (Defendant is Exterior Exterior Building
                                      Supply)

Hart, Jessee and Sheila       LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Enterprises                     Also Omnibus I             15174 Hwy 959
                                                                                                                                                           Clinton, LA 70722

Hart, Jessee and Sheila       LA      Omnibus I ( Defendant is Interior Exterior Enterprises LLC)                               Also Omnibus V              15174 Hwy 959
                                                                                                                                                           Clinton, LA 70722

Hartenstein, Michael and      LA      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                           5929 Catina St.
Mary                                  Building Supply & Enterprises)                                                                                    New Orleans, LA 70124

Haskin Tracy                  LA      Intervening plaintiff in Wiltz Omnibus IIB (Defendant is Exterior Exterior Building
                                      Supply & Enterprises)

Heck, Joshua and Kelly        LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.                Also Omnibus I         85002 Horatio Sharp Rd.
                                                                                                                                                            Bush, LA 70431

Heck, Joshua and Kelly        LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                               Also Omnibus V          85002 Horatio Sharp Rd.
                                                                                                                                                            Bush, LA 70431

Hernandez, John & Diane       LA      Omnibus I (Defendant is Exterior Exterior Building Supply)                            Also Amended Omnibus V          144 20th St.
                                                                                                                            and Individual Complaint    New Orleans, LA 70124

Hernandez, John & Diane       LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.           Also petition and Omnibus       144 20th St.,
                                                                                                                                          I             New Orleans, LA 70124

Hickey, Raymond and           LA      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                        243 Carriage Pines Ln.
Elizabeth                             Building Supply & Enterprises)                                                                                     Covington, LA 70435

Holmes, Rhonda                LA      Intervening Plaintiff in Gross Omnibus (Defendant is Exterior Exterior Building
                                      Supply)

Holtgreve, John and Cheryl    LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Cerise                                Building Supply & Enterprises)

Hopper, Dean & Dena           LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                           Also Amended Omnibus V         81149 Osprey Dr.
                                                                                                                            and Individual Complaint        Bush, LA 70431

Hopper, Dean & Dena           LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.           Also petition and Omnibus      81149 Osprey Dr.
                                                                                                                                          I                 Bush, LA 70431

Hubbell, Wendy                LA      Omnibus I ( Defendant is Interior Exterior Enterprises LLC)                           Also Amended Omnibus V         802 Cole Court
                                                                                                                            and Individual Complaint     Covington, LA 70433

Hubbell, Wendy                LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Enterprises                Also petition and Omnibus      802 Cole Court
                                                                                                                                          I              Covington, LA 70433



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Huckaby, Brian               LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,               Also Omnibus I              4031 Monte Vista Dr.
                                     Interior Exterior Enterprises                                                                                           Addis, AL 70710

Huckaby, Brian               LA      Omnibus I (Defendant is Interior Exterior enterprises, Interior Exterior Building        Also Omnibus V               4031 Monte Vista Dr.
                                     Supply)                                                                                                                 Addis, AL 70710

Hufft, Val and Audrey        LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                          Also Amended Omnibus V          71225 Sloope Place
                                                                                                                          and Individual Complaint       Abita Springs, LA 70420

Hufft, Val and Audrey        LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.             Also complaint and           71225 Sloope Place
                                                                                                                                 Omnibus I               Abita Springs, LA 70420

Hulse, Valerie and Mark      LA      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                            138 Pebble Beach Dr.
                                     Building Supply & Enterprises)                                                                                          Slidell, LA 70453

Hulsey, Charles and Sarah    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.               Also Omnibus I               701 Artic Fox Run
                                                                                                                                                          Madisonville, LA 70447

Hulsey, Charles and Sarah    LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                              Also Omnibus V                701 Artic Fox Run
                                                                                                                                                          Madisonville, LA 70447

Jackson, Senora              LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.               Also Omnibus I         40145 Taylor's Train - Unit 1004
                                                                                                                                                             Slidell, LA 70461

Jackson, Senora              LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                              Also Omnibus V          40145 Taylor's Train - Unit 1004
                                                                                                                                                             Slidell, LA 70461

Jastremski, Florence         LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.               Also Omnibus I              5314 Courtyard Dr.
                                                                                                                                                           Gonzales, LA 70737

Jastremski, Florence         LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                              Also Omnibus V               5314 Courtyard Dr.
                                                                                                                                                           Gonzales, LA 70737

Jeffries, Patricia           LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Jenkins, Candice             LA      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building   Also individual complaint
                                     Supply)                                                                                       in CDC

Jenkins, Carlos Kent         LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Johnson, Antoinette and      LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Harold                               Building Supply & Enterprises)

Jones, Allie and Jeanie      LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,              Also Omnibus III
                                     Interior Exterior Enterprises



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Jones, Allie and Jeanie      LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,                    Also Omnibus V
                                     Interior Exterior Enterprises LLC

Kehoe, Molly                 LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,            Also in III, I and Petition     220 Bellingrath Place
                                     Interior Exterior Enterprises                                                                                            Madisonville, LA

Kehoe, Molly                 LA      Intervening plaintiff in Wiltz Omnibus IIC (Defendant is Exterior Exterior Building   Also individual complaint        220 Bellingrath Place
                                     Supply & Enterprises)                                                                   and Omnibus I, III & V           Madisonville, LA

Kehoe, Molly                 LA      Omnibus I (Defendant is Interior Exterior enterprises, Interior Exterior Building       Omnibus III, V, IIC and        220 Bellingrath Place
                                     Supply)                                                                                  individual Petition             Madisonville, LA

Kehoe, Molly                 LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,                                                220 Bellingrath Place
                                     Interior Exterior Enterprises LLC - Also in III, V and Petition                                                          Madisonville, LA

Keller, Danielle & Jimmy     LA      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                     Supply)

Kelly, Gary & Vicki          LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,                Also Omnibus IV
                                     Interior Exterior Enterprises

Kelly, Gary & Vicki          LA      Omnibus IV - Rogers - Interior Exterior Building Supply LP, Interior Exterior              Also Omnibus V
                                     Enterprises LLC

Kessler, David & Amenda      LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.           also petition and omnibus I    385 Brown Thrasher Loop
                                                                                                                                                           Madisonville, LA 70447

Kessler, David and Amanda    LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                              Also Omnibus V and          385 Brown Thrasher Loop
                                                                                                                              individual complaint         Madisonville, LA 70447

King, David & Mary           LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.           Also petition and Omnibus         18015 Highway 40
                                                                                                                                         I                  Covington, LA 70435

King, David and Mary         LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                              Also Omnibus V and             18015 Highway 40
                                                                                                                              individual complaint          Covington, LA 70435

Kitts, Corey and Monique     LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Enterprises                     Also Omnibus I             3123 Riverlanding Dr.
                                                                                                                                                             Addis, LA 70710

Kitts, Corey and Monique     LA      Omnibus I ( Defendant is Interior Exterior Enterprises LLC)                                Also Omnibus V             3123 Riverlanding Dr.
                                                                                                                                                             Addis, LA 70710

Kustenmacher, Kenneth &      LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,                Also Omnibus IV
Julie                                Interior Exterior Enterprises

Kustenmacher, Kenneth &      LA      Omnibus IV - Rogers - Interior Exterior Building Supply LP, Interior Exterior              Also Omnibus V
Julie                                Enterprises LLC



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LaCroix, Jim                   LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.         Also Omnibus I                 1429 Natchez Loop
                                                                                                                                                          Covington, LA 70433

LaCroix, Jim                   LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                         Also Omnibus V                 1429 Natchez Loop
                                                                                                                                                          Covington, LA 70433

Landry, Gerard and Leatrice    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.         Also Omnibus I                   1921 Bayou Rd.
                                                                                                                                                         St. Bernard, LA 70085

Landry, Gerard and Leatrice    LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                         Also Omnibus V                   1921 Bayou Rd.
                                                                                                                                                         St. Bernard, LA 70085

Lang, Joe and Amy              LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,         Also Omnibus I                   101 Rue Merlot
                                       Interior Exterior Enterprises                                                                                    Abita Springs, LA 70420

Lang, Joe and Amy              LA      Omnibus I (Defendant is Exterior Exterior Building Supply, Interior Exterior        Also Omnibus V                   101 Rue Merlot
                                       Enterprises LLC)                                                                                                 Abita Springs, LA 70420

Langlois, Rebecca and          LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.         Also Omnibus I            7706 N. Jefferson Place Circle,
Robert                                                                                                                                                           Apt. A
                                                                                                                                                        Baton Rouge, LA 70809

Langlois, Rebecca and          LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                         Also Omnibus V            7706 N. Jefferson Place Circle,
Robert                                                                                                                                                           Apt. A
                                                                                                                                                        Baton Rouge, LA 70809

Lartigue, C.W. and Margaret    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,    Also Petition filed 08/10/10         4305 Cleary Ave.
                                       Interior Exterior Enterprises                                                        and Omnibus I                  Metairie, LA 70002

Lartigue, C.W. and Margaret    LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                    Also Petition filed 08/10/10         4305 Cleary Ave.
                                                                                                                           and Omnibus V                   Metairie, LA 70002

Lassere, Paul                  LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Enterprises              Also Omnibus I                14442 Samantha Dr.
                                                                                                                                                        Port Vincent, LA 70726

Lassere, Paul                  LA      Omnibus I ( Defendant is Interior Exterior Enterprises LLC)                         Also Omnibus V                14442 Samantha Dr.
                                                                                                                                                        Port Vincent, LA 70726

Laurence, Marc and Michelle    LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply)

Lawson, Edward                MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Leblanc, Calvin                LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior     Also individual complaint
                                       Building Supply & Enterprises)




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LeBlance, Calvin and Sara      LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.               Also Omnibus I         40145 Taylor's Train - Unit 1003
                                                                                                                                                               Slidell, LA 70461

LeBlance, Calvin and Sara      LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                              Also Omnibus V          40145 Taylor's Train - Unit 1003
                                                                                                                                                               Slidell, LA 70461

LeBourgeois, Louis P.,         LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Monsignor                              Building Supply & Enterprises)

Lejeune, Michael and           LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.               Also Omnibus I              680 Silverthome Ln.
Melissa                                                                                                                                                      Covington, LA 70433

Lejeune, Michael and           LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                              Also Omnibus V               680 Silverthome Ln.
Melissa                                                                                                                                                      Covington, LA 70433

Macmurdo, William and          LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.               Also Omnibus I              6553 Antoch Crossing
Cornelia                                                                                                                                                    Baton Rouge, LA 70817

Macmurdo, William and          LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                              Also Omnibus V               6553 Antoch Crossing
Cornelia                                                                                                                                                    Baton Rouge, LA 70817

Maillot, Georges and Janice    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.               Also Omnibus I                9 Tupelo Trace
                                                                                                                                                             Mandeville, LA 70471

Maillot, Georges and Janice    LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                              Also Omnibus V                 9 Tupelo Trace
                                                                                                                                                             Mandeville, LA 70471

Mantrana, Anthony & Debra      LA      Intervening Plaintiff in Gross Omnibus (Defendant is Exterior Exterior Building
                                       Supply)

Martin, Michael                LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                          Also Amended Omnibus V             320 Leslie Lane
                                                                                                                            and Individual Complaint        New Orleans, LA 70124

Martin, Michael                LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.          Also petition and Omnibus          320 Leslie Lane
                                                                                                                                          I                 New Orleans, LA 70124

Martin, Sheldon & Julia        LA      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply)

Martinez, John & Melanie       LA      Intervening Plaintiff in Gross Omnibus (Defendant is Exterior Exterior Building
                                       Supply)

Matrana, Jeff                  LA      Intervening Plaintiff in Gross Omnibus (Defendant is Exterior Exterior Building
                                       Supply)

Mayo, Edward and               LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,              Also Omnibus III
Jacqueline                             Interior Exterior Enterprises



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Mayo, Edward and               LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,                  Also Omnibus V
Jacqueline                             Interior Exterior Enterprises LLC

McCoy, Clyde & Ira             LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,              Also Omnibus IV
                                       Interior Exterior Enterprises

McCoy, Clyde & Ira             LA      Omnibus IV - Rogers - Interior Exterior Building Supply LP, Interior Exterior            Also Omnibus V
                                       Enterprises LLC

McLain, Jon Scott              LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,               Also Omnibus II
                                       Interior Exterior Enterprises

McLain, Jon Scott              LA      Omnibus II - Wiltz - (and Amended) Interior Exterior Building Supply LP, Interior        Also Omnibus V
                                       Exterior Enterprises LLC

Melerine, Clifton & Glenda     LA      Intervening Plaintiff in Gross Omnibus (Defendant is Exterior Exterior Building
                                       Supply)

Methvin, William and           LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,               Also Omnibus I            2800 Debouchet Blvd.
Deborah                                Interior Exterior Enterprises                                                                                        Meraux, LA 70075

Methvin, William and           LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior            Also Omnibus V             2800 Debouchet Blvd.
Deborah                                Enterprises LLC)                                                                                                     Meraux, LA 70075

Meyer, Lawrence & Elizabeth    LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                          Also Amended Omnibus V           29310 Laurel Dr.
                                                                                                                            and Individual Complaint        Lacombe, LA 70445

Meyer, Lawrence & Elizabeth    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.          Also petition and Omnibus        29310 Laurel Dr.
                                                                                                                                          I                 Lacombe, LA 70445

Middleton, Michael and         LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Enterprises                    Also Omnibus I           18725 Tall Oaks Court
Megham                                                                                                                                                    Baton Rouge, LA 70817

Middleton, Michael and         LA      Omnibus I ( Defendant is Interior Exterior Enterprises LLC)                              Also Omnibus V            18725 Tall Oaks Court
Megham                                                                                                                                                    Baton Rouge, LA 70817

Milliet, Joel & Pearl          LA      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Mills, Jeannette               LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,          Also Petition 05/08/10 and     11052 Shoreline Dr.
                                       Interior Exterior Enterprises                                                               Omnibus I              Baton Rouge, LA 70809

Mills, Jeannette               LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior        Also Petition 05/08/10 and     11052 Shoreline Dr.
                                       Enterprises LLC)                                                                            Omnibus V              Baton Rouge, LA 70809

Mitchell, Donald               LA      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                        6140/42 Pontchartrain Blvd.
                                       Building Supply & Enterprises)                                                                                      New Orleans, LA 70124



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Molinere, Eillen and Carol    LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                      Building Supply & Enterprises)

Mora, August, Jr.             LA      Intervening Plaintiff in Wiltz Omnibus II (Defendant is Exterior Exterior Building
                                      Supply)

Morici, Mark and Maureen      LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,                 Also Omnibus I                 6555 Ave. B
                                      Interior Exterior Enterprises                                                                                          New Orleans, LA 70124

Morici, Mark and Maureen      LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior               Also Omnibus V                 6555 Ave. B
                                      Enterprises LLC)                                                                                                       New Orleans, LA 70124

Morlas, Ralph                 LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,           Also Omnibus I, III, IV and      2 South Court Ville Drive
                                      Interior Exterior Enterprises                                                            Individual complaint           Mandeville, LA 70476

Morlas, Ralph                 LA      Omnibus IV - Rogers - Interior Exterior Building Supply LP, Interior Exterior          Also Omnibus I, III, V and      2 South Court Ville Drive
                                      Enterprises LLC                                                                          Individual complaint           Mandeville, LA 70476

Morlas, Ralph                 LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,                 Also Omnibus I, IV, V &        2 South Court Ville Drive
                                      Interior Exterior Enterprises LLC                                                        Individual complaint           Mandeville, LA 70476

Morlas, Ralph and Paula       LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                           Also Omnibus III, IV, V and      2 South Court Ville Drive
                                                                                                                               individual Complaint           Mandeville, LA 70476

Musgrave, Richard and         LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.                 Also Omnibus I                6864 Colbert St.
Michele                                                                                                                                                      New Orleans, LA 70124

Musgrave, Richard and         LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior               Also Omnibus V                6864 Colbert St.
Michele                               Enterprises LLC)                                                                                                       New Orleans, LA 70124

Naden, Craig and Roberta      LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,            Also individual complaint         5263 Courtyard Dr.
                                      Interior Exterior Enterprises                                                                and Omnibus I               Gonzales, LA 70737

Naden, Craig and Roberta      LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior          Also individual complaint         5263 Courtyard Dr.
                                      Enterprises LLC) Claim Letter received 04/09/10                                             and Omnibus V                Gonzales, LA 70737

Ney, Connie and Terry         LA      Intervening plaintiff in Wiltz Omnibus IIB (Defendant is Exterior Exterior Building
                                      Supply & Enterprises)

Niswonger, Mary M.            LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,            Also individual complaint
                                      Interior Exterior Enterprises                                                         and Omnibus III,Intervening
                                                                                                                             plaintiff in Wiltz Omnibus
                                                                                                                                          IIB

Niswonger, Mary M.            LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,                Also individual complaint
                                      Interior Exterior Enterprises LLC                                                           and Omnibus V,
                                                                                                                            Intervening plaintiff in Wiltz
                                                                                                                                    Omnibus IIB


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Niswonger, Mary M.           LA      Intervening plaintiff in Wiltz Omnibus IIB (Defendant is Exterior Exterior Building     Individual complaint,
                                     Supply & Enterprises)                                                                     Omnibus III and V

Nunez, Ernest and Marie      LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.                Also Omnibus I            612 Hussman Ln.
                                                                                                                                                         Covington, LA 70435

Nunez, Ernest and Marie      LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                               Also Omnibus V             612 Hussman Ln.
                                                                                                                                                         Covington, LA 70435

Nunez, Frederick and Lisa    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,            Individual petition filed    123 Dominion Blvd.
                                     Interior Exterior Enterprises                                                         07/27/10 and 08/02/10 and    Madisonville, LA 70447
                                                                                                                                   Omnibus I

Nunez, Frederick and Lisa    LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior          Individual petition filed    123 Dominion Blvd.
                                     Enterprises LLC)                                                                      07/27/10 and 08/02/10 and    Madisonville, LA 70447
                                                                                                                                  Omnibus V

Oliver, Gregory & Payena,    LA      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
Catherine                            Supply)

Olson, Olaf and Wanda        LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,                Also Omnibus I          61880 Shady Pine Rd.
                                     Interior Exterior Enterprises                                                                                       Lacombe, LA 70445

Olson, Olaf and Wanda        LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior             Also Omnibus V           61880 Shady Pine Rd.
                                     Enterprises LLC)                                                                                                    Lacombe, LA 70445

Orduna, Albert and Judith    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,                Also Omnibus I             4109 Jasper St.
                                     Interior Exterior Enterprises                                                                                        Metairie, LA 70002

Orduna, Albert and Judith    LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior             Also Omnibus V              4109 Jasper St.
                                     Enterprises LLC)                                                                                                     Metairie, LA 70002

Parr, Shelly and Kelly       LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Enterprises                   Also Omnibus I and          683 Solomon Dr.
                                                                                                                                    petition             Covington, LA 70433

Parr, Shelly and Kelly       LA      Omnibus I ( Defendant is Interior Exterior Enterprises LLC)                             Also Omnibus V and           683 Solomon Dr.
                                                                                                                              individual petition        Covington, LA 70433

Pasentine, Judith Ellen      LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,                Also Omnibus I            2360 5th Street
                                     Interior Exterior Enterprises                                                                                      Mandeville, LA 70471

Pasentine, Judith Ellen      LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior             Also Omnibus V             2360 5th Street
                                     Enterprises LLC)                                                                                                   Mandeville, LA 70471

Patin, Danielle              LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,                Also Omnibus I           5012 Pauger Street
                                     Interior Exterior Enterprises                                                                                      New Orleans, LA 70122




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Patin, Danielle               LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior       Also Omnibus V           5012 Pauger Street
                                      Enterprises LLC)                                                                                            New Orleans, LA 70122

Patin, Vanessa                LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                      Building Supply & Enterprises)

Payton, Sean and Beth         LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.          Also Omnibus I           53 Preserve Lane
                                                                                                                                                   Mandeville, LA 70471

Payton, Sean and Beth         LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                         Also Omnibus V            53 Preserve Lane
                                                                                                                                                   Mandeville, LA 70471

Pelias, Gus o/b/o Merle       LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Pelias                                Building Supply & Enterprises)

Pelican Point Properties      LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,         Also Omnibus IV
L.L.C.                                Interior Exterior Enterprises

Pelican Point Properties      LA      Omnibus IV - Rogers - Interior Exterior Building Supply LP, Interior Exterior       Also Omnibus V
L.L.C.                                Enterprises LLC

Pentecost, Mary Louise        LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Enterprises               Also Omnibus I          17834 E. Augusta Dr.
                                                                                                                                                  Baton Rouge, LA 70810

Pentecost, Mary Louise        LA      Omnibus I ( Defendant is Interior Exterior Enterprises LLC)                         Also Omnibus V           17834 E. Augusta Dr.
                                                                                                                                                  Baton Rouge, LA 70810

Peres, Tony and Kathy         LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                       Also Omnibus V and            4825 Tracy St.
                                                                                                                        individual complaint         Violet, LA 70092

Peres, Tony and Kathy         LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.     Also Petition and Omnibus       4825 Tracy St.
                                                                                                                                    I                Violet, LA 70092

Petagna, Brent and Lisa       LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,          Also Omnibus I           2619 Octavia St.
                                      Interior Exterior Enterprises                                                                               New Orleans, LA 70115

Petagna, Brent and Lisa       LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior       Also Omnibus V            2619 Octavia St.
                                      Enterprises LLC)                                                                                            New Orleans, LA 70115

Peters, Ronald                LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.          Also Omnibus I         76600 S. Fitzmorris Rd.
                                                                                                                                                   Covington, LA 70435

Peters, Ronald                LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                         Also Omnibus V          76600 S. Fitzmorris Rd
                                                                                                                                                   Covington, LA 70435

Petrey, Charles and Marcia    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,          Also Omnibus I              4 Finch Ln.
                                      Interior Exterior Enterprises                                                                                Mandeville, LA 70471



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Petrey, Charles and Marcia     LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior         Also Omnibus V               4 Finch Ln.
                                       Enterprises LLC)                                                                                               Mandeville, LA 70471

Pierson, Jan & Neil            LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior     Also Amended Omnibus V          348 Jade Ct.
                                       Enterprises LLC)                                                                  and Individual Complaint    Madisonville, LA 70447

Pierson, Jan & Neil            LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,       Also petition and Omnibus       348 Jade Ct.
                                       Interior Exterior Enterprises                                                                   I             Madisonville, LA 70447

Pilet, Dennis                  LA      Intervening Plaintiff in Gross Omnibus (Defendant is Exterior Exterior Building
                                       Supply)

Piwetz, Randy and Jeanne       LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.            Also Omnibus I          19635 Sunshine Ave.
                                                                                                                                                      Covington, LA 70433

Piwetz, Randy and Jeanne       LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                           Also Omnibus V           19635 Sunshine Ave.
                                                                                                                                                      Covington, LA 70433

Price, Joshua & Kimberlea      LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.       Also petition and Omnibus       117 Rue Merlot
                                                                                                                                       I             Abita Springs, LA 70420

Price, Joshua and Kimberlea    LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                       Also Amended Omnibus V          117 Rue Merlot
                                                                                                                         and Individual Complaint    Abita Springs, LA 70420

Puig, Donald and Marcelyn      LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.            Also Omnibus I         302 Tallow Creek Blvd.
                                                                                                                                                      Covington, LA 70433

Puig, Donald and Marcelyn      LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                           Also Omnibus V          302 Tallow Creek Blvd.
                                                                                                                                                      Covington, LA 70433

Quick, William and Maxime      LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.            Also Omnibus I          4610 Frenchmen St.
                                                                                                                                                     New Orleans, LA 70122

Quick, William and Maxime      LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                           Also Omnibus V           4610 Frenchmen St.
                                                                                                                                                     New Orleans, LA 70122

Quilio, Sandra                 LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,          Also Omnibus I and       225 Carriage Pines Lane
                                       Interior Exterior Enterprises                                                              petition             Covington, LA 70835

Quilio, Sandra                 LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior       Also Omnibus V and        225 Carriage Pines Lane
                                       Enterprises LLC)                                                                          Petition              Covington, LA 70835

Raborn, Randy and Pamela       LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Enterprises                 Also Omnibus I         31650 Tickfaw Acre, Rd.
                                                                                                                                                        Holden, LA 70744

Raborn, Randy and Pamela       LA      Omnibus I ( Defendant is Interior Exterior Enterprises LLC)                           Also Omnibus V          31650 Tickfaw Acre, Rd.
                                                                                                                                                        Holden, LA 70744



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Ragusa, Ben                    LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Randazzo, Virginia             LA      Intervening plaintiff in Wiltz Omnibus IIB (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Redmond, John & Maria          LA      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply & Enterprises)

Reynolds, Karen                LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,             Also Omnibus III
                                       Interior Exterior Enterprises

Reynolds, Karen                LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,                 Also Omnibus V
                                       Interior Exterior Enterprises LLC

Riggio, Brenda and Ignatius    LA      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                     636 Huseman Ln.
                                       Building Supply & Enterprises)                                                                                Covington, LA 70435

Rigney, George and Raffy       LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.             Also Omnibus I       42166 Autumn Run Dr.
                                                                                                                                                     Hammon, LA 70403

Rigney, George and Raffy       LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                             Also Omnibus V       42166 Autumn Run Dr.
                                                                                                                                                     Hammon, LA 70403

Robair, Alexander              LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,             Also Omnibus I       39058 Bayou View Ave.
                                       Interior Exterior Enterprises                                                                                 Gonzales, LA 70737

Robair, Alexander              LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior           Also Omnibus V       39058 Bayou View Ave.
                                       Enterprises LLC)                                                                                              Gonzales, LA 70737

Robbins, Margaret and          LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,             Also Omnibus I       39130 Old Bayou Ave.
Glenwood                               Interior Exterior Enterprises                                                                                 Gonzales, LA 70737

Robbins, Margaret and          LA      Omnibus I (Defendant is Interior Exterior Building Supply)                              Also Omnibus V       39130 Old Bayou Ave.
Glenwood                                                                                                                                             Gonzales, LA 70737

Robin, Charles III             LA      Intervening Plaintiff in Gross Omnibus (Defendant is Exterior Exterior Building
                                       Supply)

Rodosta, Toni                  LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.             Also Omnibus I        1219 Rue Degas
                                                                                                                                                    Mandeville, LA 70471

Rodosta, Toni                  LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                             Also Omnibus V        1219 Rue Degas
                                                                                                                                                    Mandeville, LA 70471

Rogers, Joyce W.               LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,           Also Omnibus IV and
                                       Interior Exterior Enterprises                                                         individual complaint



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Rogers, Joyce W.               LA      Omnibus IV - Rogers - Interior Exterior Building Supply LP, Interior Exterior          Also Omnibus V and
                                       Enterprises LLC                                                                        individual complaint

Rosetta, Dufrene and Ernest    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.               Also Omnibus I         166 Emerald Oaks Dr.
                                                                                                                                                         Covington, LA 70433

Rosetta, Dufrene and Ernest    LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                               Also Omnibus V         166 Emerald Oaks Dr.
                                                                                                                                                         Covington, LA 70433

Ruesch, Kevin                  LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.          Also Petition and Omnibus     7860 Highland Rd.
                                                                                                                                          I             Baton Rouge, LA 70808

Ruesch, Kevin and Dorothy      LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                          Also Amended Omnibus V        7860 Highland Rd.
                                                                                                                            and Individual Complaint    Baton Rouge, LA 70808

Russo, John                    LA      Intervening Plaintiff in Gross Omnibus (Defendant is Exterior Exterior Building
                                       Supply)

Ryckman, Rickey                LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,              Also Omnibus III
                                       Interior Exterior Enterprises

Ryckman, Rickey                LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,                   Also Omnibus V
                                       Interior Exterior Enterprises LLC

Sander, Karl                   LA      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply)

Schields, Larry                LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,               Also Omnibus I         808 W. Harbour Court
                                       Interior Exterior Enterprises                                                                                      Ocoee, FL 34761

Schields, Larry                LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior             Also Omnibus V         808 W. Harbour Court
                                       Enterprises LLC)                                                                                                   Ocoee, FL 34761

Schmitt, Leah, Todd            LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                               Also Omnibus V           663 Solomon Dr.
                                                                                                                                                         Covington, LA 70433

Schmitt, Leah, Todd;           LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.               Also Omnibus I
Hammond Anne; Cangelosi,
Pam

Segreto, Mark and Victoria     LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.              Also Omnibus I and         36 W. Park Pl.
                                                                                                                               individual complaint     New Orleans, LA 70124

Segreto, Mark and Victoria     LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                               Also Omnibus V            36 W. Park Pl.
                                                                                                                                                        New Orleans, LA 70124

Serigne, Paul & Hope           LA      Intervening Plaintiff in Gross Omnibus (Defendant is Exterior Exterior Building
                                       Supply)

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Sewell, Michael and Laura      LA      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                  3019 Joseph St.
                                       Building Supply & Enterprises)                                                                           New Orleans, LA 70125

Shaw, Stephan and Ann          LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Shelton, Michael and Leslie    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.          Also Omnibus I       568 Huseman Lane
                                                                                                                                                 Covington, LA 70435

Shelton, Michael and Leslie    LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                          Also Omnibus V       568 Huseman Lane
                                                                                                                                                 Covington, LA 70435

Sicard, Austin                 LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.          Also Omnibus I        3112 Lloyds Ave.
                                                                                                                                                 Chalmette, LA 70043

Sicard, Austin                 LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                          Also Omnibus V        3112 Lloyds Ave.
                                                                                                                                                 Chalmette, LA 70043

Silvestri, Susan               LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.          Also Omnibus I         154 Islander Dr.
                                                                                                                                                   Slidell, LA 70458

Silvestri, Susan               LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                          Also Omnibus V         154 Islander Dr.
                                                                                                                                                   Slidell, LA 70458

Singleton, Enrica              LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,          Also Omnibus I      11413 Longview Drive
                                       Interior Exterior Enterprises                                                                            New Orleans, LA 70128

Singleton, Enrica              LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior        Also Omnibus V      11413 Longview Drive
                                       Enterprises LLC)                                                                                         New Orleans, LA 70128

Singleton, Jenel               LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Skinner, Helena                LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.          Also Omnibus I        29300 Laurel Dr.
                                                                                                                                                 Lacombe, LA 70445

Skinner, Helena                LA      Omnibus I (Defendant is Exterior Exterior Building Supply)                           Also Omnibus V        29300 Laurel Dr.
                                                                                                                                                 Lacombe, LA 70445

Skinner, Robert & Louvin       LA      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply)

Smith, Clinton and Kelly       LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,          Also Omnibus I        211 Oakmont Dr.
                                       Interior Exterior Enterprises                                                                            New Orleans, LA 70128

Smith, Clinton and Kelly       LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior        Also Omnibus V        211 Oakmont Dr.
                                       Enterprises LLC)                                                                                         New Orleans, LA 70128



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Spencer, Patricia             LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.            Also Omnibus I          3637 Edgewood Ct.
                                                                                                                                                     Avondale, LA 70094

Spencer, Patricia             LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                           Also Omnibus V           3637 Edgewood Ct.
                                                                                                                                                     Avondale, LA 70094

St, Martin, Janell            LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                           Also Omnibus V           47801 Demontlutin St.
                                                                                                                                                    New Orleans, LA 70122

St, Martin, Janell            LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.            Also Omnibus I          47801 Demontlutin St.
                                                                                                                                                    New Orleans, LA 70122

Staub, Dana and Marcus        LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,       Also petition and Omnibus
                                      Interior Exterior Enterprises                                                                  III

Staub, Dana and Marcus        LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,           Also petition and Omnibus
                                      Interior Exterior Enterprises LLC -                                                            V

Steele, Jason and Peny        LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,            Also Omnibus I           2321 Maureen Ln.
                                      Interior Exterior Enterprises                                                                                   Meraux, LA 70072

Steele, Jason and Peny        LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior         Also Omnibus V            2321 Maureen Ln.
                                      Enterprises LLC)                                                                                                Meraux, LA 70072

Steffy, Sandra                LA      Intervening Plaintiff in Gross Omnibus (Defendant is Exterior Exterior Building
                                      Supply)

Stewart, Stephen & Joan       LA      Intervening Plaintiff in Rogers Omnibus IV (Defendant is Exterior Exterior
                                      Building Supply & Enterprises)

Stone, Thomas and Lauren      LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,           Also Omnibus III
                                      Interior Exterior Enterprises

Stone, Thomas and Lauren      LA      Omnibus III -Benes - Interior Exterior Building Supply LP, Interior Exterior          Also Omnibus V
                                      Enterprises LLC

Swan, Katie Marie Cappel      LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
and Brian Joseph                      Building Supply & Enterprises)

Tabor, Edward and Emmilou     LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,            Also Omnibus I            4712 Reich St.
                                      Interior Exterior Enterprises                                                                                   Metairie, LA 70006

Tabor, Edward and Emmilou     LA      Omnibus I (Defendant is Exterior Exterior Building Supply, Interior Exterior          Also Omnibus V             4712 Reich St.
                                      Enterprises LLC)                                                                                                Metairie, LA 70006

Teal, Evelyn Ann Dickinson    LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
and Bobby Joe                         Building Supply & Enterprises)



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Teal, Kelly Broaddus and      LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Steven Edward                         Building Supply & Enterprises)

Theard, Avery and Tjaynell    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,       Also Omnibus III
                                      Interior Exterior Enterprises

Theard, Avery and Tjaynell    LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,           Also Omnibus V
                                      Interior Exterior Enterprises LLC

Thomas, Darlene and James     LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.        Also Omnibus I           17152 Jo Boy Rd.
                                                                                                                                                 Prairieville, LA 70769

Thomas, Darlene and James     LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                       Also Omnibus V            17152 Jo Boy Rd.
                                                                                                                                                 Prairieville, LA 70769

Thompson, Melanie             LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                      Building Supply)

Tiemann, Richard and Jean     LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.        Also Omnibus I         3613 Lake Providence
                                                                                                                                                  Harvey, LA 70058

Tiemann, Richard and Jean     LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                       Also Omnibus V          3613 Lake Providence
                                                                                                                                                  Harvey, LA 70058

Tomeny, Phillip               LA      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                   46 Mayhaw Rd.
                                      Building Supply & Enterprises)                                                                             Covington, LA 70433

Toras, Nikolaos               LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.        Also Omnibus I            46 Mayhaw Rd.
                                                                                                                                                 Covington, LA 70433

Toras, Nikolaos               LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                       Also Omnibus V              3621 Lime St.
                                                                                                                                                  Metairie, LA 70006

Torrance, Matthew and Mary    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.        Also Omnibus I            4240 Tupello St.
                                                                                                                                                Baton Rouge, LA 70808

Torrance, Matthew and Mary    LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                       Also Omnibus V             4240 Tupello St.
                                                                                                                                                Baton Rouge, LA 70808

Travis, Michael and Donna     LA      Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                      Building Supply & Enterprises)

Van Winkle, Ronnie            LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.   Also Petition and Omnibus       70304 8th St.
                                                                                                                                  I              Covington, LA 70433

Van Winkle, Ronnie and        LA      Omnibus I Only ( Defendant is Interior Exterior Building Supply)              Also Amended Omnibus V          70304 8th St.
Anne                                                                                                                and Individual Complaint     Covington, LA 70433



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Velez, Louis                    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,           Also individual com[plaint,
                                        Interior Exterior Enterprises                                                           intervening planitiff in
                                                                                                                                 Payton & Omnibus III

Velez, Louis                    LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,               Also Individual complaint
                                        Interior Exterior Enterprises LLC                                                     with Gross & intervening
                                                                                                                               plaintiff in Payton, and
                                                                                                                                     Omnibus V

Velez, Louis                    LA      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building     Also Omnibus III, V, and
                                        Supply)                                                                                  Individual complaint

Verrett, Chavis and             LA      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                               6939 Lagoon Court
Catherine                               Building Supply & Enterprises)                                                                                       Greenwell Springs, LA 70739

Villaneva, Lanny                LA      Intervening Plaintiff in Gross Omnibus (Defendant is Exterior Exterior Building
                                        Supply)

Voebel, Matt and Villanueva,    LA      Intervening plaintiff in Wiltz Omnibus IIB (Defendant is Exterior Exterior Building
lauren                                  Supply & Enterprises)

Waguespack, Jacques &           LA      Omnibus I Only ( Defendant is Interior Exterior Building Supply)                      Also Amended Omnibus V        1325 West Causeway Approach
Nicole                                                                                                                        and Individual Complaint          Mandeville, LA 70471

Waguespack, Jacques &           LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.           Also petition and Omnibus     1325 West Causeway Approach
Nicole                                                                                                                                      I                   Mandeville, LA 70471

Ward, Amy and Truman            LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,           Also Individual Complaint          5367 Courtyard Dr.
                                        Interior Exterior Enterprises                                                               and Omnibus I                Gonzales, LA 70737

Ward, Amy and Truman            LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior         Also Individual Complaint          5367 Courtyard Dr.
                                        Enterprises LLC) Claim Letter received 04/09/10                                            and Omnibus V                 Gonzales, LA 70737

Watts, Darlene and Dennis       LA      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                                 13320 Jocelyn
                                        Building Supply & Enterprises)                                                                                            Walker, AL 70785

Wayne, William & Kelly          LA      Omnibus I ( Defendant is Interior Exterior Enterprises LLC)                           Also Amended Omnibus V           419 W. Suncrest Loop,
                                                                                                                              and Individual Complaint          Covington, LA 70737

Wayne, William & Kelly          LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.           Also Individual Complaint        419 W. Suncrest Loop,
                                                                                                                                    and Omnibus I               Covington, LA 70737

Wenzel, John and Lorraine       LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,                Also Omnibus I              80190 Red Hawk Lane
                                        Interior Exterior Enterprises                                                                                             Bush, LA 70431

Wenzel, John and Lorraine       LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior              Also Omnibus V              80190 Red Hawk Lane
                                        Enterprises LLC)                                                                                                          Bush, LA 70431



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Whitaker, Robert & Dana      LA      Omnibus IV - Rogers - Interior Exterior Building Supply LP, Interior Exterior         Also Omnibus I, IV and V     104 Squaw Court
                                     Enterprises LLC                                                                                                   Covington, LA 70435

Whitaker, Robert & Dana      LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,            Also Omnibus IV and I
                                     Interior Exterior Enterprises

Whitaker, Robert and Dana    LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior          Also Omnibus IV & V         104 Squaw Court
                                     Enterprises LLC)                                                                                                  Covington, LA 70435

White, Taeneia               LA      Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building     Also petition 06/20/10
                                     Supply)

Wilfer, Roseanne             LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,               Also Omnibus III
                                     Interior Exterior Enterprises

Wilfer, Roseanne             LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,                   Also Omnibus V
                                     Interior Exterior Enterprises LLC - Claim letter

Williams, Arnell             LA      Intervening plaintiff in Wiltz Omnibus IIB (Defendant is Exterior Exterior Building
                                     Supply & Enterprises)

Williams, Diana and Terry    LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.               Also Omnibus I            520 Mare Court
                                                                                                                                                       Covington, LA 70435

Wischler, Robert             LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,               Also Omnibus III
                                     Interior Exterior Enterprises

Wischler, Robert             LA      Omnibus III -Benes -(and Amended) Interior Exterior Building Supply LP,                   Also Omnibus V
                                     Interior Exterior Enterprises LLC

Youmans, Dr. Cassandra       LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,               Also Omnibus I          5201 Chamberlain Dr.
                                     Interior Exterior Enterprises                                                                                    New Orleans, LA 70122

Youmans, Dr. Cassandra       LA      Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior             Also Omnibus V          5201 Chamberlain Dr.
                                     Enterprises LLC) - Claim letter                                                                                  New Orleans, LA 70122

Young, Linda and Raymond     LA      Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.               Also Omnibus I           577 Huseman Ln.
                                                                                                                                                       Covington, LA 70435

Young, Linda and Raymond     LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                               Also Omnibus V           577 Huseman Ln.
                                                                                                                                                       Covington, LA 70435

Barry, John and Sandra       LA      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)               Also Complaint            69267 3rd Ave.
                                                                                                                                                       Covington, LA 70433

Berry, Tiffany               LA      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                      839 Montgomery St.
                                                                                                                                                      Mandeville, LA 70448



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Carey, Catherine and             LA      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)          Also Petition            297 Penn Mill Lakes Blvd.
Charles                                                                                                                                                  Covington, LA 70435

Crovetto, Barbara H.             LA      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)          Also Petition            236 Lake Orleans Blvd.
                                                                                                                                                       Pontchatoula, LA 70454

Francis, Carrol A.               LA      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)   Also Petition in 19th and         13533 Ashby Ave.
                                                                                                                                  CDC                  Baton Rouge, LA 70815

Gardette, Michael and Nicole     LA      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                   268 Penn Mill Lakes Blvd.
                                                                                                                                                         Covington, LA 70435

Guice, Kenneth                   LA      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)       Omnibus V and IV              6333 South Johnson
                                                                                                                                                          New Orleans, LA
                                                                                                                                                                and
                                                                                                                                                        6333A South Johnson
                                                                                                                                                          New Orleans, LA

Hale, Delan and Paula            LA      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                   40189 Bennett Riley Rd.
                                                                                                                                                        Franklinton, LA 70438

Harbison, Paula                  LA      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)          Also Petition

Monte, Frank J., and Marti S.    LA      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)          Also Petition               5636 Cherlyn Dr.
                                                                                                                                                        New Orleans, LA 70124

New Orleans Area Habitat for     LA      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                        1829 Alvar St.
Humanity, Inc.                                                                                                                                          New Orleans, LA 70117

Roberts, Jeffrey                 LA      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                   285 Penn Mill Lakes Blvd.
                                                                                                                                                         Covington, LA 70435

Stanfield, Sidney                LA      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)          Also petition                1059 Linda Lou
                                                                                                                                                       Abita Springs, LA 70420

Temperato, John and              LA      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)          Also petition               225 W. 13th Ave.
Cynthia                                                                                                                                                  Covington, LA 70433

Washington, Diane T.             LA      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                   7501 East Oakridge Court
                                                                                                                                                        New Orleans, LA 70128

Alonzo, Lana                     LA      Omnibus VII (Defendant is Interior Exterior Building Supply & Enterprises)     III, V, VII and Petition in
                                                                                                                                   USDC

Campos, Carlos, A.               LA      Omnibus VII (Defendant is Interior Exterior Building Supply & Enterprises)      Intervening in I, VII and
                                                                                                                                 Petition

Cheramie, Bertoul and Joan       LA      Omnibus VII (Defendant is Interior Exterior Building Supply & Enterprises)    III, IV, V, IIB and Complaint

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Colomb, John and Sharon          LA      Omnibus VII (Defendant is Interior Exterior Building Supply & Enterprises)             Also V

Donaldson, Jill and Oertling,    LA      Omnibus VII (Defendant is Interior Exterior Building Supply)                     III, V and Petition
Jared

Gross, Cheryl and David          LA      Omnibus VII (Defendant is Interior Exterior Building Supply)                     III, V and Petition

Jones, Alice and Jeannie         LA      Omnibus VII (Defendant is Interior Exterior Building Supply & Enterprises)       Amended V and III

Pizani, Calvin and Lindsay       LA      Omnibus VII (Defendant is Interior Exterior Building Supply)                        Also Petition

Russo, John                      LA      Omnibus VII (Defendant is Interior Exterior Building Supply)                    Intervening in Gross

Ryckman, Rickey                  LA      Omnibus VII (Defendant is Interior Exterior Building Supply & Enterprises)       Amended V and III

Staub, Daria and Marcus          LA      Omnibus VII (Defendant is Interior Exterior Building Supply)                 III, V and Petition in USDC

Steffy, Sandra and Meyers        LA      Omnibus VII (Defendant is Interior Exterior Building Supply)                    Intervening in Gross
Peggy

Wiltz, Kenneth and Barbara       LA      Omnibus VII (Defendant is Interior Exterior Building Supply)                  II and Petition in USDC

Wischler, Robert                 LA      Omnibus VII (Defendant is Interior Exterior Building Supply)                     Amended V and III

Back, Charles and mary           LA      Omnibus VII (Defendant is Interior Exterior Enterprises)                              III and V

Blalock, Angeles                 LA      Omnibus VII (Defendant is Interior Exterior Enterprises)                     III, V and Petition in USDC

Blue, Johnny and Rachelle        LA      Omnibus VII (Defendant is Interior Exterior Enterprises)                       III, V, IIC and Petition

Borne, Barry and Mary            LA      Omnibus VII (Defendant is Interior Exterior Enterprises)                       III, V, IIC and Petition

Braselman, Holy                  LA      Omnibus VII (Defendant is Interior Exterior Enterprises)                       III, V, IIC and Petition

Callais, Gary and Michelle       LA      Omnibus VII (Defendant is Interior Exterior Enterprises)                         Amended V and III

Carrol, Cindy                    LA      Omnibus VII (Defendant is Interior Exterior Enterprises)                       II, III and Amended V

Eide, Stale and Anne             LA      Omnibus VII (Defendant is Interior Exterior Enterprises)                                 IIB

Fineschi, Nicola and Connie      LA      Omnibus VII (Defendant is Interior Exterior Enterprises)                      Amended V and III, and
                                                                                                                             Petition

Gammage, Dr. Daniel              LA      Omnibus VII (Defendant is Interior Exterior Enterprises)                        I, IIC, V and Petition



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Haskin, Tracy                  LA      Omnibus VII (Defendant is Interior Exterior Enterprises)                                  IIB

Kehoe, Molly                   LA      Omnibus VII (Defendant is Interior Exterior Enterprises)                       I, IIC, III, V and Petition

Ney, Connie and Terry          LA      Omnibus VII (Defendant is Interior Exterior Enterprises)                                  IIB

Wilfer, Roseanne               LA      Omnibus VII (Defendant is Interior Exterior Enterprises)                     III, Amended V and Petition

Donofrio, Michael and          LA      Omnibus VII (Defendant is Interior Exterior Building Supply & Enterprises)                                    2401 Jefferson, Ave.
Kristin                                                                                                                                             New Orleans, LA 70115

Harrison, Belinda              LA      Omnibus VII (Defendant is Interior Exterior Building Supply)                                                     1929 Alvar St.
                                                                                                                                                    New Orleans, LA 70117

Livers, Alvin J.               LA      Omnibus VII (Defendant is Interior Exterior Building Supply)                                                    930 Caffin Ave.
                                                                                                                                                    New Orleans, LA 70117

Morgan, Rochelle               LA      Omnibus VII (Defendant is Interior Exterior Building Supply)                                                     1925 Alvar St.
                                                                                                                                                    New Orleans, LA 70117

Smith, Curtis                  LA      Omnibus VII (Defendant is Interior Exterior Building Supply)                                                   2717 Palmetto St.
                                                                                                                                                     Chalmette, LA 70043

Washington, Javon              LA      Omnibus VII (Defendant is Interior Exterior Building Supply)                                                  3918 N. Johnson St.
                                                                                                                                                    New Orleans, LA 70117

Banner, Tammy                  LA      Omnibus VII (Defendant is Interior Exterior Enterprises)                                                        1206 Aycort St.
                                                                                                                                                       Arabi, LA 70032

Donmeyer, Scott and Kristin    LA      Omnibus VII (Defendant is Interior Exterior Enterprises)                                                      4436 Park Shore Dr.
                                                                                                                                                      Marrero, LA 70072

Taylor, Noel                   LA      Omnibus VII (Defendant is Interior Exterior Enterprises)                                                         3110 Law St.
                                                                                                                                                    New Orleans, LA 70117

Brumfield, Ollie and           LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                  Amended Omnibus V and            608 Husseman Lane
Andreienne                                                                                                            Individual complaint           Covington, LA 70435

Ceruti, Ronald and Sharon      LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                  Amended Omnibus V and             745 Spring Thyme
                                                                                                                      Individual complaint          Belle Chasse, LA 70037

Chiappetta, Kevin and Karen    LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                  Amended Omnibus V and            727 Arctic Fox Run
                                                                                                                      Individual complaint          Madisonville, LA 70447

Gaussiran, Maxi                LA      Omnibus I ( Defendant is Interior Exterior Building Supply)                    Amended Omnibus V             39768 Kellywood Blvd.
                                                                                                                                                    Ponchatoula, LA 70454



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Acevedo, John                  MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Alfonso, Glenn                 MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Allen, Kenneth and Cora        MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Allen, Teresa                  MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Antebellum, LLC                MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Atkins, Leonard                MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Bandyk, David and Lisa         MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply)

Barhonovich, Joseph Mario      MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Bartels, Kerry and Mary        MS       Omnibus I ( Defendant is Interior Exterior Building Supply)                  and Intervening plaintiff in      10491 Cal Lane
                                                                                                                        Payton Omnibus IB             Gulfport, MS 39503

Bartles, Kerry and Marie       MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior         and Omnibus I               10491 Cal Lane
                                        Building Supply & Enterprises)                                                                                Gulfport, MS 39503

Bell, James and June           MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                    2107 Hollywood Dr.
                                        Building Supply & Enterprises)                                                                              Bay St. Louis, MS 39520

Bennet, John o/b/o Gulf        MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Coast mental Health Center              Building Supply & Enterprises)

Bettencourt, Virgil and Mary   MS       Omnibus I Only ( Defendant is Interior Exterior Building Supply)                                             23473 Woodland Way
                                                                                                                                                    Pass Christian, MS 39571

Betzer, Lenny                  MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                   211 Fair Way Dr., Pass
                                        Building Supply & Enterprises)                                                                                Christian, MS 39571

Blacker, Bruce                 MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                        921 Latil St.
                                        Building Supply & Enterprises)                                                                               Long Beach, MS 39560

Blackledge, Ronald             MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)



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Blacklidge, Rhonny            MS       Omnibus I Only ( Defendant is Interior Exterior Building Supply)                                                      1105 Channelside Dr.
                                                                                                                                                              Gulfport, MS 39503

Bond, Charles and Patty       MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                            11561 Briarstone Pl.
                                       Building Supply & Enterprises)                                                                                        Gulfport, MS 39503

Brashier, Jim                 MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Braud, Maryann                MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Braun Enterprises             MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Braun, Steve and Helen        MS       Omnibus I ( Defendant is Interior Exterior Building Supply)                          and Intervening plaintiff in       8900 Chikapee
                                                                                                                               Payton Omnibus IB           Ocean Springs, MS 39564

Braun, Steve and Helen        MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior                 and omnibus I                8900 Chikapee
                                       Building Supply & Enterprises)                                                                                      Ocean Springs, MS 39564

Cabrera, Michael              MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Calcutta, Richard and Debra   MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                          2820 Villa Venezia Court
                                       Building Supply & Enterprises)                                                                                      Ocean Springs, MS 39564

Chapman, Patrick and          MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Elizabeth                              Building Supply & Enterprises)

Coats, Chuck                  MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Cobb, Tommy & Peggy           MS       Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply)

Coiro, Donna                  MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Conner, Virginia              MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Corona, Vincent and Barbara   MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                              737 Kahala Dr.
                                       Building Supply & Enterprises)                                                                                      Diamondhead, MS 39525

Cottone, Joseph               MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)



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Courtier, Bill and Kathy    MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Cowand, Mac                 MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Cox, Paul                   MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                      203 Felicity St.
                                     Building Supply & Enterprises)                                                                              Bay St. Louis, MS 39520

Craig, Brandy and James     MS       Omnibus I ( Defendant is Interior Exterior Building Supply)                  and Intervening plaintiff in      12293 Thome Blvd.
                                                                                                                     Payton Omnibus IB               Biloxi, MS 39532

Craig, Brandy and James     MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior           Omnibus I                 12293 Thome Blvd.
                                     Building Supply & Enterprises)                                                                                  Biloxi, MS 39532

Crose, Casey                MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Curthards, Nicholas         MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Dauro, Dennis               MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Davis, Elliott and Teyona   MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                      9312 Alcove Ln.
                                     Building Supply & Enterprises)                                                                              Ocean Springs, MS 39564

Dean, Lisa and Don          MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Delano, Todd                MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Ditta, Peggy                MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                     8310 Maunalani Pl.
                                     Building Supply & Enterprises)                                                                              Diamondhead, MS 39525

Donston, Cubby              MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Dupre, Michael and Jaime    MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply)

Eckman, Christopher and     MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                    14487 Windmill Cove
Jennifer                             Building Supply & Enterprises)                                                                                 Gulfport, MS 39503

Eleuterius, Marshall and    MS       Omnibus I Only ( Defendant is Interior Exterior Enterprises LLC)                                              6405 Seawinds Blvd.
Tasha                                                                                                                                                Biloxi, MS 39532



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Eppert, Herbet and Melanie    MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Estes, Latresha               MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                               8395 South Carolina Ave.
                                       Building Supply & Enterprises)                                                                             Gulfport, MS 39501

Eze, Joann                    MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Fairley, Robert and Barbara   MS       Omnibus I Only ( Defendant is Interior Exterior Building Supply, Interior Exterior                           21100 Hwy 57
                                       Enterprises LLC, Home Town Lumber and Supply)                                                             Vancleave, MS 39565

Farned, James                 MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Farve, Beverlie               MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Fath, Tom                     MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Feeney, Fred and Susan        MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Ferrucci, Bridgette           MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                  27280 Bradley Rd.
                                       Building Supply & Enterprises)                                                                           Pass Christian, MS 39571

Finley, Rebecca and Darrell   MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Formica, Conrad               MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Fouquet, Louis                MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Friedlander, Greg             MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Gagnard, Gary                 MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Garrett, Roger                MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Garrison, Roberto             MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)



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Gazzier, Neoma              MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Gelpi, Gus and Susan        MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Gillepsie, Barbara          MS       Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                     Supply)

Glassman, Michael and       MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Penny                                Building Supply & Enterprises)

Goff, Chris                 MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Goldin, Jason and Alina     MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Gonzales, Angela and Saul   MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Goodspeed, Jeff and Tracy   MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Green, Vaneen and Dove      MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Groner, Chris & Karen       MS       Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                     Supply)

Guzman, Adriana             MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Hahn, Ryan                  MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                               15364 Summerfield Dr.
                                     Building Supply & Enterprises)                                                                            Gulfport, MS 39503

Halbert, Thomas R. and      MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Nancy C.                             Building Supply & Enterprises)

Handler, Sammy              MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Harkins, Rochelle Frazier   MS       Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.          Also Omnibus I       850 River Oaks Dr.
                                                                                                                                              Covington, LA 70433

Harkins, Rochelle Frazier   MS       Omnibus I ( Defendant is Interior Exterior Building Supply)                          Also Omnibus V       850 River Oaks Dr.
                                                                                                                                              Covington, LA 70433



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Harrelson, Michael               MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                          Building Supply & Enterprises)

Harshbarger, Clement             MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                          Building Supply & Enterprises)

Hartfield, Linda and Robert      MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior               and Omnibus I            23 Cambridge
                                          Building Supply & Enterprises)                                                                                  Gulfport, MS 39507

Hartfield, Linda and Robert      MS       Omnibus I ( Defendant is Interior Exterior Building Supply)                             Claim Letter and          23 Cambridge
                                                                                                                               Intervening plaintiff in   Gulfport, MS 39507
                                                                                                                                 Payton Omnibus IB

Hasty, Bernadette                MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                          Building Supply & Enterprises)

Hebert, Debra                    MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                          Building Supply & Enterprises)

Henderson, Alton                 MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                          Building Supply & Enterprises)

Herrington, Steve                MS       Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                          Supply)

Hewes, Charles A. & Dane B.      MS       Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                          Supply & Enterprises)

Hewes, Dane                      MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                          Building Supply & Enterprises)

Hewitt, Margie                   MS       Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply,             Also Omnibus I           600 Sunrise Court
                                          Interior Exterior Enterprises                                                                                    Biloxi, MS 39532

Hewitt, Margie                   MS       Omnibus I (Defendant is Exterior Exterior Building Supply, Interior Exterior            Also Omnibus V           600 Sunrise Court
                                          Enterprises LLC)                                                                                                 Biloxi, MS 39532

Hicks, Julian                    MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                          Building Supply & Enterprises)

Hill, Charlie, G. & Barbara F.   MS       Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                          Supply)

Hillier, Billie                  MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior               and Omnibus I          14457 Autumn Chase
                                          Building Supply & Enterprises)                                                                                   Gulfport, MS 39503

Hillier, Billie                  MS       Omnibus I ( Defendant is Interior Exterior Building Supply)                          Intervening plaintiff in   14457 Autumn Chase
                                                                                                                                 Payton Omnibus IB         Gulfport, MS 39503

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Hines, Owen                  MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                      Building Supply & Enterprises)

Hobbs, Howard and Jamie      MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                      Building Supply & Enterprises)

Hodge, Debra                 MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                      Building Supply & Enterprises)

Holden, Mark                 MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                       6912 Pinhurst Dr.
                                      Building Supply & Enterprises)                                                                                Ocean Springs, MS 39564

Holland, Cynthia             MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior           Also intervening in IB      4071 Cardinal Dr.
                                      Building Supply & Enterprises)                                                                                Bay St. Louis, MS 39520

Holland, Cynthia             MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior                                       4071 Cardinal Dr.
                                      Building Supply & Enterprises)                                                                                Bay St. Louis, MS 39520

Holleman, Timothy and Lisa   MS       Omnibus I Only ( Defendant is Interior Exterior Building Supply, Interior Exterior                               115 Lundgren Lane
                                      Enterprises LLC)                                                                                                 Gulfport, MS 39507

Hopkins, Christopher         MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                      Building Supply & Enterprises)

Hopkins, Pasqua              MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                      Building Supply & Enterprises)

Huckabee, Harold             MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                      Building Supply & Enterprises)

Ibele, Carrol and Brenda     MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                      Building Supply & Enterprises)

Irving, William              MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                      Building Supply & Enterprises)

JJ Hill Brace & Limb Co.     MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                      Building Supply & Enterprises)

Karetas, Jordan              MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                      Building Supply & Enterprises)

Kassis, George               MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                      Building Supply & Enterprises)

Kelly, Timothy               MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                        9336 Alcove Ln.
                                      Building Supply & Enterprises)                                                                                Ocena Springs, MS 39565



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Kenney, Catherine and         MS       Omnibus I Only ( Defendant is Interior Exterior Building Supply)                                                   14252 Gulf Haven
Danny                                                                                                                                                     Gulfport, MS 39503

Kidd, Trina                   MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                           354 Lang Ave.
                                       Building Supply & Enterprises)                                                                                  Pass Christian, MS 39571

Klein, Lee                    MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Knight, James and Christine   MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                         7840 Rue Morgan
                                       Building Supply & Enterprises)                                                                                  Ocean Springs, MS 39564

Korn, Chris                   MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Ladner, Brett and Stacy       MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Ladner, Brian & Lisa          MS       Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply)

Ladner, Tommy                 MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Landry, Floyd                 MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Lee, Kenneth                  MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Legendre, Paul and Janet      MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior               and Omnibus I             718 Primrose Dr.
                                       Building Supply & Enterprises)                                                                                  Bay St. Louis, MS 39520

Legendre, Paul and Janet      MS       Omnibus I ( Defendant is Interior Exterior Building Supply, Interior Exterior        Intervening plaintiff in      718 Primrose Dr.
                                       Enterprises LLC)                                                                       Payton Omnibus IB        Bay St. Louis, MS 39520

Legendre, Phillip             MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Leleaux, Gary & Letha         MS       Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply)

Lescault, Henry               MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Lewinger, Elizabeth           MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)



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Leyser, Richard and Georgia   MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Logan, Aubry and Erika        MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Lorona, Karen                 MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Lyman, Ng                     MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Maddox, Sidney                MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Marshall, George and Beth     MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                        135 Poinsettia Loop
                                       Building Supply & Enterprises)                                                                                  Pass Christian, MS 39571

Masse contracting, Greg       MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior              and Omnibus IV
Masse                                  Building Supply & Enterprises)

Masse contracting, Greg       MS       Omnibus IV - Rogers - Interior Exterior Building Supply LP, Interior Exterior        Intervening plaintiff in
Masse                                  Enterprises LLC                                                                        Payton Omnibus IB

McKinley Development, LLC     MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                          210 Second Ave.
                                       Building Supply & Enterprises)                                                                                   Long Beach, MS 39560

McNair, Steve                 MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Meleady, Jeffrey and Joyce    MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                         9220 Plymouth Rd.
                                       Building Supply & Enterprises)                                                                                  Ocean Springs, MS 39564

Melton, Carolyn               MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Minear, Melinda               MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                        602 Esplanade Ave.
                                       Building Supply & Enterprises)                                                                                  Bay St. Louis, MS 39520

Moran, Jonathan and Ashley    MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Moyse, Margaret               MS       Omnibus I Only ( Defendant is Interior Exterior Building Supply, Interior Exterior                                   15 Poplar Cl.
                                       Enterprises LLC)                                                                                                   Gulfport, MS 39507

Murray, John and Sylvia       MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                          1628 2nd Street
                                       Building Supply & Enterprises)                                                                                     Gulfport, MS 39501



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Murray, Mary Craig and        MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                       752 Cherry Hill Dr.
Joseph                                 Building Supply & Enterprises)                                                                                Diamondhead, MS 39525

Necaise, Barbara and          MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Herman                                 Building Supply & Enterprises)

Nelson, Pamela and Alton      MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Nguyen, Anthony               MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Nguyen, Minh & Minh Thu       MS       Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply)

Nix, Linda and Ryan           MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

O'Byrne, Richard and          MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                    700 Beach Blvd. Unit 707
pamela                                 Building Supply & Enterprises)                                                                                 Long Beach, MS 39560

O'Keefe, Celeste and Daniel   MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Oliver, Patches and Richard   MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Olivier, Terry                MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Pagodor, Tabitha and Tony     MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Parker, David                 MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Pelfrey, Shelly and Carlo     MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Peresich, Ron and Ashley      MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior           Also intervening in IB      659 N. Haven Dr.
                                       Building Supply & Enterprises)                                                                                   Biloxi, MS 39532

Peresich, Ron and Ashley      MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior           Also intervening in IC      659 N. Haven Dr.
                                       Building Supply & Enterprises)                                                                                   Biloxi, MS 39532

Perez, Louis                  MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)



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Perone, Pat                 MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Perrio, Carla and Paul      MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Pinkston, randall           MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Pitre, David                MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Polk, Sarah                 MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Rapp, Chari                 MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Ray, Mary                   MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Redmond, Benny              MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior               and Omnibus I           14461 Autumn Chase
                                     Building Supply & Enterprises)                                                                                    Gulfport, MS 39503

Redmond, Benny              MS       Omnibus I ( Defendant is Interior Exterior Building Supply)                          Intervening plaintiff in    14461 Autumn Chase
                                                                                                                            Payton Omnibus IB          Gulfport, MS 39503

Reed, Dustin and Amy        MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Richards, Charlotte         MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Riverbend Office Cabrera,   MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior           Also in Omnibus VIII
Michael Pilger, David                Building Supply & Enterprises)

Roberts, Craig              MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                     Building Supply & Enterprises)

Roberts, David and Ann      MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                         207 Balentine St.
                                     Building Supply & Enterprises)                                                                                  Bay St. Louis, MS 39520

Roberts, Don                MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                          2006 Miter Dr.
                                     Building Supply & Enterprises)                                                                                  Bay St. Louis, MS 39520

Roberts, Lois               MS       Omnibus I Only ( Defendant is Interior Exterior Enterprises LLC, Interior Exterior                                1130 Del Norte Cl.
                                     Building Supply)                                                                                                 Pacagoula, MS 39581



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Robertson, Denny              MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Robicheaux, Bobbie and        MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
John                                   Building Supply & Enterprises)

Rohan, Patricia and Donald    MS       Amended Omnibus V (Amato) - Defendant is Interior Exterior Building Supply.          Also Omnibus I        17407 Popcorn Ave.
                                                                                                                                                 Vancleave, MS 39565

Rohan, Patricia and Donald    MS       Omnibus I ( Defendant is Interior Exterior Building Supply)                          Also Omnibus V        17407 Popcorn Ave.
                                                                                                                                                 Vancleave, MS 39565

Rolfes, June A.               MS       Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply)

Ronquille, Nikia and Felix    MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                   4222 Noma Pl.
                                       Building Supply & Enterprises)                                                                           Diamondhead, MS 39525

Rose, Tom                     MS       Omnibus I Only ( Defendant is Interior Exterior Enterprises LLC and Interior                             6301 Mary Mahoney Dr.
                                       Exterior Building Supply)                                                                                Ocean Springs, LA 39564

Salloum, Nancy                MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Samson, Roland & Susan        MS       Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply)

Sanderford, Anita             MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Sanders, Bill and Elizabeth   MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Schafer, Thomas               MS       Omnibus I Only ( Defendant is Interior Exterior Enterprises LLC)                                            8250 Maunalani Pl.
                                                                                                                                                Diamondhead, MS 39525

Schiel, John                  MS       Omnibus I Only ( Defendant is Interior Exterior Enterprises LLC)                                              PO Box 1182
                                                                                                                                                Ocean Springs, MS 39566

Scott, Phillip C., Jr. &      MS       Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
Rebecca                                Supply)

Sears, Nana Ruth              MS       Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply)

Seliby, William               MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)



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Sellier, Kent                  MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                       7068 Meadow Dale St.
                                        Building Supply & Enterprises)                                                                                  Bay St. Louis, MS 39520

Sharp, Donna                   MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Si-Ala-Bar Enterprises, LLC    MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
through its member Cliffor              Building Supply & Enterprises)
Rabalais

Simmons, Emma                  MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Simpson, Scott and Patty       MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Smith, Brenda                  MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Smith, Greg                    MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior           Intervening Plaintiff in     8199 Lock 17 Rd.
                                        Building Supply & Enterprises)                                                         Payton Omnibus I          Bessemer, AL 35023

Smith, Gregory                 MS       Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building   Intervening Plaintiff in
                                        Supply)                                                                                Payton Omnibus IB

Smith, Richard and Audra       MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Southern Equity Financial,     MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                        79 Wail Ridge Ln.
LLC                                     Building Supply & Enterprises)                                                                                   McHenry, MS 39561

Spruill, Rebecca Nicole        MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

St. Paul, henry and Helene     MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Standford, Philip              MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Stoney Creek SC, LLC           MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Strong, William and Marcella   MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                        Building Supply & Enterprises)

Taylor, Russell                MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior                                       29 Bayou View Drive
                                        Building Supply & Enterprises)                                                                                    Gulfport, MS 39507

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Taylor, Russell and Tiffany   MS       Omnibus I Only ( Defendant is Interior Exterior Enterprises LLC)                                          29 Bayou View Drive
                                                                                                                                                  Gulfport, MS 39507

Tenorio, Eric                 MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Thames, David                 MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                41 Quail Ridge Ln.
                                       Building Supply & Enterprises)                                                                            McHenry, MS 39561

Theologos, Charles and        MS       Omnibus I Only ( Defendant is Interior Exterior Enterprises LLC)                                          143 Lakewood Drive
Sherry                                                                                                                                           Waveland, MS 39576

Thompson, Heath               MS       Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply)

Tillman Joshua and Chassity   MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                3113 Washington St.
                                       Building Supply & Enterprises)                                                                           Bay St. Louis, MS 39520

Truong, Tom                   MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Vanney, Paula                 MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Wagner, Mark                  MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Walsh, Alvin and Claire       MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Ward, Jason                   MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Warino, Kenneth and           MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
Patricia                               Building Supply & Enterprises)

Whal, Jacquelyn               MS       Intervening Plaintiff in Payton Omnibus I (Defendant is Exterior Exterior Building
                                       Supply)

Wheeler, David                MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Whipps, Jared                 MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)

Willet, Franck and Deidre     MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                       Building Supply & Enterprises)



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Williams, Evan               MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                      Building Supply & Enterprises)

Wisniewski, Jerry            MS       Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                  6700 Southwind Blvd.
                                      Building Supply & Enterprises)                                                                                Biloxi, MS 39529

Wood, Sheila                 MS       Intervening plaintiff in Payton Omnibus IB (Defendant is Exterior Exterior
                                      Building Supply & Enterprises)

Gurrisi, John and Delia      MS       Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                 326 S. Central Ave.
                                                                                                                                               Waveland, Mississippi 39576

Hansen, Janis                MS       Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                 117 Wavelane Ave.
                                                                                                                                                  Waveland, MS 39576

Hardt, Charles and Barbara   MS       Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                  215 Tantallon Dr.
                                                                                                                                                Ocean Springs, MS 39564

Hernandez, Clarence and      MS       Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                   923 Combel St.
Emma                                                                                                                                              Waveland, MS 39576

Peranich, David and Odele    MS       Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                    132 Melody Ln.
                                                                                                                                                 Bay St. Louis, MS 39520

Riverbend Condo Inc.         MS       Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)        Also in IB        2    1625 Martin Bluff, Unit 18
                                                                                                                                                Gautier, MS and Unit 81

Wallance, Lenore             MS       Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                  2721 Honduras Dr.
                                                                                                                                                   Gautier, MS 39553

Wilkinson, Patrick           MS       Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                  5451 Acadia Dr.
                                                                                                                                                 Pearlington, MS 39572

Darnell, Deirdre              TX      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior    Also in Omnibus VIII           21115 Escala Dr.
                                      Building Supply & Enterprises)                                                                               Humble, TX 77338

Laughry, Richard              TX      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior    Also in Omnibus VIII          1810 Clover Patch Ln.
                                      Building Supply & Enterprises)                                                                                 Alvin, TX 77511

McKinney, Christopher and     TX      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                 25223 Bluma Ranch Dr.
Courtney                              Building Supply & Enterprises)                                                                                Katy, TX 77494

Sewell, Randy                 TX      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior        Also in VIII             2228 Waterford Village
                                      Building Supply & Enterprises)                                                                             Missouri City, TX 77459

Wright, Lori Ledesma          TX      Intervening plaintiff in Payton Omnibus IC (Defendant is Exterior Exterior                                 1667 Nichole Woods Dr.
                                      Building Supply & Enterprises)                                                                               Houston, TX 77047



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Alchetuame, McDonald              TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                          5503 Silver Cannon Ln.
                                                                                                                                                Loshaion, TX 77583

Augusta, Twana                    TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                         19506 Green Chase Ln.
                                                                                                                                                Houston, TX 77073

Austin, Anthony and Kathryn       TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                          1011 Grassy View Dr.
                                                                                                                                                Houston, TX 77073

Barni, Guy                        TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                           5223 Bathgate Ln.
                                                                                                                                                Houston, TX 77084

Beceril, Jose                     TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                         19923 Cypresswood Sq.
                                                                                                                                                 Spring, TX 77373

Benjamin, Nicholus A.             TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                          8406 Oak Knot Court.
                                                                                                                                                 Spring, TX 77389

Bennett, Lynell                   TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                       4543 New Hope Terrace Ln.
                                                                                                                                                 Katy, TX 77449

Bodden, Roy and Bibi              TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                         13911 Brayford Pl. Court
                                                                                                                                                Houston, TX 77014

Books, Jacel                      TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                       11927 Longwood Garden Way
                                                                                                                                                Houston, TX 77047

Boyd, Shimethia                   TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                         21122 Field House Court
                                                                                                                                               Humble, Texas 77338

Braden, Charlotte L.              TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                        14119 Seagler Springs Ln.
                                                                                                                                                Houston TX 77044

Brown, Betty                      TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                        21139 Grandlin Wood Court
                                                                                                                                                 Humble, TX 77338

Carter, Niki F.                   TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                         21126 Wortham Oaks D.
                                                                                                                                                Humble, TX 77338

Chavis, Kevin and Kristy          TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                         17010 Everett Oaks Ln.
                                                                                                                                                Houston, TX 77095

Cochran, Jacob                    TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                         21442 Olympic Forest Dr.
                                                                                                                                                 Porter, TX 77365

Colston, Carl E. and janice F.    TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                            21511 Skyla Circle
                                                                                                                                                  Spring, TX 77338



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Cummings, Jetanya             TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                              5516 Moss Hill Ln.
                                                                                                                                              Rosharon, TX 77583

Dang, Phung & Dac Dinh        TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                           18903 Bressingham Dr.
                                                                                                                                              Tomball, TX 77375

Darnell, Deidre               TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)   Also in Omnibus IC         21115 Escala Dr.
                                                                                                                                               Humble TX 77338

Davis, Angelnelle "Angie"     TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                             6412 Larry Crest Dr.
and Derrick                                                                                                                                   Pearland, TX 77684

Evans, Sabrina and Sherman    TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                           1673 Nichole Woods Dr.
                                                                                                                                              Houston, TX 77047

Ezenweani, Ignatius           TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                            25222 Ibris Ranch Dr.
                                                                                                                                                Katy, TX 77494

Franklin, Yvette              TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                             1063 Verde Trails Dr.
                                                                                                                                               Houston TX 77073

Garcia, Andres and            TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                            1626 Trail Oaks Court
Samantha Medina                                                                                                                              Kingwood, TX 77339

Graczyk, Mitchell             TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                             19314 Aquatic Drive
                                                                                                                                               Humble, TX 77346

Granderson, George Jr.        TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                          13919 Bayford Place Court
                                                                                                                                              Houston, TX 77014

Green, Normie and Joann       TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                              21623 Trilby Way
                                                                                                                                               Humble, TX 77338

Harper, Derrick               TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                          21127 Normand Meadows
                                                                                                                                              Humble, TX 77338

Helms, Cynthia                TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                              1882 Cedar Circle
                                                                                                                                               Dayton, TX 77535

Herman, Guy and Billye        TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                              2805 Knobhill St.
                                                                                                                                              Pearland, TX 77581

Hidalgo, Larry and Debra      TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                            607 Trail Springs Court
                                                                                                                                              Kingwood, TX 77339

Hill, Robert W.               TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                        21466 Pleasant Forest Bend Dr.
                                                                                                                                               Porter, TX 77365



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House, Mary                   TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                         11913 Spanspereil Dr.
                                                                                                                                           Houston, TX 77047

James, Jeremy and Monique     TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                           210 Wild Bird Dr.
Parks-James                                                                                                                                 Spring, TX 77373

Jimenez, Pablo A., Jr.        TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                           21514 Skyla Circle
                                                                                                                                            Humble, TX 77338

Johns, Timothy and Shawn      TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                           21139 Escala Dr.
                                                                                                                                            Humble, TX 77338

Johnson, Angela Fay           TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                         4807 Plum Forest Rd.
                                                                                                                                             Katy, TX 77084

Jones, James Roy and          TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                       5609 Savannah Woods Ln.
Theresa                                                                                                                                    Rosharon, TX 77583

Kasemeyer, Scott and          TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                        512 Falcon Lake Drive
Teresa                                                                                                                                   Friendswood, TX 77546

King, Sara                    TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                          19106 Coxwood Ln.
                                                                                                                                           Tomball, TX 77375

Landry, Jeremy                TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                         1978 Magnolia Circle
                                                                                                                                           Dayton, TX 77535

Latiolais, Pamela             TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                           18915 Teford Way
                                                                                                                                            Tomball, TX 77375

Laughry, Richard              TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)     Omnibus IC          1810 Clover Patch Ln.
                                                                                                                                             Alvin, TX 77511

Leinon, Isha                  TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                         21134 Sprouse Circle
                                                                                                                                           Humble, TX 77338

Magana, George                TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                       10706 Country Squire Blvd.
                                                                                                                                           Baytown, TX 77523

Magana, Manuel and Julyana    TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                       10718 Country Squire Blvd.
                                                                                                                                           Baytown, TX 77523

Manuel, Alvin                 TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                         1047 Verde Trails Ln.
                                                                                                                                           Houston, TX 77073

Marcum, Ben and Nataliya      TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                             86 Cherry Hills
                                                                                                                                         Jersey Village, TX 77064



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McFee, Richard S. and Kelly     TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                       2008 Cardinal Ridge Circle
A.                                                                                                                                         Friendswood, TX 77546

McGuire, Malcolm, Jr. and       TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                            3916 Quail Run
Renee                                                                                                                                        Pearland, TX 77584

Meier, Christian and            TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                       2001 Cardinal Ridge Circle
Stephanie Mccauley                                                                                                                         Friendswood, TX 77546

Mitchell, Brian and Warrick,    TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                          1605 Palcio Real Dr.
Greta                                                                                                                                         Houston, TX 77047

Moore, Obyster and Javodia      TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                          5203 Manorfield Dr.
                                                                                                                                               Katy, TX 77449

Moye-Roach, Sabrina and         TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                          21631 Tribly Way
Jarvis                                                                                                                                       Humble, TX 77338

Nabulsy, Samer and Najah        TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                          18902 Telford Way
Zaidan                                                                                                                                       Tomball, TX 77375

Nguyen, Jason                   TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                         4911 Wellington Way
                                                                                                                                             Houston, TX 77069

Odell, Thomas L.                TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                          6309 Larrycrest Dr.
                                                                                                                                             Pearland, TX 77584

Oladutemu, Olajide              TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                           7634 Desco Dr.
                                                                                                                                             Humble, TX 77338

Onfri, Frederick and Harriet    TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                        19114 Terra Stone Rd.
                                                                                                                                            Cypress, TX 77433

Orozco, Jose                    TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                          21543 Tribly Way
                                                                                                                                             Humble, TX 77338

Ozuna, maria G.                 TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                          21139 Wortham Oak
                                                                                                                                              Humble, TX 77338

Pacheco, Olga and Palma,        TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                          1055 Verde Trail Dr.
Roberto                                                                                                                                      Houston, TX 77073

Paschal, Susan                  TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                          21126 Escala Dr.
                                                                                                                                             Humble, TX 77338




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Peacock, Bernice              TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                       2     14903 Hyde Park Place
                                                                                                                                                Houston, TX 77069
                                                                                                                                                       and
                                                                                                                                               4919 Wellington Way
                                                                                                                                                Houston, TX 77069

Pennisi, Steve                TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                               2402 Solo Ridge Dr.
                                                                                                                                                 Spring, TX 77373

Peterson, Tammy               TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                             1657 Nicole Woods, Dr.
                                                                                                                                                Houston, TX 77047

Peterson, Salvatore C.        TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                            21122 Field House Court
                                                                                                                                              Humble, Texas 77338

Pham, Dao                     TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                              4915 Wellington Way
                                                                                                                                                Houston, TX 77069

Phillips, John                TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                            21126 Field House Court
                                                                                                                                               Humble, TX 77338

Postoak, Patrick and Vicki    TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                              8226 Sugar Cane Dr.
                                                                                                                                                Baytown, TX 77523

Powers, Yolanda               TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                              1079 Verde Trails Dr.
                                                                                                                                                Houston, TX 77073

Ray, Christopher and          TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                7606 Desco Dr.
Vatosha                                                                                                                                         Humble, TX 77338

Roberson John                 TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                           2200 Jefferson Crossing Dr.,
                                                                                                                                                Conroe, TX 77304

Rodriguez, Josefine           TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                               19103 Crystola Park
                                                                                                                                                 Spring, TX 77373

Ross, Frank and Elizabeth     TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                               21119 Escala Dr.
                                                                                                                                                Humble, TX 77338

Salinas, Jesus                TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                            14123 Seagler Spring Ln.
                                                                                                                                               Houston, TX 77044

Sewell, Raymond               TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)      Also in IC             2228 Waterford Village
                                                                                                                                              Missouri City, TX 77459

Sheppard, Sherard and         TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                                7650 Desco Dr.
Brandi                                                                                                                                          Humble, TX 77338



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Sherrell, Steven and Ashlei    TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                         603 Trail Springs Court
                                                                                                                                           Kingswood, TX 77339

Shelter, Tara                  TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                         1661 Nichole Woods Dr.
                                                                                                                                             Houston, TX 77047

Sholz, Warren                  TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                       2305 Tarrytown Crossing Dr.
                                                                                                                                              Conroe, Tx 77340

Sloan, Ashley                  TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                         21475 Forest Colony Dr.
                                                                                                                                              Porter, TX 77365

Smith, Kevin and Leslie        TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                       21111 Normand Meadows Ln.
                                                                                                                                              Humble, TX 77338

Sparks, Andrus and Carol       TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                            6509 Healock Ln.
                                                                                                                                             Pearland, TX 77584

Spencer, Johnny and Doris      TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                         2216 Waterford Village
                                                                                                                                           Missouri City, TX 77459

Stevens, Eva                   TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                           2122 Sprouse Circle
                                                                                                                                              Humble, TX 77338

Stigler, Betty J.              TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                        5611 Savannah Woods Ln.
                                                                                                                                             Rosharon, TX 77583

Tanifor, Joseph                TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                           21623 Trilby Way
                                                                                                                                             Humble, TX 77338

Thomas, Cynthia                TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                          1071 Verde Trails Dr.
                                                                                                                                             Houston, TX 77073

Thornhill, Barbara             TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                              409 Fargo
                                                                                                                                             Houston, TX 77006

Tipton, Joe and Roberta        TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                            7602 Desco Dr.
                                                                                                                                             Humble, TX 77338

Vaid, Shakeel and Fouzia       TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                        16902 Melvin Oaks Court
                                                                                                                                            Houston, TX 77095

Valeiro, Carlos and Claudia    TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                            7610 Desco Dr.
                                                                                                                                             Humble, TX 77338

Vonner, Candice                TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                        21147 Grandin Wood Court
                                                                                                                                              Humble, TX 77338



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            Name             State                                          Case                                    Add’l Information           Address




Walla, Henry and Dorothy      TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                            307 Burris Park
                                                                                                                                            Spring, TX 77373

Wallace, Walter and Sandra    TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                          10907 Northam Dr.
                                                                                                                                           Tomball, TX 77375

Wallace, Travis T. III and    TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                           330 Gershwin Dr.
Leslie                                                                                                                                     Houston, TX 77079

Webb, Micah and Tracey        TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                          2008 Sparrow Circle
                                                                                                                                         Friendswood, TX 77546

West, Manuela and Jason       TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                       21146 Grandin Wood Court
                                                                                                                                            Humble, TX 77338

Whitman, Tobias and Kelly     TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                        23226 Bluma Ranch Dr.
                                                                                                                                            Katy, TX 77494

Williams, Debra               TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                       11829 Longwood Garden
                                                                                                                                          Houston, TX 77047

Youdan, James C. and          TX      Omnibus VIII (Defendant is Interior Exterior Building Supply & Enterprises)                       21142 Wortham Oaks Dr.
Brenda                                                                                                                                     Humble, TX 77338




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